Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 1 of 28




                                                                 UM TED STATESDISTW CT COUJW
                                                             SO UTH ERN D ISTRICT O F FL O IU D A

                                                CaseN o.24-80787-M lDDLEVROOKSN aûhe% =
          M IA W ILLIAM S,eta1.,

                     Plafntiffs,


'

          RETREAT 9EHAVIOG L HEM TH,LLC,eta1.,
    . . .. ..   .,              .           .                     ''


'
                 .   Defendants.
                 '          '
                                                                                                                       /
                                                                                                                                        i
                                            -
                                                OMM BUSORDER ON M OTIONSTO DISO SS
                                                                           ' . .                                   '       .
                                                         .
                                                                         (
                                                                         J '                 '
                                                                       .
                     THIS CAUSE is before the court on thè various Defendjnts' M otionà to Dismiss
                                                                                 .

                                                                                                                                        J
          plaintifrs''zyirstAmendeèclmssActton complaint''(OE 4).1 TheMptionsarzdtheirResponses
                                                                                         .                .
                                                                                                                                        ;
                                                                                                                                        i,   .   .

          refullyhdefed anddpeforadjudication; Forthefollowingreasons';)IwillgranttheseMotions                                      .

                                                         '
                                                                   .                                           .                        q
          andrequirethatPiaintifl-stueasecond Amendedcomplmntinthiscase.




      '




          1TherearefourpehdingM otionstoDismiss.They compdseofbefendantAlexanderHoinslty's
          Motion (DE 27);DefendantChdjsy Gariano'sM otion (DE 32);DefendantsCoalLakeW orthn
                                        .                    .             ''-                   ''           ''           ''                           ..
                                                                                                                                                     .,.i .

          LLc (ucoalLakeWorth'')
                               .,coalNew HavenLLC CcoalNew H:vçp?'),CoalCapiialEjhratav '
          LLc (''coà'
                    lcapitalEpirats'),coalcàpitalGroup,LLC CcoalUapiul''), CLW .HoldtngsLLC                                             ,

          (GtCLW Holdingf'),Coàl.CapitalHoldings(Flodda)'
                                                        LLC t:coalFlorida''l,CoalConnecticut,
          LLC (ç1Cbâ1ConnecticutrL'),I-IVGC FloddaaLLC IGEHFCyCD,and Defendant David Silverstehl's
                                                .                                                                               .


          M otibù (hereinaftertheçtcoalbefendaùts'M otion'')(DE 36);and iastly,DefeddantNR Flodda
                                                    ''                               .
                        .                                                                             .
          Associates;LLC,NR PçlinsylkaniaAksöciatesLLC,CoalLakeW öith,LLC,IIFGU Flodda,LLC,
          and JamesYomw*.-'' astempbr
                        .         ''
                                   L.
                                      o *' receiverofNR Pennsvl
                                                         .   - vani
                                                                  aAs
                                                                    '- s
                                                                       ociatés
                                                                             2 ,LLC'
                                                                                   SM oyionrcGv arious
          Defendants'eM otionl')(DE 61)kIalsonotethatCoalLakeW orth,LLC appearstobeapartoftwb
          separatçM btionsto'DijmissO E 36,DE 61),wllichhmsgoneunexplaiiledb#thçDefendants.
                                    k
                                    .
                                                         ,
                                                         .                                                             .        ' 'j
                                                    .
                                                                                                                                        j
*
d
'                                                                                                                                                                                                                                           '
                                                                                                                                         .          (.               .                                                                                                                            ,                                                                                                                        .                                  (                                                                                                                                                                                                                                              r
                                                                                                                                                                                                                                                                                          '                                                                                                       .                                    ''             '                     ..                                                                                                                                                                                                                   '                   '
                                                 .

 .                                                                Case 9:24-cv-80787-DMM DocumentQ 72 Entered on FLSD Docket
                                                                                          .                               . 01/10/2025
                                                                                                                                '
                                                                                                                                       Page 2 of 28
                                                                                                                                                '
                                                                                                                                                                             '
                                                                                                                                                                              '                        '                                                                                                                                                                  '                  '                '
                                                                                                                                                                                                                                                                                                                                                                                                                  .           .         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
        .                                                                                             .                         .                                            :                                                                                                                                                                              .                        .                                                                .                                 .                                                                                                                                                                           '                                                     L
                                                                          '
                                                                                                          .
                                                                                                                   '
                                                                                                                                     .                                                                                                          ''
                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                      11
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                7
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .                    .                        !.                                                                                                                                           1                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -'

                                                         .                                ''
                                                                                                                                                                 q.
                                                                                                                                                                 j
     ..
        .
                        .       ! ..
                                ;.
                                            .                 .

                                                                          '.              .
                                                                                                          ..                         .

                                                                                                                                         .
                                                                                                                                            .. .                                 .
                                                                                                                                                                                             ,       .w                  '
                                                                                                                                                                                                                                                             .

                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                      ' ..
                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                                                               '    ..
                                                                                                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                   ,,              . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ..

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            :'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .                             ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .                               '     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         j. )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ..                               ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
            '                                        '
                                                     '                                                                                                                                                                                  '                                                                                                                       ''                                                                   .                    .            '.                                   .                                                                                                                                            ''                '
                                '                            . ,.                                                                                                                    .                                                                                                            ..            '                                                                                         .       ..
                     .                                                                                    .                     .                                                                                                                                    .                                              ,
                                                                                                                                                                                                                                                                                                                                                                                                                                            .                               ..                      .       j.                              ..                                                                     .                                                                                             ,
 .
                                '
                                                     '                                                    '                   '.'        1.
                                                                                                                                         ',
                                                                                                                                          *L'e                   .'
                                                                                                                                                                                     R ACK G Q G
                                                                                                                                                                                     ''        '*''<' '
                                                                                                                                                                                      *'d''''''''œ '**
                                                                                                                                                                                                     .'
                                                                                                                                                                                                      '*'''*t'2'*h''*h'2*>'u                                                          (
                                                                                                                                                                                                                                                                                      ' -.                                      .                                                                                                            '                     . . -
                                                                                                                           .
                                                                                                                                            '
                                                                                                                                              ..
                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                '' .
                                                                                                                                                                                                                                                                                                                                                                                                              .           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            !.                                                                                                                                                                                                            .
                                                                                                                              - .                                                                                              .                                 '                                                                                                                                                             -                          '                                                 '                                                                 '
 ' . ..                                                            .
                                                                                                                                                                     .                                         .                                                                                                                                                                 .                                                                                                         -           .    1                       . .                                                                                              .                                         '.                            .
            .               '.
                            .
                                                         '
                                                                                                           ' J 'flliAiyapur
                                                                                                                       .  portedCl
                                                                                                                           .
                                                                                                                                 . as
                                                                                                                                    s/
                                                                                                                                       Actibn
                                                                                                                                           ..
                                                                                                                                              Law s.uhzby vari
                                                                                                                                                      . ,    .
                                                                                                                                                              ous.f.ö
                                                                                                                                                                    k
                                                                                                                                                                      rm'çrèm pl
                                                                                                                                                                       '.. .
                                                                                                                                                                         -
                                                                                                                                                                              'oye 4sagainst.the
                                                                                                                                                                                 .' '          '
                                                                                                                                                                                                 irformç.r . ... .J .      .       .                             .
                                                                                                                                                                                                                                                                                                  .                                                                  .                                                                                                                                                                                                                                                                                   .                         .
                                                              '.                          .                                          a                       w                               .             ,                                                                          ''                                                                                                             '
                        ..              .                                  ..                                  .                                                                                                                                                                                                                         .                      .                '
                                                                                                                                                                                                                                                                                                                                                                                                     .           1. .          .                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .                                   : .                             '                             .                                        ..                                              .               .                         ..
                                     .                                                                                .        j .                               .                                                                                                   . .                                                                          ..                 u .                                                                              .                                    .                j           ..                               .                    .                                                                                        .


 '
        .
                 -
                             '

                                     ,
                                                         .
                                                                           ...
                                                                               '

                                                                                      è..-
                                                                                          'em ljlb#érs f0rviolàtiohsof state and federalwake
                                                                                              %' ' -'             '                       *''-' r
                                                                                                                                                mld-hom
                                                                                                                                                    t..''
                                                                                                                                                          'la'wsv.and for violations offederal'
                                                                                                                                                              ' . . .' ' ..  .
                                                                                                                                                                                             ' -                   '-                                                                         '                                                                      '' '' ' .                                                    -'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .'        ' '                     ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
                                                         . .                                                   .                                         ..                                   .                                                                                                                                                                                                                                                                                                                                                                                                                . -                                                         .
    .
         '
                                 '.                          @ .. .                                                                                                      .                   .                                     '                         .       .
                                                                                                                                                                                                                                                                     . ..                                           ,   .                .                 .'. .. -' - . . ,.) L.                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                -                  .                     .                                                                          '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  :                                    j. . '
        , ..                        .
                                    ''
                                     j                                            . .                                                                            (                                         '                   .                                             .                                                                                                           .                                                                         ..                                       l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . .' . .                                                                           ,                                                              .
        ,
                    .        :
                                                     '                                        em plovee termination statutest..The stétutes indludè
                                                                                                                                                 ;
                                                                                                                                                   'thé Féit Eabpr Stgndàrds Act of 1938             -                                                                                                                          .                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           u '                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '' '- '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               t. .                                                                      . .                              ,. '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '. .a''').                                                                        '
                                                                                      '                    .z                                               .                                                      ,                            .                                                      ..                                         .                                      .                                                         x
                                         '               'r                                                                                                                                                .                       .y                                                                               .                                                .                   .. ' ..                                                  '%                                                                                                                                      .                                                                            .                                             .

(
l'.. ...)' '(
            CTLSA.i').theW orke
                              .rAdjtzjtin'etltan
                                               .d Rç
                                                  ' tr
                                                     .ainin.
                                                           'Np
                                                           g   ' ti
                                                                  -lka
                                                                     -'iibnA
                                                                           ' cto
                                                                               .f
                                                                                1.1y988'CW' . .Ad'')
                                                                                                   .N.lhè.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ''..'
.
                     N          ..                     ..L' ..r , ' '
                                                         -
                                                          ,
                                                                  .                   .

                                                                                                                          .         .               .                                                                                                                        '                                             -
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .          '                                                      ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .       .                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .

                                                                                                                                                                                                                                                                                                                        '' x                                                                                                                                                       '                    '
                                 ) . . ...                                                                                                                                                                                                                                                                                  L                                                                                                                                                                               j                                                                              '-                                                    ..'''
                                                             t'
;. .                            .
                                                                                  .
                                                                                                                                                                                         '                                                  ' .                                       .
                                                                                                                                                                                                                                                                                                                                                                                         ..                                                       .                                    .                                         .              .                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ..                                                                                                                                             a
            .                        .
                                     ,                        .                               Floddà,Cönjtittztipp 'wt.
                                                                                                                      j. X ?.Sùc. 24; a;qtj m jmkhm m.. Wajç jstat.
                                                                                                                                                                 .
                                                                                                                                                                  m gs.'m.
                                                                                                                                                                         tjey.royarjggtjtmt mld. . . y
.                                            '                       :.
                                                                   ' ,                            '                '                                 .
                                                                                                                                                     . . .                                   . ''                                                                                                                                                                        .'
                                                                                                                                                                                                                                                                                                                                                                                     ,                       'L                    '             .. .                                           '          1                                                                                                           .                                 .
        .           .                                .
                                                                  ..                                  .
                                                                                                      .                                                          .                   .                           .                                           .
                                                                                                                                                                                                                                                                                              .            .                                           .                                 . .
                                                                                                                                                                                                                                                                                                                                                                                         ,                                                                                                 .                j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .' .                                    .                                          ..                                                                  . . .'
    ' '                                 .
                                                                  Pennjylvnnla,law. (DE 4)k Plnlntiffssudforthéjrlmp.àid1'wi
                                                                           .
                                                                              .
                                                                                              '                   2
                                                                                                                  .        ' ges,
                                                                                                                                ' c,                  .          .-                                                                 .                                                 .                         .                       ,.                  .             .                                           .                                       .                                        . .                                               .                        '

                                                         '                     1  '       D                                   . ''                           .               '                                                                                                   ''                                                     .                       ''                                    .                        '''           ''
.
      ,                              .
                                                              L ' Ove           .nsâtionyliquidated dnmagçyj.Mnd jos
                                                                     itilde C/mpe     .                           , t-l.udgmçhj ut !e
                                                                                                                                    'rys
                                                                                                                                       ''t.
                                                                                                                                          'jnd attomeys'feest'                                                                                                                                                      .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .                                                           .           . .                                   .                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '''
     '                           .. .                         .        ..                                                                                                                            '                                          '                                                                                                                                                                                                                                  '
                                                                                               .                                c                                            .                                                                                                        .                    .            .                                                            ..                  .            .,
                                                                                                                                                                                                                                                                                                                                                                                                                       .n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .                                                                           .                             .       ,
        -                t: -        .  ,                                   .
                                                                                                         i.      t              -                    .
                                                                                                                                                         .                                .
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                  .                                                                                                       .                                                                                    .                    .                                                                                                                                                                  .. .
.           .        .
                       . ,  : ..-
                                .
                                             .                 -, titles'ordutiesk,plaiùtiffsàllçgé.thatc)
                                 W ithout'àllegingtheirypecilicJöb'                     -                l              . by.the:
                                                                                                         they wereeinployed                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                        .                            .                                                                                                                                                                                                                                 .                                                                                                                                                                                                                                       .                                                          .




                                                                                                                   te group ofbçiakiöralazidmçritAl
                                                                                                                                                  'hé:1th provid:rs.ynd thevindiyidualswhô
                                                                                      '

                                 '
                                                     .
                                                              ,'.                         t   Défendalo ,àcorpcga                                   '.                                                                                          .                                                                                                                                                                                    .                        ..                                                                                                                                                                                                                   )'
                                                 . .                       .                                  . ?.         ..
                                                                                                                                            ' .                  ;. ;
                                                                                                                                                                 '                                                 .
                                                                                                                                                                                                                     .
                                                                                                                                                                                                                               .                '
                                                                                                                                                                                                                                                                         ..                       . .               '
                                                                                                                                                                                                                                                                                                                     .t                  )                  .    ' ''.                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            j. .                   -                                    ..                                                 -               -                                         '                 v                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .'' ' . -
                 .          .                                              .                                                                                                                                                                                             -
                            .                            . ,                                          .
                                                                                                                                                '
                                                                                                                                                                     .'                                                                             '            .                                                                                                                   .            a                            .                                        ')
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;.'. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .       .1                  .                                                                  ..
    ' '             t''                                  '   .                                 oFned/manàjedthem atkatiousJocationsin'Flpddq,Uon'nectlcut,,apd'Pènnsylvnnig. Plnintiffj                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '''
                                                          j ..                                                                                                                    .                                      .                                                                                 .                                                     ..                                       . .                                                           .              y
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .                                                            ..                                                                                                                                                       .' z
E'''.                                ..,             x   fj ..                                                     ,.. .                                                                                       .                        ..'                          '                         .                                                            . .                                           . '' .'
                                                                                                                                                                                                                                                                                                                                                                                                                ,                                             '                                .') ' .-                                                                   .                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .




.
    '       .
            ,
                     ,
                                    .. .
                                        .

                                         ,
                                                .
                                                     .
                                                              )
                                                              t .
                                                                 ilegec
                                                                  . . ihattthey.weietmdul.y'termilùtedwi
                                                                                                . .
                                                                                                        thol'
                                                                                                       ''
                                                                                                            zt'pro.pçr
                                                                                                                     .
                                                                                                                       no,tice'àrld'
                                                                                                                                   w(eréjnotpaid.förrsp.veral'
                                                                                                                                                .            Feeks '             .               .                     .                                                                  .                             .                                                                    .                                                        ..                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                                                                                       '.                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ,       .
            .                                                                                                                                            .                       ' '                                                                -                                                                                                                                    '                                                                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                 .                   . .
                                                       ;.
         .                      ''
                                         :
                                           .                                                  .
                                                                                                      .                             .                       (    (.          g . v'.'.. - :c     . .
                                                                                                                                                                                                  . .                              -
                                                                                                                                                                                                                                                                                          .                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                     .                        . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .



. ..
            . .
                         1,
                                                    .
                                                                                  .
                                                                                    leadi
                                                                                        .
                                                                                          ilg up.to thei
                                                                                               ' .
                                                                                                        r abrupt
                                                                                                      . '      .
                                                                                                                 ,
                                                                                                                 terminâ
                                                                                                                       .
                                                                                                                         tiim in violation
                                                                                                                                        '
                                                                                                                                           ofthe'.laws dèscribeduabove. '
                                                                                                                                                     . ' .
                                                                                                                                                                        A lt'hough
                                                                                                                                                                             J
                                                                                                                                                                                   .
                                                                                                                                                                                   thls'. . u ' . .                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                     )
                                                                                                                                                                                     .                                                                                                                 . .                                                      i                                                     .                                                                                     7                                        ..                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            : r. ' .                                                                                                                                                                             . ...). .
                    . ' '                                             .                                                                         .                        '                                                                                               '                .                                                       .                                                          .                     ' .                -                                '            '
..                                                                                                                                                       .                                                                                                                                                                                                                                                                                                              . .
 '
 è
 .                  .                ... .
                                                     .. .                 .
                                                                              .
                                                                                   .
                                                                                          .                       .                  .
                                                                                                                                                                         ,                                           .                               .                                                                                            .                              .                            .                                                         .                           ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .                                                                                                 .        .
                                                                                                                                                                                                                                                                                      ,                                                                                                                                                                                                                                                                                                                                                                                                                                   .
            è
                 .'          ,                                        ,                        tltder.'concews Plàihtiffj'First Amçndèd.clasjk.Actilp CdmplAint'IDE 4),thls is iny & st
                                                                                                          '                                                                                                                    '                                                                                                                                                                      '                              '                    '              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .: '. :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   =.q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     y.'.  (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .                            ..7                         .. .z,                                                                                   .;                                                          .'
                                                                      .                   .                                                  . . .. . ., .. .                                            . '                                . .                          .                                                                                                   *                   ..                                      .                              .
                                         .                                                                                                                                                                                                                                                                                                   .,                              .                                                                                          .
     . . .. '
                         '           !' .                                                             '''                                                '                                       .                   ..                         '                        .                . .
                                                                                                                                                                                                                                                                                                          ' ,                                               '            ' ' ''                       -                                      '                             .' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ' 'y                                                           -                                           .                   '
      .                          .
                                     .              '. '
                                                             -            .                       .                                                 q ,                                                      .                                  .                . . .                                          .
                                                                                                                                                                                                                                                                                                                                                            .             .                                                                           . ,.                         , ..                    j                ' .,                                                                                                                                       .             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .

        ,
                                '
                                            .                                     .            coùsidefation èf any pteadings111thls case on the m edts,(As.Plnlptlffs nm endèd their odgipal                          .                                                          ,                                                                                                                                                                                                                                                                                                                                                                                    .

             .                       ... '                                                                                               . u                                                                                                                     '                                    .                                                         '                    ..                                                                                .                                    !                                                                                                                                                                                    .
                                                                                                                                                                             .                                                                                                                                                                                               .
'                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      y.                                                                                                  .                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' . .' .. .
                                     .                                                                                          .                                                                                                                                            .                                                  .                                                                         .       .                                                                -,
                                    '

                            .
                                , . '
                                      ' '
                                                                                   '
                                                                                               Cömplain't(bE.lltshèril:
                                                                                                                      yhaftertzingàtiit..                                                                .                                               .               .                                                      .                           . -
                                                                                                                                                                                                                                                                                                                                                                              '( '' '    .                .                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ''' i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .                                                                      .
         .                              I                                                                                     ....                                       .;                                                        ..                        .                                                      .                             ..                                                          .                                  .                          ..                                          .                                                                                  '
                                                     . .
                                 .
                                         '                                .               ''
                                                                                                                  .                             .            : .                                                                    -) , ..                                                                                             . .                                                                      .                                    .            '                                       x                         .                      .                                                                                    .                     ..                        .
''
 . .
     . ..                            .
                                                    ..
                                                              '
                                                                  . .
                                                                                              .
                                                                                                  '
                                                                                                          .
                                                                                                                                e'          In g
                                                                                                                                               theilr'
                                                                                                                                                     f,irst Am
                                                                                                                                                             -
                                                                                                                                                               ènded Complaiht''èplaiiltiffs àllçge that'al
                                                                                                                                                                 .                                         lthe Dè
                                                                                                                                                                                                          j r    .
                                                                                                                                                                                                                   fendv t corporate                                                                            .                   .                                                                 .           .                 .                             . -                      .                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                         .                                                                                                                           .                                                                             .                                    (.                                                                        ..                                           L                         .                                   .
(. , . , . .,.
                             '                                     .
                                                                           ..
                                                                                      '       : . .'.                      '         '
                                                                                                                                                .
                                                                                                                                                 .
                                                                                                                                                         .) c. .
                                                                                                                                                               -                                             ..                                 .
                                                                                                                                                                                                                                                .                .                                         ..
                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                 .           -,                       y-L                                                                   '.                             1 .- '                                                -                                                 '                                 '                              .


                                                                                               çptitibs,'wh4m 'it lkbelj'as eithè)r a.Rèteaj,,i
                                                                                                                                              jr.qs jjw: uujutxj                                                                                .
            ''                       .                                                                                                                         . j sesj
                                                                                                                                                                     , uant
                                                                                                                                                                          sp jpdjs.tjn'gui
                                                                                                                                                                                        , s
                                                                                                                                                                                          hably                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ,                                                                                                                                                                                                           '                                 .
        .               t                    .               -                                                    .                                                          ,
                                                                                                                                                                                         .
                                                                                                                                                                                                                                   ).. sj. . . . -                                            -                                     .                                            '       .                                .             ..                L             '                                   ) -' - . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       'c
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        :                  .                                                           .                 , .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                ' >                      .    i.                                                                .
                                                                                                                                                         .-                              =                               . .
                                                                                                                                                                                                                                                                     .                .
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                    .              '
                                                                                                                                                                                                                                                                                                                                                                '                    , ,.                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '.              .                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '                .                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               : t' .                                    J-i. .                    o                         . .
      .
     ' .             .               d!                                                .                                                 .a                                                      .                     .                                                                                                                                                                                                                                                                       .

.
     '                           :r ''p                       '                           .
                                                                                               emplo#edjpaid,maqqgeu
                                                                                                                  -
                                                                                                                   dr
                                                                                                                    xsand,èyentuallyterminatedthkm 9om i/eirçmployn.
                                                                                                                                        .       .. ' .            ,ï
                                                                                                                                                                   ent.'Plaihilffs.also t , ;     '.           ''
                                                                                                                                                                                                                .          .                                 '       .                                .                                           .7
                                                                                                                                                                                                                                                                                                                                                   .                     .                                                                                                 ' -m                            u.                                                         r .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                   ..                   .       œ                 '            ..:                  '           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '



                                ' :w . '
                                       1.'.                                                               ''' a . ..'
                                                                                                                    @. y .'L ''- .y .z '                                                                                                                             'u.
                                                                                                                                                                                                                                                                       . )' . )                                                                             '                                                 . . ' ' - y .m.                                                                      .''3. .('...' ..'                                         . ('
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                *'                                                     '.w. . .. . .' . K.
                                    .                                                                                                                                                                                                                                                                                                                                                            '                                                                                                                                                                                                                                                                                                               '
     '
                .
                                                                                                                                   . .                                                                                                 ,.   'y                              .                                                                                                                                                                                                                       .                                ..                  .                                     ..                                        ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           z                                                                         .
    '
        .           .
                        .
                                         (
                                         .
                                         i
                                                              .
                                                              .
                                                                                  ''
                                                                                                  .
                                                                                                      that'ia'/dixidu l.oerend- tseit
                                                                                               ilè'ge,'           .
                                                                                                                                     herTowned. o..tmataq vd'ihekeveaioèfendantsand m.è .k
                                                                                                                                    k . .
                                                                                                                                    .
                                                                                                                                                                                     x   ..              .                                                                                ..                        ,.                                                                                                                            ... .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .       ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                   .                       ..                                                                    .                       .
                                         . .                                                                                                                                                  .                                                                                                                                                                                                                       .                                                                                .                    : ..                                                                                                                                   .

                                                     .                 '
                                                                                              . ..                             ..               . ..                                             -
                                                                                                                                                                                                                                                         .                            (' ' .                        '                                            '
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                  -'
                                                                                                                                                                                                                                                                                                                                                                                                                              k                       u-.              -           -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '            :.. -                                    U
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     -                             '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   'L'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     J. . .                  .               .           .

                                                                                          ly and'skyer'
                                                                                                      allyliàbtéAswyllfortheàecorporatçèptitiès,'
                                                                                                                                                .legal,
                                                                                                                                                      '
                                                                                                                                                      shodcömlugs.                                                                                                                                                                                                                                                                                                                                                                                                                                                 . '.,
                                '                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
: ..
    .
                            -
                             .                                                 .
                                                                               ..  )'jbiht
                                                                                         :    . n                                                                        .           .                             '
                                                                                                                                                                                                                                                     .                            .                                             .w .. . '                                        '                                                                                                                                           -                                                                                                                   .                 ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .

         '.                             tr
                                             .                        ' '. ' .                                                      -                    :... .'                             .
                                                                                                                                                                                                         -.                        r .                                                    '                                 .                     .         .            .       n                               - . $.                -,                                      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    '                    .                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                                                                                             '
                                     '
         .                           )                                    r                                                              -                                                                                                      u                    .                                                                                                            '                                                    .                                                                                                             .                                                                                .
 . .                                        '                         -                                                '                            ' .                                                                                                                                                                                                                                  .-                                                                                                    '
    s..
 . . .. .
                                         .
                                                q                                 ...
                                                                                                               .
                                                                                                                                             .                       .
                                                                                                                                                                             .
                                                                                                                                                                                                         .                 .
                                                                                                                                                                                                                               .            .,.
                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                         .                              .
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            )'               ..                                   ' .                                                                                               ...                              .'. .
. ' .. :...                                  ''          '
                                                              .                                                                                         ,                            .   ::..( -                                        .. -                         '.. -- .                                                                .                                       ' -                                                     '                                     . ( I '                                                               x                    .                                '                      ..                           'J-
    è:                   -                                                        -
                                                                                  .                                             - .-                        .                                                                       .                                        ,                            .                                                                            -          .                            .             :. .- '                                                :-..) .                              .                                                                 .                                                   -.                                            ).
?è
 .(  vr ' . '' . ' .. : ...' . .
     .
 , '' :'
                                                                                                                                                                                                                                       ' ; . ..                                                                .                                                                                                                  . s r                                                    ' .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              )                                                              (                         '                                                                       .                       .                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             f
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '
                     .                               '                                            2on.o,eLc.ember2krj024s
                                                                                                                        .Ptâihtiffsil.leb.
                                                                                                                                         M ot'ions fo#Cl Ass'pertit.trcqtio.p..(bE.70,
                                                                                                                                                                                     .DE 71 ).                                                                                                                                                                                                                                                                                                                                                                                                                                           ....                                          . ' ':
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
 ' ..' .Lu...'j.
                . .....-'. ' ... -'                                                                           ..     .         ..-     ..       . '    '                             .-   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .. .' ', ,' .. ' f.-.
..                   .
              '2                                                                                                                                '               ' -                       .                            l                .                        ..                                            ' ':
                                                                                                                                                                                                                                                                                                                  ' .                                                                                                                                                  ' .' m'J'.- g                                    '                 .                      ' '.
'                                                                                                                              ..
                                                                                                                                  . -                       .. ..
                                                                                                                                                            .          j . .. . . :
                                                                                                                                                                             .                                                                                                                                                                                           ..            ,.
                                                                                                                                                                                                                                                                                                                                                                                                          ''                                          -,                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '       '           . .                                        . .a r c
                                                                                                                                                                  -
1.... ..:''.. . '.' ( ''. ' j' ..                                                                                 .J .
                                                                                                                              .                   '' ' ' ..     '      ''      .
                                                                                                                                                                                 '
                                                                                                                                                                                   '
                                                                                                                                                                                                         .' .                                                .                                ..                                                   .'
                                                                                                                                                                                                                                                                                                                                                        ..                    '.     ' ' '                    '                          .'.. .                                .'.L      : - .'.. '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  . . . .I        '. ' '                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           '' ' .'                            ' ' . '' . (L ''$
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              n'm
!            .
            .'
                                '
                                 A .'. ,' '..
                                 L                                                                .
                                                                                                                       . ... .. .-              ,.
                                                                                                                                                            '     ' ',    - '  l ' .                                                                                                              r                                      '          . ,J .                                   '        ;                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                    . . r,                              .                      ' #
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 :-,                                                                                  '                                                                            .                                             .
                                                                                                                                                        .            -      'L     . .                                                                                           ..                                                                                                                                                                                                                                          .                          .                                                                                            .                                  ..
r. .. -. u. .    @ ...')''. .. (
                  .       k. '
                          .
                                :
                                  ;
                                          ï' ... ...' . - '
                                        .. . ;
                                                                . .u.'
                                                                     .
                                                                          .. , .- - . (
                                                                       . --              k4
                                                                                          !
                                                                                          ;-        .'  e
                                                                                                           .. ... . . !. . o ..                .J
                                                                                                                                                     . . .       , . t r ).'' . ..                                                                                                                    .                     .                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .                                                 .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           . ..         '                        '           .
! . . ''. .1 . . u ''. . . ..' ... . 'k )                                                                                ;  .                       .                                                                                                                                                                                                                                                                                                              .                                            .           .                                                                                                                                                                -. . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,
      i'                                   ' .. . y' . . ' '-. -. .j
                                                                   ..'' ..(
                                                                                 .    .
                                                                          .'... . '.. . -r
                                                                                         . '.        :.   :    w    7(        t          u:                                 . q ..-....                                                                                                                                                                                                               ..                      ..             ...              ..                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . .. ...              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .           .       . ..                  .           ....
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   . .'-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
''
'       ..
            '
              '     .'
                    .
                      '
                           :. 5. ' .'(. ' .' '           . x                      . p..   .             -    ,   . : .a .:;..
                                                                                                                       . .'     = .          L'.-.s.1             J
                                                                                                                                                                  .  .            ). .   '.
                                                                                                                                                                                         , .
                                                                                                                                                                                                                   ' '' . -
                                                                                                                                                                                                                   .                             .               . , .'                               ..
                                                                                                                                                                                                                                                                                                          '         '
                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                 .' '
                                                                                                                                                                                                                                                                                                                                                                                 .                            .       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       . , .., .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .    .              .                                              ..-         .       .            .. -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                     ...                                   . r
(' a). .c .':
    . . '         tr.
                    .     k
                          ..'-......
                                   -J
                                 .. . '
                                          .
                                          q..
                                            ':'
                                              t.
                                               ( .
                                                 ,
                                                 .
                                       f.... ''''). y
                                                    .
                                                    '..)
                                                       . .
                                                         l
                                                        '. . .
                                                             .
                                                            '., .' ..!
                                                                     ' -. .'  ,
                                                                              ' .
                                                                          . p. c -.a  ' -
                                                                                        ) .
                                                                                        ' .
                                                                                            .   7
                                                                                                .    .
                                                                                               -7 ' k t     .
                                                                                                          .. ..
                                                                                                               .  '    s
                                                                                                                       .
                                                                                                                       '
                                                                                                                         t  ,
                                                                                                                            .   ..
                                                                                                                                 ..
                                                                                                                                  -..'..'
                                                                                                                                        :   ....   .. .
                                                                                                                                                      ... .     .   r    ..
                                                                                                                                            ' ' J r....J ' . - . -.(; ' .. ''    c.
                                                                                                                                                                                  . ....                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                    -- .
                                                                                                                                                                                                                                                                                                                                     ..                                                                           .       . .                                           ..
                                        ' .
I ..-.L 1 Lz :t<. :'t'r..
    ' '- . -.
            ' ..
                   .  .. . ' ' .
                                      L
                                        r', . . . :. g.
                                                     .        ''
                                                       . ...;....'.c ,                ,
                                                                                            :'-   è   . ,     ...
                                                                                                                .      ,    z
                                                                                                                              )
                                                                                                                              : .
                                                                                                                                , a ..... . '
                                                                                                                                       . . (
                                                                                                                                           ....
                                                                                                                                                         .  )
                                                                                                                                                            j. .
                                                                                                                                                                             ' '
                                                                                                                                                               :. ,). ..ys....-
                                                                                                                                                                              . .)
                                                                                                                                                                                 j
                                                                                                                                                                                 .            ..
                                                                                                                                                                                                           .                                                             .
                                                                                                                                                                                                                                                                     ,, . .
                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                    ..   .
                                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                                                         .                                     ,        .
                                                                                                                                                                                                                                                                                                                                                                                                                                        .                          . -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               . ....                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ..               .                .               .
1l
.
 -
 .:,. .
!. ' t :'
         ..
                       ., .
              .'. -, - .
                            ..
                              . .
                                                             l' ;..'.y
                                                                     .y.
                                                                       )
                                                                       .
                                                                       --(2 -.?. . ..:.c...'
                                                                             ..
                                                                                           (
                                                                                           u....
                                                                                               r:.
                                                                                            , '.'7
                                                                                                    .
                                                                                                   .'
                                                                                                    t
                                                                                                    (
                                                                                                    .;'.
                                                                                                       --..-c-.
                                                                                                           '. '.y'
                                                                                                                 :..
                                                                                                                 L .
                                                                                                                   'e -: .r .
                                                                                                                   .       ...;..'.'...
                                                                                                                                      ...'..
                                                                                                                                           ..-
                                                                                                                                             .
                                                                                                                                             -'z..'. ....,.
                                                                                                                                             '            '.. - ..--,'..x...è.h
                                                                                                                                                                !-            ....
                                                                                                                                                                                     .

                                                                                                                                                                                 ..' . .
                                                                                                                                                                                       .. ...'g.
                                                                                                                                                                                             . ''.
                                                                                                                                                                                                 *..' .
                                                                                                                                                                                                      '..
                                                                                                                                                                                                      :.  .w
                                                                                                                                                                                                         .r'- .:...p..
                                                                                                                                                                                                           .         .T
                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                      -:
                                                                                                                                                                                                                      '..'
                                                                                                                                                                                                                         ..   .,.'..
                                                                                                                                                                                                                          '..,-
            Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 3 of 28



                                                       TheCe afe 19 total defendahts,.lleazly a1l of whôp are cop orate LLCS (collectively
                                                                                                                          ' .                                                                    .            .                                      .
                                                                                                                                                                                                                                                                          .




                                     ûtcörooràteDefendants''l:

                                                       1. RekeatBrhavioralHealth,LLC (çtRBH'')
                                                                    .
                                                                     NR FloddaA&sociates,
                                                                                        'LLC (çtNFRA'')      .
                                                                                                                                            '                                                             .
                                                                         .
                                                               .'                                       ..                                      ,                             .                      ..



                                                       3:
                                                        . NR PennsylvaniaAssociates,LLC (,N                                                                                                                               )
                                                       4. JnmesYotmgr'receiverofNRPA CReceiverYotmf'l
                                                       5. NR connectitlztrLLc (&û&Rc'')           . .                     .         .               .
                                                                                                      1          .                                                                .




                                                       6. DRPSM anagemçnt,LLC (:RDRPS'')
                                                                        CbalLakeW orth,LLC tçEcoa1kLakeW (?rth'')è
                                                                                                  ' '
                                                                             ..       .                     1                                                                     '
                                                       8. 'CEW HoldilmstLLC CICLW Holdings'')
                                                                                                                                                        '
                                                                    .

                                                       9. CoalCapital.l-
                                                                       lpldi'
                                                                            ngstFloddàlLLC (RcoàlFlorida'')
                                                       10.'CoalCormeçticut,LLC (1GCo'
                                                                                    a1Connectièuf')
                                                       11*.CpalNèw Haven,LLC (ç:C0a1New Hayen''l'
                                                       12.CpalCa/italE/llratw LLC
                                                       .
                                                           '             '      r (
                                                                                  G
                                                                                  '&
                                                                                  .
                                                                                    Coa
                                                                                      ' 1Epl
                                                                                           lra'ts'
                                                                                                 'l. ..                             .                       .         .                      '
                                                                                              .    .             '              .                                .                               ' . ..



                                                   ' . f3.CoalCab
                                                                :.i
                                                                  tal.Groùp,LLC (çtCoâ1Càpitap')
                                                                     ' .          .                    .                                                                                                              '
                                                                .                                                                                                                                                 '
                                                                        ..




                                               .
                                                   '   14.I'IFGC rloridl LLC (GtHFGC'')3                                            '           -                ''
                                                                                                                                                                          .
'                                                                                                                               .




                                 '
                                     3Plaiptiis label''
                                                      èomorate Defendants 7-
                                                                           '13 asthe (IcoalEntitles''with'in its Complaint.
                                     Cudously,whileHFGC ijlistedasadeferidantwitllinthetitleoftheFirstAmendedClassActiqn
                                                                                                   '                                                                                                                  '
                                                                                                          (
                                                                                                           heûERe.treafD,efenda.
                                  '
                                                       -                                                                                                                              k                                               .
                                 .   Com pl
                                      .  ,-
                                            nint7 Plaintiffsfailtoo
                                                       .
                                                                  includeI-IFGC m thin itsdefmition lijtpf$
                                                                     .                            ..
                                                                                                                               nts''or .                             '                .                                                                                       .
                                                                                  .                                                                                                          .                ..                  .                      t       .                           .
                                     the''coalEntitieà''withl'ntheoperzinj'jaragrapàxpftlïùizcomplnl
                                                                                                   'nt.The'soteklegatioksagainst
                                     I-
                                      S'GC in tlie entire actioù aie;thatHFGC wasa'Floridalinnited:tlability compH y,conducted
                                     bgsinessih Pahn Beach Cotmty,Floddw ççownsthepiopertywhereRrkeaiisoperated,which is
                                     leasebto'coatLakeW'
                                                       ok4hr.l''andttlatthe''maioriw ownerofeaé
                                                                         .
                                                                                              'hIVFGC apdCo'alLakeW o
                                                                                                        '
                                                                                                                    'rth.
                                     isCLW Hpldingsjan
                                                                                          entklt.y.öwnedby(De
                                                                                          .
                                                                                                           '
                                                                                                             fepdan.tqpav.idS'ilbersteinl
                                                                                                                                       -
                                                                                                                                         .j''(DE4)..Thus,Plaintiff.'s2
            .                    .
                                     appearstoallèg:thatHFGC was:
                                                                partôftheçorpbratewe
                                                                             '    : bt
                                                                                  .  hatwa4isèd
                                                                                             1 byt
                                                                                              .
                                                                                                 heDef
                                                                                                     .e
                                                                                                      ndantstoown . .
                                                                                                                 ..       .             .                                                    .                                                                                                                          .       1
                    ' qnd nm the propedies. Despitemy initial:concerns,'HFGC hasappèared and Eled aMotion to                                                                                                                                                                                                                '!
    .

    .
        ,                    .       Dismissalongwith thçothe:tf oalEiltitiès''and,lddikidùalDefenda
                                                                              -               '    '
                                                                                                     rk Silverstein. (DE 61)
                                                                                                                     ''
                                                                                                                      '    ''
                                                                                                                             k                               .                        ' ''                                        '                                                            -
                                                                                                                                                                                                                                                                                                   '  ',i  '
                                                                                                                                                                                                                                                                                                               '    .           .
                        f.                                                                                                              .                   ..                                   .                                             '
    .
                .'. .'
                                                                                          -
                                                                                                      j . . .. . .                                                                                                                         .
                                                                                                                                                                                                                                                             '                            . .' - .
                                                                                                                                                                                                                                                                                             . .       'd
                                                                                                                                                                                                                                                                                         .J :' . . ')
                                                                                                                                                                                                                                                                                                    ''''J
        .                                                        . .
                                                                 :'                                ..                                                                                                                                 .
                 .  ..                                                                                                    ''                                                                                                                   ..        $           '.           '
ê   . ..
       .
          .                  ,
                                                               . .
                                                                                                                                                                                                                              .           ,,        .. . .
                                                                                                                                                                                                                                                                                                   .   , ,
                                                                                                                                                                                                                                                                                                         .     ..       .
                                                                                                                                                                                                                                                                                                                            .
      . .           .        .                                  -                                                                                                                                                                                        1                                   -. 7 -.                    '. i
                r       ..                                 .
                                                           '
                                                                                                                                                                                                                                                       t                              ..               .            '
                                          ..
                         ,)
                          .. .                 .                 .                                                                                                                                                                        '                                            ..!
                    .

                         .                                                                                                                                                                                                                     .     . J'                              .
                    J.. .                                          -x.                                                                                                                                                                     .
                                                                                                                                                                                                                                               '.. .                                  - ..
                                                               .       '
                -
                 ,,
                 .               . ..                            ). ...                                                                                                                                                                         ..       )                               .
                                                                                                                                                                                                                                                                                         '
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 4 of 28



   Therearealsofiveindividualdéfendv'ts(collectikelyçtltldl'kidualDefendants''):
                             D avid Silverstein4                                                                     '
                                                                                                                     ,

                   2. Christy Gariano

                   3. AlexanderHoinsk'y

                   4. EstateofPeterSchorr

                   5. EstateofScottKoiogodslty

                   The IndividualDefendants are alleged to haye had either arà owpership
                                                                                       ' or man
                                                                                             ' agerial   ,




   interestovertheCorporatéDefendants.Thus,Plaintiffsallegethatthellndividualbefendantscan

   also beheldjointly liable'asthrizemployersforpuposesoftllefederaland statewagestatmes
                             .-
   .                                                                                 .                                )
   thatgivedsetothissuit.(DE 4 at!3,
                                   1)k                                                                                '
                                                                                                                      .
                                                                                                                      l
                                                                        ''
                                                                                 .
                   I                                                                                                  4
                                                                                                                     ..
                                                                                                                          .
                       n essènce,Plnintiffsallegethata11theDeféndantsihthiscaseweretheirGjointelployers
   and/or an iptegrated or com m on çnterpdse,orpredecessorand successi
                                                                      oriliinterest''forpup oses

   ofbdngingt1.
              lis,
                 actipnagainstthem.(DE'4at!r32).
                                 .




                   Plaintiffsbtingsfiveèotmtsinthisaction.Theyinclude:ViolationsoftheW nrnActtcotmt'
                         '                   .                                                                        1           '
                                                 .                                               .                            .


   I),Violationsofthe FLSA tcount11),Violati.onsoftheFLSA KSEtq Those Similarly.Situated .-
       tcoJmtIII)juùpaidMl
                         'nl
                           'm'zm. wagepursllnntto wioridaqjtateL.aw2 (cp
                                                                       ..
                                                                         untIv),andunpai:
                                                                                                                      (   '
       W agçsgpprsuantto.Florida,Cbnnecticut,andPermsylkaniarstatel&wlt
                                     .       c                      ,
                                                                       cottntV).A11Cotptsa
                                                                      j.                 '
                                                                                          re                     .
                   .         1
                             .
                                                 .          .
                                                                .                    .       .
                                                                                                     .                .

       allegedagajnstalltheDefqndargs,exceptforCotmtIwllichissolelyj
                             .
                                                                   ujagu agajjjsttjw Rdgeat
                                                                             .
                         .
                                                 .
                                                     .
                                                     .
                                                           ,
                                                         . .. .              .
                                                                                             .
                                                                                                                      )
                   ' .                                                                                           .

       (Coporate).Defèndants.
               '
                                                                                                                      .
                                 r
                                     .
                                     ,
                                         .                  . .
                                                                                                                      j
                   MostoftheDefenèants,CöpoTateandTndividualalike,haveseparatelyflledtheirMotions
       iù Dismiss. IndividualDefendantsHoinslty ànd.Gariano arguethatPlaintiffsfailyo stàtea cause


       # 1notèthatfDefendantSilverstein hascorrected the spelling'oflzisnnm'  easSilverstein rathertha1,1
                                                                                         '
           '
        .. -                                                                  1                              .   '

       Plnintiffs'spelling'ofttsilbersteinr''and'ladoptthiscocected spelling lhzoughoutthisOrder..
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 5 of 28



                    ofacti-on agai
                               u'
                                  nst. hi
                                       '
                                         m/hèr' because'Psin'tiffsfàil'to.allegéan# specific'
                                                                                            factsthatthese'Defepdmlts                                                                                                                                                                      F                    '
                                                                                                                                                                                                   .                                                                                       .        1

                    had aqy m anagementçapabilitiesto eitherhireorfireemployees?sçtFork schedules,màkeother
                                                                                                   '
                                                                                                                                             ..                                  .                                                                                                                  j
                    m anagem ent/com pensasibn deciàions,Qrhàd any ownership ihterestsin any oftheRetreatentitiçs.
                                                                                                            .
                                                                                       y .      .                                                            .                                 .                            .


                                                                                                                                                                                                                                                                                                    : .,.-.                                                 .
                    (DE 27,DE 32). In othérwprds,thesç Defendants'atgue thatPlaihtiffshavefailed to allege
                        suflkient facts that eithér of them constitm es à.
                                                                         n ttemployer''within the FLSA .the'Flodda
                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                        2
                        Conbtitutio'
                                   nl.orotherstatelaw.
                                         '
                                             AnothersptofCopörate Defendants(çGvariousDefèndants'M otidn'')(DE 61)make a
            '
                                                                                                                                                                                     .

                        Similar.rgllment. (DE 61). TheseDefendantsa)
                                                                   jdthatt.
                                                                          hePla
                                                                              .intiysjyavejuja; jo sujxu sujjy
                                                                                                                                                                                      '                                     .   .                                                                                               .
                                                                                 .                                                                                                                                                                                                                                                                                              .



d
            'allege an FLsA e
                            joint,
                                 empio
                                    .
                                     'ym entrelationship tmderthç eight-factortestAetförth in Aimqble v.
                                                             ..                 mv .                      '''        ''                                                              ''-
                                                                                                                                                                                                               .                    ..                       .
                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                .

                    '

    ' .
                .
                    Lonk andScottFàrms,20EF.3d 434 (11ih cirk1994);.yeealsq
                            '.   'i
                                  '.''
                                         '

                                                                  .
                                                                          'àntenorv.D&v
                                                                                .
                                                                                      %Farms,88EF.3d
                                                                                          '       '                 .                    .               x.                                                                                                                                                     '                                       .




            ,           925,929;(.11th.Cir.1996)(cjtingAimableforyjandardl.Additioùally,thejeDefendantsargjzethp.
                                                                                                                t
                        Plaintiffshave'fàiledtopleadsuflicien!factsto àhow thatthe;Defçhdantswerè.theiremployets..
                                                                                      .                                                      '                   .
                                                                                                                                                                                                           -                                         '               '                     '
                                                                                                                                                                                                                                                                                                                            '               '       '

                                                                                                                        (
                                                                                                                        è                '
                                                                                                                                                                                          '
                                                                                                                                                                                          (                                                                                                                                                     -                           '           '
    .
                        lm der.theW ARN Actorthe qthervaziousstétejtatutes.
                                                         .

                                                     .                                                              ..                                                                             '                                                                             .                                      .
                                                                                                                                                 .                                                                                                                                                                                                                      .

                                             Flnally,the'tCoalEptities''Defendaùts,incltzdingrtùdividuàlDçfepdantSilverstein,filed.                                                                                                          .

                .
                                     .
                                                                                              .                                                                                                                                 .                        .
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                     ' .
                                                                                                                                                                                                                                                                                      .    '                L
                                                                                          .                                                                          .                                                                                                                                                                                              .
    .

        .
                    ,
                    theirqsp M otion tovoismiss.(o E jt). .FirstDefendv tsilveistçiù atgpesthatthere are no
                                                 .J                    .                                                                                                     '           '         '       .            .                                        '                                 ..                               '
                    .                                                                                                                        .                                       .                                                                               '       .                 '

            .           .
                        .
                                                                                                                                     .                                       .                                                           .           .
                                                                                                                                                                                                                                                                                           k                                                    .
                        Allejationsaga,
                                      insthim thathepossçsssdamanagtrialprownershlp powerokerthelemployees,
                                                 .                z
                                                                                      ' .-                      . '                                                                                            .
                                                                                                                                                                         .                                                  .
            .                            .                                  .                                                            .                                                                                                                   .                             ..                                       .

                        msking 1hè same arplm entasDefendo ts Hoinsky and'Garianok The,Coa1Eptitiejargtlb.that
        .                                                                                                                                                                                                                                                                        '                              '                               '                           '
.                                                                                                                                                                                                                                                                                                  .
                                                     >                                                     .                                                     '                                 '                                                                                                    .
    .                                                                                                                        .

                        Plaintiffs'kagueallegationsagains
                                                        Y
                                                          tthem gm upsal1the,Cbp oyateD efendu tstogetherand m âkes                                                                                    .
                                                                                                                                                                                                               '                ''                                           '                              '                               '   '               .                   '
                                     .                                                                                                                                               .                                                                                               .



                        generalallegationst.tla'
                        3                      ttheywer:'Ptaintiffs'emplpyqrs.svithotttdda
                                                                                         'ilingwh. ichcoqwràteqptity
                    lengagedinwhat:specilqcillègalbehavior,'(DE'36).                                                                                 .
                                                                                ...                                              .
                                                                                 . '                                                                                                                       -                         -           -                                                                                      '
                                                                                                      .                              '                                                                 '                                                                                                                                            .
                                             .                                                                                                                                                                                                                           .                                          .
                                             I'.discuàs'these argllmentsbelow tand cöncltzde'thatPlJn
                                                 .                                  ..              k
                                                                                                      in'tiffs'First Am'e
                                                                                                                  t:    '
                                                                                                                          nded Com plaiht..''.                                           ..,                       ..                                                        .                                                                                                              .
                                                                                                                                                     .   '                                                                                                               .
                    .                                                                                           .        .
                        .            .       .                        . .                         ..                                              .
                                                         .                                                                                                           ,
                        p ustbedismissdd forvariotisdetk iencies.                                                                        w


                                                         é J.
                                                         .                  '
                                                                            . . y
                                                                                ..                                  .. .
                                                                                                                             )
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 6 of 28




         II.   LEGAL sTANowkb
      Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 7 of 28



                                                            IIIj                             DISCUSSION

                                                            Ihave'
                                                                 caréftilly reviewedtàeCQmplaintarfdfmdthatitis'defkienttn hllmerousways..I
                                                                            .                                            . *>'                                                                                .       '''
                                                                                                                                                                                                                                                .                                                               ,
                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                    y
                                                                    .
                                                                                .                                                     -'                                             %                                      .                                                                                           '


                            break down my atlalysist
                                                   jy thelqws.alleged to have be'e-
                                                            .

                                                                                  n bryached:the rLSA,the.W M lN Act,                 .
                                                                                                                                                                                                                                                                                                            '                       .
                                                                                                                 .                                                                                                                                                                                      '                                           .           v
                                .                               . '             .                                                                                                                                                                                                                                   .


                            andthevariousstatewstat.tztes.

                                                            k.#LSA (counisrIand111)
                                                                    -
                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                    .                                                                                                                                               '                                                       .                   .
                                                    .                   . .. '                                                                     . .                                                                                                                                                          .                                       .                   =

                                                                Colmts11and Illlallegeviolationsofthe'FLSA agninsta11Defendants.In.
                                                                                                                                  theiyAmended                             '                                                                        '
                  .
                        .                                                                                                         .           .
                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                    . .'
                                                                                                                                                                                                                                                                                                     .      (' .' '                                     .           '                           '
                            .                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                  .                                                 - .                                         .                                                           .


                            Complaint,Plaintiffsallëgethata11tl
                                                              w DefendNtsconstitutedböih:,joint,empl;qyersyypzljjygayj                                         .
                                                                                                                                                                                                          .                                                                                         .




                            ttintegratedorcommonentepriàe''soihattheallegationsagainsttheCop opteDefeùdantscanbé

                    '
                            rouped tokeyhei ând thatthe IndividualDefendmgs can be héld jpintly liablç tlirpugh theik
                                                            .'                                                                            .                                                                                             .                              '       '    -'                      '
                                                                                                                                                                                                                                                                                                            '
          . .                                                                                                    .            .' .                        .                    '               .



                            manâgerial/ownerslzp'cqnkoloftàeCbrporatéDefèndants. (bE 4)k ThévariousDefendants
                            attack oe,alleq
                                          G-#ations'b#
                                                     ' amlling that Plaintiffs have not suflkiently pled an employment
                                                                                                 ,
                                                                                                                                          . œr                     w.-e            xw--        '              .                                                .
                                                                                                                                                                                                                                                                                        .       .. .                        ,                                                                           .

                                                        .                   .                            .               '                        '                                       .           '                                                                                                                                                                             '
                                            .

                            relationshipthroughthçirvajuç'allçgat1onsagainstçach.g
                                                                                 CotiorateDefendant,andthat'
                                                                                                           Plaintifl)'                                                                                                                                             '
                                                                                                                                  .                                            .                              .                                                                                             .



                            .
                                                   allegç the IndividualDefendantswere thé')i
                            have failed tö properly'                .            .          '-
                                                                                               jointeinp.löyerstmderthe                               '
                                                                                                                                                                                                                                                                                                        .
                                                                    .
                                                                                                                                                  .                                                                                                       '                                                 .   (               .           .
                                                                                                                                                                                                  '                                 .                                  '                    '
                                                                                                                                                                                                          .                                 '
     .'
                            FLSA!Thpseallegatioùsraisèdise
                                                        .
                                                         tiilétlegal.issuesarlbIdiscusstheàepyttersinséparatezsections.
                                                                                                     .                                                                                                                                                                                                                                                                                  .


                                                                        . .. .                               . '' :                        '6                                  .          ..                                    .                                                                           '               ..          '

''
          .
              '                     .                                           .è                                   '                    .. '                                       .                                              .                                                               '
                            arranged'by.theatlegationsagâinstthecop orateapdIndivid'laloefendànts.
                                                                                                 '
                                                                                Corporate D efendapts                                                                                                                                                                                               '

                                                            sTostateapnma
                                                                       ' ,faciecase.urjckrtheFLSA fqT.ovrl-tiuîezttyrçhtlkerunpa'
                                                                                                                                id):çômpensatiop
                                                                                                             :                    -           ..                                                                                                        ''. )
                                                                                                                                                                                                                                                            ..                                      . .                                 ; .                             '                               c
                                                                                    .                            .                                                                            .           .                                     .                                                     .     y
                '
                  .         an emptoyee'musi allegè.several things:
                                                                  .1/ qn'emyloyer-employee relatibnshipy:
                                                                                                        2)that.tv ..                                                                          .




                            employer'çpgaged.in ihterstâte com m erce.covered: y
                                                                    ' -
                                                                                                                                                                                                      .                                                                    e                                                                    ,
                                        '           '                               .                                        ..           . . '                                       )..                     ' .                           ', .' ..                               '.'..'.                                                                                                  '           .. '
                                                                                                                                                                                     .)
                                                                                                                                                                                      .. .                                                                                               - .. .: :                                                                  '
                                        ,
                                                                    .
                                                                            .;                                       :.                   .....                                ,                                                                    ..                 .                                                                                                    ..                                 ,

                  .z.entepriseqovyzagels,3l.ihatPkintiffsworked(inçxcessofforokirtimeclm'ms)a'
                                                                            .
                                                                                             K -hotlrwçek,'..'                                                                                                    .                                                                             .,                                                              .                                   .




                      .                                     .           7.                                                                                                                                                                                                                                                      '   ,                                                               .
                            5.(                                                 '..                                                   .                                                                                                             '                                                                                           .

                           Both,tfw,m,mlm,l. wagçprovisipn,29Uks.c.j206(4,ai)dtheovez
                                    ,t                                  .                    .      âi
                                                                                                     timùprov
                                                                                                         ,. .i si
                                                                                                                .on,2
                                                                                                                    .9
                                                                                                                     ,.U.
                                                                                                                       . S
                                                                                                                         ..
                                                                                                                          C.                              .            .                  .                                                                .                   .
                                                                                                                                                                                                                                                                                   .

                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                .           .

                            zù7taltlj:''
                                       reqture Gatptaihtiffshpk iheiremploy'çikvms 1)ûiezijaged in çornrnerce ùrin tie
                        (
                         produciiop,Jof gQodg
                                        .
                                               '.for.commèrce''.
                                                .
                                                                   '(minim'llm. Wage) or j2
                                                                        .
                                                                                           ).Gtei'
                                                                                          . . g..
                                                                                                  nployed in .én entepdsç.111.
                                                                                                              . .    .                                .. ..

                          cômmerce0tV t12 >rodx tiun9fgoodàfofrcomm'erce'''(overtinv). See,l9 U.S./.j206(é);29
                          UCS.C!..j'207(a)(1'
                                    .
                                             #?see. tzgf-u
                                                . .
                                                         ç
                                                         .
                                                          t
                                                          )turcion:.belicitiyf'
                                                                    . .
                                                                               Wxpt
                                                                                  zniz,
                                                                                  . .
                                                                                      çCor.p.y.27
                                                                                                .!
                                                                                                 .
                                                                                                   5Fed.Appx.87.9,882 (11t'lf.
                                                                                                                                                                                                                                                          '                                     .                                                       r
                                                                                                                                                                                                                                                                                                                                                        '
                                                    è' ' .'.'                                                                         '. : ..                       .
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                         ' .. .
                                                                                                                                                                                                                                                                 .         '              .'                                                                .
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                     .                                                                                                                                                                   : '.
                                                                                                                                                                                                                                                        .'                             ' ''
                                                                '   .:
                                                                     .' '
                                                                        '                                                                                     ... '.                                                                                          '                                                                                                     '
                                                                            . . x- , .                                                        .4 .                                                                                                              .                                                                                               .




                                                                                        (                                                                                                                                                                                                                                                                               ,           '
                                                                                     '
                                                                                        .                                                                                                                                                                                                                                                       .                   l 'ê
                                                                                            1.                                                                                                                                                                                                                                                  l''' .''
                                                                                                                                                                                                                                                                                                                                                      ''
                                                                                                                                                                                                                                                                                                                                                     , .
                                                                                                                                                                                                                                                                                                                                                    .h
                 Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 8 of 28




                                        and4)Defendantsdidnotpayanyöv rtime(orother)Fajestöthem.Morganv.FamilyDollar                                                                                                                   -
                                                     .:
                                                                                                                                                  ..
                                                                                                                                                                            .'
                                                                                                                                                                                      5                      .
                                                                                                                                                                                                                                           ,                               .
                                                                                                                                                                                                                                                                                       ).           ''
                                                                                                                                                                                                                                                                                                          .                        ,           .
        ''
        .             ':
                        .
                                    .
                                        Stores,IncL.55,1#.3d 1277'
                                                     -.          ,1277168(111 Cir.2008
                                                                   '.
                                                                    '
                                                                             e
                                                                                  . ;
                                                                                      );Villarinfbvi.,
                                                                                              '      pacesettèrPersolmelkvrvfcç,
                                                                                                                    ..
                                                                                                                         '                                                                ''
                                                                                                                                                                                                   .
                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                     '         )...            J . '                                   .        .                                      .
    .            ..                                                                               ...                                                                                                                                  . '.                            .                   ..       .
                                                                   .                                                                                                                           .                                                .        .                                 .
                                                                                                                                 .                         .                                                                                                       .           . .                            .

                                        zna, 48:
                                               1 F.
                                                  supf.3d'1252,1255-56 (S.D2Fla.2020).(citing Mï
                                                                   .                           organ fof stNdkd tmderboih '
                                                                                                                                                                                          .                      '                 '
                                                                                                                                                                                                                         .             j                                               .'

                                        overtimea'
                                                 ndtmpaidWmpensation).                                                       .
                                                                                                                                                  '



                                                          Thç:corporateD/fendants'prim ary argllm entih supportQfdisp issaloftheFLSA cotmt:
                                        is.thatPlaintiffshavefailedtoallegeaaemploymentretqtionshiptmderprongoneduetothe.
                                                                                                                        vague
                                                 .
                                                 .
                                                          ..
                                                                                                                                                                                .                            g..                               .     ..                                .                                  J
                 '. '
                               ;        allègati/ps suirolmding the relqtionship'betwren tiePlzntiffs ahd each Cpp pràte Defendant.                                                                                                                          ,



                                        Plaintl
                                              tffs'aréue
                                                      è thatthèy have suftk tentl
                                                                         .       y allège'ctthe employer-imploye'erelatiohsl
                                                                                ')
                                                                                                                           lip'because
                                                                        .
                                                                            '                                                                              .
                                    .
                                        they have alleged the exiàtenée ofacommon'
                                                                                 eptçrjrije,'
                                                                                            pointtngr.4o.
                                                                                                        their. allegationsthatthç                                           .
                                                                                                                                                                                *
                                                                                                                                                                                                                     ' .
                                                                                                                                                                                                                                               '.
                                                                                                                                                                                                                                                                               .           .
                                                                                                                        ..                                                                                           .



                                        Coporàtepefendantsa11had copmön pwnefsh)p?;connmon dirlctors;and öfscep,and did nof
                                        comply with typicalcorporatexform alitiesiilthatm ùpey would IIQF
                                                                                          .             :y
                                                                                                           between the ve ousentitiep:
                                                                                                            . .                      .                                                                               '                                                                 .




                                                                            dre'
                                        withoutreàpectiilgthe,independeùtnat'
                                                                        .. --'
                                                                               pfcèporatibns.(D
                                                                                              .E 4atzdl.
                                                                                                  -'   'Iagree.
                                                                                                              withthedopörate    .            .                        ..
                                                                                                                                                                                      .                                                                      '     .
                                                                                                                                                                                                                     .
                                                                                                                             .   s                                                                                                 .,


                                L
                                        Defendants'th>tPlaintiffshaveconfllqv theentepdse'NalysisofprongtwoWtI
                                                                            '.
                                                                                                             'ithedistinctand
                                                                                                                            .        -                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                   .
                           j                                                . .                                                  '                             .                                                                                    -'                                 '.                                                          '
                      2, separatejoiniefnploy:ranalysisofprongpne,apdthatthecurientaliegatibnsagainstmanyofthe
                                        corporatésDefçndàntpare,)i,nsul cienttopiead'the'exisiencetofajoin
                                                 .                 .         .        .                  tsemployerrilati.onship.
                                                                                                         )
                                                                                                         g  .
                                                                                                                    .          . '                                                                                                 ..                                                  .
                                                                             ..               ,                                           y,                                                                                                                                               .


                                                              A prdperemp1oyee-employkirélatiopshipmustbealiegedattieoussetbfan FLSA case                                                                                                            .
                                                               .             .                                                   :'                                                                                                            ..                  .               -
                                                                                                                                 .                             ..
                                                                             .                                                                                                                                                                           k) .                      -                                .
                                ,       and can bevthe sole reason.
                                                                  fordismissalofan FLSA tmppd Wage:orovertim e'cllim . Brouwèry.
                                        .                                   T .                                 '
                                                                                                                 '
                                                                                                                                 @
                                                                                                                                 .
                                                                                                                                                                                 ..   '',-             .
                                                                                                                                                                                                             .   '                             ' .
                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                     '.' . , .
                                                                                                                                                                                                                                                         '                         .' '                                   -
                                                                                                                                                                                                                                                                                                                         -'
                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                   E
                                                 .                               ,                                                                                                                                                                                                 .
                                    '
                                        VetropolitanbadèCn/#.,139 F.3d 817,.818(11'th.Cit..i998).tafGrpingdistrid.courtrs2granting'
                                                              .                  .            '                                                        .   ,
                                                                                                                                                                                 .                                           ' '           '                           .                   -        .                              .   .




    ' (.
             ,   y ,èf
                     .
                       amotibn to dijpij,sfo
                            .. .
                                            rplaintiY s.failureto allege4p employmentrelationsMp tmddrtheFLSA
                                           :. .
.                                                                                                                                                                  .                                       ). .                        .. .                      . . k ..,.u.-                                           .         .               '           .-
                           .                 .                               .. p                       .                                                          . .              ..                                          .        J
                                                                                                                                                                                                                                         '                                                                                    ..
                           .
                            .                         .-                -                                   .            -.               g                                               .                   .                        .                          .k      .                                   . .
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                   , . . .o
    '.
                      ' ?oranuimàidwaceand overttmeclaim): Thatisbecause.the.Gnnlnlm'zm waceyrovisibnsoytlo
                                                              ' '-               .                '-                                                               '                      ' '''        -                 '                 .
                                                                                                                                                                                                                                                                               . .

                                                                                                                                                                                                                                                                                           . .          ' '    'W    .
                                                                             : '                                                                                                          . '                                                                                          ' .

                                                                         .
                                                                         ,  (.'

                                                                            .                                                            '.
                                                                                                                .
                                                          .
                                            dir 2008'
                                                    .)''.
                                                    )   (debcdà
                                                             . ing..
                                                                   e.h
                                                                     ''
                                                                      ter/rise-requiiementsl;Thothe
                                                                                                  . v;A'
                                                                                                       ilResln
                                                                                                             .rationSenw, Inc.,448 F.3d
                                    . '
                                            1264,1287 (11ti d'iT.'1006)(reqlunng thatasa preçondition.to tmposing liability.agnlnstan.                                                                                                                       x

                                        ,   employçriiheplnintiffptustallegeiàdikidualéqverag'e:orenterpdjeçoveyag:lmddr.  theFLjA.)à
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 9 of 28



                  .                                                 -                                        .'                                                                                           '                                        .                   .                       '                                                                           ..                        '           .

           FJLSA âppl
                    y uitly'to'workerscwlio'
                    ..
                                           àrèrGzmployçes''within'tii
                                                           ' .
                                                                    emeaningoftheAct
                                                                    '              '
                                                                                    .'' Villàreàluv..-
                                               '            ..1                          :                             .''-                                                                                                                                                                                                                                                                                                                                    -



           Wàqdhamb)
                   113F.3j,207,,
                               20jy(.
                                    jj.
                                      )1cjc.
                                           '
                                           tllyjyjtjugt
                                                      ;j
                                                       yesml
                                                           'mj
                                                             '
                                                             ,ml
                                                               jm swige.pgovjjjon,of'
                                                                                    thçFLS
                                                                                         .X
                                                                                          ',.                                           ' .
                                                                                                                                           '
                                                                                                                                                           '                        .                                             .
                                                                                                                                                                                                                               . zJ .
                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                   ..                                                                                                      '
                                                                                                             .                            c.                                                                                                   : ..
                                                                                                                  .
                           '
                                                                                     .                            .       .                                                             .                                                           .                                                                  .                               )..
                                                                                                                                                                                                                                                                                                                                                       .                                                                      .
      .'29'U.!:c.j'206(a)(1))'
                             xsçk'
                                 n.libvsilva.)y.Ftzztçld/-c.
                                 )                         èp:c,
                                                               fnck?g202
                                                                .
                                                                       ,2:
                                                                         W 1.,16829
                                                                             . , ..6
                                                                                   .89'
                                                                                      ,àt.!
                                                                                      !    3
                                                                                           , (S
                                                                                          ..  . yD.F
                                                                                                   -la..
                                                                                                       ,                                                            .                                                             .                                                                                                                                                                                              ,
                                           ).,                                                                                                                                          .(                                                                                                                                                                                a
      ..2.022),.zretort.tznd'relkipebdatson'ctoyagj,.j.022
                                                         ..wt-151.
                                                                 7* 57.
                                                                      ,(j.o..p'
                                                                        .
                                                                              lt)pay.2.
                                                                                      7,:2022)       '
                                                                                                         .
                                                                                                                                                               ' .                                      ...
                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                                                                   . '                              ,
                                                                                                                                                                                                                                                                                                                                                                                                   , :
                                                                                                                                                                                                                                                                                                                                                                                                 . .
                                                                                                                                                                                                                                                                                                                                                                                                                                  .                    -




          .
          (u13.
              ct
               élrgö.inke-yloyèy-emytoyp:rrélationsMpanalysisfoyuilpaidwagesandpvertimeFLSX,jvit)k
                                                    . .. .                                                                         ..                      .        -       -                    .. .     ..
                                                                                                                                                                                                                  .               ,                                              ..                                            .        .                  .                                                     -

                                                    .                                ,.
                                                                                     .                                                    I:.- ' . 'y                                                                           .                            ,.                                                                                  ...*                       .
                                                                                                                                               .                                             -                    .           .
                                                       Upder the tY SA,aà.
                                                                         ,imployee'is defiùed;is héing
                                                                                                     :,,
                                                                                                       tuahyjYdi.
                                                                                                                vidu.
                                                                                                                    jjemployçd'b#                                                                                                                                      .


                                                                                                                                                                                                                                                                                                         Z..                            .
                                                                                                                                                                                                                                                                                                                                                       )                                             .
                                    -                                        .   )'                                                                                                         -                                                                                                             ;.                                                                        . j'l-'''
                                                                                                                                                                                                                                                                                                                                                                                            -
           emflpyèr.'',11.
                         ..(cising29't.J.S,C)'j'
                                               ;203(e)(1j)
                                                         '.:.The;FLSX '
                                                                      dbfihé.
                                                                           ';
                                                                             s,àllémjlofç!lastqàilyperson.
                                                                                         .                        .                   ..           ..                                                         ,                                              .                        .. .                 .
                                                                                                                                                                                                                                                                                                         . .u ,                     .
                                                                                                                                                                                                                                                                                                                                             .                                              ..                                                ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                   .

              .                                '            :                                                                           .                               .                                     ' 'w                                                                                       J                                                                                           ''
       fqciingdtr.edlyprindiredlfinthè
               ,
                                     '',
                                       :1terèstyof,
                                            ;
                                                          < ririèrelki
                                                  apçntploye         joyjjoajj.y
                                                                               :
                                                                                wgjoytajt
                                                                                 .
                                                                                     .
                                                                                        i
                                                                                        jx.gg,.
                                                                                              g.yjG.                                                                                               .' .                                    '       .     .             à..                                                                                     ..                               .         .
                                                                                                                                                                                                                                                                                      .



       '
       û.'203(d):.,
       '
       -          T
                  .ite.t-e
                         .qonomièv
                                 .r
                                  .'
                                   èàliv'-.t
                                           .çp
                                             tis.ju d? tin thiswciicui
                                                  .u ,.r (). z
                                                                     'lè
                                                                       to dè
                                                                           ct
                                                                            .e  rmin'e.wlpth;e..r..;à
                                                                                                    ,-,
                                                                                                      ykrty i
                                                                                                            ,f
                                                                                                             kan.
                           .            .                                                                                                                                                                                     .                                                   .             .                               .
                                                                             .....
                                                   .                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                       ,                        .
   '              -         ,                  ,                     .                                         .                          .                    '        .                         ,                                        .
                                                                                                                                                                                                                                           .                       -
                                                                                                                                                                                                                                                                                                   e
                                                                                                                                                                                                                                                                                                       . . ..                                          .                                    .
                  (o                                                                                                                    :7 7...' '. '.                                                                                          -.                                                                 :.                        .                                                   - ..
                                                                                                                                                                                                                                                                                                                                                                                                     ;        ..
                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                   .,
  :
  ,bm plçykrym dertiteFESA The èöurtranalyzestheràj.
   .
  . . ..              '                            lr)
                                                     gâè
                                                       tiöpjb:
                                                            .

                                                             tù)'    - ila
                                                                dstermi  él   -ha
                                                                          twhet   wthe,él.
                                                                                eit      legedc  .                            .             ..
                                                                                                                                                                                L
                                                                                                                                                                                .
                                                                                                                                                                                                        .
      uuy.-'.n. j      f : ... =a- ;(. xm(.-..                                                                                                                                                                            .            .                  c.               y ..                                                                        .y -.- -. .
                      è:.
                                                                .                                                                                                                                                        . . .                  . . ...                    . .                                                                                                                                   .
                                                        g. :(, .,. . .                                                            'x
                                                                                                                                          -                                     )..                                           .-                          ..                 ,                                                               :....-                                                                  :. .
              , .                                                                                                                       .                  ,..                                    .                                   ,.                                                           ,                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                           y
           emplbyei.1)hadtv ïpoFèrtoylljie)aild;flrethçerflployeej;j)yu,poajjg ajîyyjmtmjjgdempjop y'.                                                                                                                                 .

                                                   .                                      ,                                                                                                                                                                                                                                         .            ( ..
                                                                                                                                                           '.                                                                                      )k,y                      ..                           :-o'.'..
                                                                                          .                                                                                                                                                                                                                                .                                                                         ,
                           -                                                                                                                           .'                                                                                                                                                                                                  'ï         .                          .


 .7'
     '.
   . '
          '
           workscheduleé
                       '.orcondilionspfemploylent,Jj'betqrmtned:)thè..'çate'
                       ' ..
                           ,            '
                                                              . . u .-
                                                            '.,
                                                                           andnïythoèofpaymentj'
                                                                                               >d        a.               . '           .          .
                                                                                                                                                       .                .               '' . . ''
                                                                                                                                                                                        .                                                          .
                                                                                                                                                                                                                                                   .         ;         . .            .        .u                                   .                  .        .     .                 .    r,              .            .               .            .
                                                                 .x .                                                         g<                               ,.
                                                                                                                                                                        '. .. ' ,i                                                                                     .                  J                                    t                 '. '. .                                                                 ),                                '

          -4'
            l.ma
            J  (i
                àiamedyèmplôymentreçpitj.utilirrealk'ï.tö)odl
                      -'                                    ?mmi7
                                                                .
                                                                ,13,$-.3d.
                                                                        ..24
                                                                           .2,
                                                                             t'
                                                                            ..
                                                                              z()s.t.l'l.t
                                                                                     .
                                                                                         -.l
                                                                                           .,
                                                                                            k'e. i.r.r1
                                                                                                      :
                                                                                                        9.97).                                             .                .                      .                                       ..
                                                                                                                                                                                                                                           .                           . .        ,                                                                                                     '        .
                                                                                                                                                                                                                                                                                                                                                                                                                      a
                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                     w
                                                                                                              ).                                       '.                                                                 .                ''                                                                                                '''
                                                                                                                                                                                                                                                                                                                                               .
                                                   1n.thecqntekt2 ana.ilègçdjbm
                                                                             .ziçtp
                                                                                 .'loy'çrrelgtionsbip,tlzçEldventhCircvithakçypoded'                                                                                                                                                                                                ,


       y
                                                                             ..
                                                                                .
                                                                                                                  '.              .         (.-                                     .                                         '                                                                .q                                                .,'                            '   J
       .   thetesttoinclude'iheföllowiilg.fà(cto
              :..
                                                 rs:.ll).tlwknàttlrealid'dègreeoriçoùtpl'bfjh4wörkrersyjlq
                                                                                                         theg
                                               uk               .).ï L                           .
                                                                                                 )                                                                  '..,                                          ..                                           .       .              '                       .                              m     -                                    .
                               '           y                                                                                                                                                .' ' '
                                                                                                                                                                                                -
                                                                                                                                                                                                                  .                                                          ..                                '                                    .                                                                        t
                                .
              .                        7                        q'... . ' =
                                                                .
                                                                                                                                                    .                       . x ... . ..                                                                                                                                                                                                                                  .


       .dèg.
           tèexnf.supçrkisiçm,
                '
               . ..
                            ' dire:i
                                   ..orip
                                    .
                                       '
                                        'dl,rèctk.ofthèwo
                                                a
                                                       ..r;k
                                                           y,q
                                                             '1)'
                                                        . .. ..
                                                                thtlpökertb deter
                                                              . .:
                                                                 .
                                                                                'minetùd.pay ratés.qr
                                                                                             .
                                                                                         ... ..               .                                        .                                                                                           ...         .                                          .                                                                                                   ,


      '
           tlkemethodsotpayriientr(5
                                   'f!heworkerj,4)thehjhttdirectly
                                                                 .qripdlieptly,.tqhire7tite,ormôdify.                                                                                                         .
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                               ,                                   ...                                  ..
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                            .            ..          .                   ..
                                                                                                                                                                                                                                                                                                                                                                                             .
           ..                                                                                                         .           ,                                                                                                                                                            r- .:.a.                                           .)
                                                                                                                                                                                                                                                                                                                                                   .,
                                                                                                                                                                                                                                                                                                                                                    .( .. ,...;.
       '.%                                                  -                                                .                     ..          .                                                                                                                                                         '                         '                                                                                     '                     y)
       '               iiént'cptiditionp't
           ttlçèinplb#i,
                  '         .
                                   .
                                         pfthè'wljrkçrsyrs)piypatationofrpaykoll'àt
                                                        .
                                                        .                   .z
                                                                                  nif
                                                                                    ,'
                                                                                    ;
                                                                                      thèyaymçn.tofwag
                                                                                                     ,
                                                                                                       esj6).
                                                                                                            :                                                                                                                          .                         .                                  . .            .                                   .
                                   .                   ( -'. y                                                                            ;                     .               :.
                                                                                                                                                                                )                                                                                                              '                                             .                                                           '
                  e elillip,Q?.
                              fàctlitilsFiçr
                                           ii
                                             ewtoi'
                                                  k:Accurrect. 7).pel'lbl-nnatïéça
                                                                                 :ôfa'jpeciàlt#jöbfintçgrattowthe
                                                                                     - '                                                -                                                                                              .                                                                                                                                   - . '
                                                                                          ... ).                                          .'               '.                                                                              .                                                                               (- . .
                  z.       C                   s q.                                           .'                                            . .. .                                                                                .'                      '                                                    '. .'
                                                                                                                                                                                                                                                                                                                   t '                                                :                              -F '.
           àupitlzjsjgnd'8)investmenii'
           '
                                      xtequiymehtandp'           taytonïk;DHL;Ekp..% sA).'
                                                     tqcilitièj..L                       3.)
                                                                                           JHc.,,88t'ê 3d                                                                                                                                                                                                              .                                                                                                      .               , .
                       .                                                                                                      ..
                                                                                                                                        r: ,...,:.... . .                                                                                      ï                                                                                                                                                     rp...
           .   r. -                                                         .                    . ..                                    .j' .. -'
                                                                                                                                                 ....' w '                                                                                                                                                                                                            .                                                   .
  .
       '1171:.
             4176(71.11 dir.zotbs
                               f
                                 tciiillglbmtem/lù.yçrtèstcreàtedbyAiinab k,.
                                    -<.                                     N
                                                                            . .                                                             ' -
                                                                                                                                                   . v                                                                         ' ...    .
                                                                                                                                                                                                                                                                                                                           '                               .                                q                         ,y ,
                                                                                                                                                                                                                                                                                                                                                                                                                      ..''
                                                                                                                                            . .
                                                                                                                                                                                                                                L. .. .
           !
           ,'
            f                                                               .....                        'J''.. .
                                                                                                                a(. ..) .
                                               .                                                                                                                                c.                            .                                l                           .'''.                                               k;....                                                                         ..                                           .
              onèfaètorwik'dispositivèahd'thèexistencçofajointemplbyèrrelétlofljlli
                                                                                  zpde/çnd
                                                                                         ,jontheecönoldic
                      .y '''                            .
                                                                            .                        .. .                             .   y .. '''..'.:.                                                               t                   .                               .                   ..,..; .a                            7' .                       ...g                              ,.:                 .'.t.
      ..'
        r
        .eality pftjj.           . e'
                     e.cirpum stânc
        . ... ... . .z..k t..
                                    jk.N;.,t
                                           .y-çeyyuus?a
                                          . .,.(
                                               .      ygv4jayyt,j. xjsy
                                                                      ..x
                                                                        'atyg#
                                                                             .g
                                                                              ...
                                                                                ,,yp
                                                                                  y. j
                                                                                     .v
                                                                                      ajgp;
                                                                                          t.gpggj,, 6g6ly g
                                                                                                       y
                                                                                                      , y ..y
                                                                                                              tjà
                                                                                                            ...r
                                                                                                                y
                                                                                                                .,
                                                                                                                 tj.
                                                                                                                   yjgj,;                                               .
                                                                                                                                                                                                                                  . .                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                    .,
                                                                                                                                                                                                                                                                                                                                                                                                         .           .
                                                                                                     r..- )                                     yq ..)                                                                                ..j                            r                                                          .p.) s.                                             .. .,
                                                                                                                                                                                                                                                                                                                                                                                                                     '''..(.
                                                                                                     .
                                                 '
                                               .' .
                                               .    ;.J..
                                                                                                                                          ;.. :
                                                                                                                                              .)..)...
                                                                                                                                                     c:
                                                                                                                                                     .
                                                                                                                                                     .
                                                                                                                                                                                                                        -yl. .'
                                                                                                                                                                                                                       . ..
                                                                                                                                                                                                                                                                                                         . (-..i
                                                                                                                                                                                                                                                                                                               t.':t,
                                                                                                                                                                                                                                                                                                               . y.
                                                                                                                                                                                                                                                                                                                    . .'
                                                                                                                                                                                                                                                                                                                    )                                                                                                      .-'1
                                    .'.
                                                     r,                                                                                                 E..
                                                                                                                                                        '                                                                                                                                                                           .-J
                                                                                                                                                                                                                                                                                                                                      't
                                                                                                                                                                                                                                                                                                                                       ''..
                                    y ...-         .
                                                                                                                                                                                                                                                                                                                               ...'..
                                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                               ?t'
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 10 of 28


                                                                                                                                   '                                '                    t ..   '                                                                  -
       .

       (GGg-rjhefocusofeach inquiry mustbeon each employmbritrelaiionsllip asitexijtsbetween the
                 u                           .                                                                                 T                                        N..
       w orkerahdl              tçdtùbeajointemployer.,),.
                 the party aksei-                                        a

                                                                                                                           '                                                                                                                      '                    .
                                                                                                   .                                                                                       .                         n                                    .
                       '
                           Here5Plaintiffs hak: g'
                                                 roupediallthe Corpöràte Defendants tbgether in their Am ended
                                                     .                                                                                              .                       .             .                  .




       Complaint .labeling thèf'
                       '       n as GtRetreat DèfendN tsi'' and allege that they dönstitt
                               '                                                        ztçd çjoint                                                                                                                      .
   .                                             .                           .
                                                                                      t                .                                                ..                               . '                                                          .        .. y
                                                                                                                                                                                                                         .

       epployers'Md/bran ihsegrated ùrcommon epterprije,, forpurpèsesoftheFLSA. (jjs 4 at.
                                                         .   .
                                                                 '
                                                                                      .
                                                                                         6).           .
                                                                                                                                                                        .       .
                                                                                                                                                                                                                     . .

                                                                                      ;                                                                                 .                               .                                                                           '
       ThèEle#enth Uizcuithasedetérmiéedthatthe existence ofajoihtUmployerrelationship and thè
                                                                                                                   '
                                                                                                                       .
                                   .             '                                                                         (
                                                                                                                           j           .                                                                             . .
                                                                                                                                                                                                                     .                                .
                                                                                                                                                                                                                                                               .' . ,          .
       existehcebf0 enterpdàça'
                              ret
                                two didtinctlègaléoncepts,m itingthâtthèGçfm ding öfan enterptijç .
                                                     .                                                     '                   '                                                '                                                                         . . ' ..
                           .        .,. '                                             ..                                                                        .   ,                                                                                                              ...            .
                                    .                                                                                                               .                                                            .
                                                                                               ., .                    .                        .       .                        .
                                                                                                                                                                                 .        . .
                                                                                                                                                                                          .                      .               ..           .
   .                                         .                                                                                                                                                                                        .                        .                                  . .
       isrelévantonly to the idsue ofcoverage.gtmderthe,F
                                                        .LSA whereasj(lqiàbility''
                                                                                 isbwsed (in the '
                           .                                                                                                                                                                                             .   y                            '
       existencù'ofan'employer-employeer:lationsllip.''Patel.
                                                            v.Wkgoè8,03 F.2.
                                                                           d 632,83:
                                                                                   7 (1,1.
                                                                                         1 Cizz'
                                   (. ''./...                                             '. , .                   .                   '.       7 '                     '                                        :
                                                                                                                                                                                                                 .               -.'                                                     '
        .

       :1986).Anèbecause''thecriteriafofèstéblishlnganenteprisearemuç.
                                         T
                                                                     hbroàderthan thecriteria                                      ..                                                               '                    -   '            '




       necessary'töçstablish goint-emplèyerq,liability,''.ultqhereisnosttggçstfon...tha'
                                                                                       tari'employeris
                                                                                       .
   '
                                                             .       .                                         .                                                                                                                      ;                                                      N,
       rejpopsiblkr
                  to.other:emjlqkybrs'.
                                    ' emplo#çes,llnlçjsofèotlrsethereisajljmtçpployerrelationshipk,
                                    . .                          '
                                                                                 ..   .
                                                                                           '
                                                                                               .           .                           .    .
                                                                                                                                                            .                   '.                      ''                ..
                                                                                                                                                                                                                             '. .
                                                                                                                                                                                                                                                           .   .           '        '
                                      .                                                                                            .                                                 '                                                                    .'
   .,              '                    '.                                                                                                                                                                               - .

       ZY Z 136.'
            '.
               .                    .
                                                                                                                                                                                                                                                               '
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 11 of 28


                                                     '                                                                                               ' .
      .                              .
                                                                 :(u               .              .                            .                     .  .
  . '     Defendantl.f First lwagreewiththeDèfendantsthattltp cu
                                                               'ri'éqtallegationsam insufficient'
                                                                                      .         forlack                                                                                                                          a



  '
           ofparticulqrityasïoeachoftlie'
                                        Corporateentities;TheCopplaihtpoupsrtogktherthe:Coporate
           D/fendants,alleging in a cpnclusorym nnnerthçy hadcomm onzownership with comm on directors'
                                         y                                    .            '                                               '.                                                    . .                     v                                                                 .
                                                                                                           ,                                                                                                                                 .                                                                                             .



   ,
           and/oroo cers,andthat'overvadouspedodsoftim e,.Vetreatandt e
                                                              .       '                                                                                               '                          -
                                                                                                                                                                                                 z
                                                                                                                                                                                                                                                     '                ..                                                                                              .
                                                                                                                                                                                                                                         '                                                           '                                                       '                               '
           . .                                                                                                                                               '.                                                                                                                                     '' ' . '                                        .
                                                                                                                                                                                                                                                                                                                                                                                     ,.
                                                                                                                                                                                                     '                                                                                                      '                                       '.
                                                                                                                                                                                                                                                                                                                                                         .            . '.           .
                                                          -                   ' :.                                                         u                                                                                                                                                                     .       .

           to pay PlaintiFs.'? (DE 4 at.8)..Whilethere aresomeXlegatiol%:thatspmeofthe èntitiesare
           .                                         .                    '                                                '                                 .             .                                                                 '   l'
           ownedgyeachother,wiicharéthenevenmailytractduptothe saine offk erj/ôwners,even thé                                                                                                                                                                 .

               .        ' .                                                                                                                                                          .                                                                   '                 '                                                                                                     .
                                                     '                                                                                                                                                                                                        '                                                                                                  ''
                        '                                                                              -                               '
       .
           allekâtiopsg.againstf$he individual of/cers db not dpcumèni thçk roles over the'cprporate'.
                                                                                  .       .                                                     .                                        .
                                                                                                                                                                                                             .

                                                                                                                                                                                                                                                                               . .'                 .                '




           defèfldantstöshoF thatthéy $thadtiepower.
                                                   tödeterminethepayrate'
                                                                        qprthemethodstofpayment                                                                                                                                                      ''                                                                                            ' '
                                                                          ; . .ï;.                         '. ..
                                                              .                                                                    - '. -                         .                  '                           .
                                                                                                                       ,


           ottheporkers''brthejttlattlreanddegreeofcontrolofthewprkep''forthezGt
                        ..                           .
                                                                               preparatibn ofpayroll
                                                                                  .            .               m                                                                                                             '                               = ..                  .                            .                                                                    '
                                     J                                         '                                   z.                                            '                                                                           .                '
  .                                                                                                                                                                                                                                                  .. .


           apdlthepaym ehtpfwagesï''Layton,686 F.3d at1176. .
                         i
                         ;               .                                                                                         '                                                                                         '
                                                                          '
                             .
                                 '
                                                                                  .   .
                                                                                                                       .
                                                                                                                                                                      (.
                                                                                                                                                                      q                          .
                                                                                                                                                                                                     .                       '.
                                                                                                                                                                                                                             ;                   '                .            7           .
                                                                                                                                                                                                                                                                                                        .                          '
                                 .
                                     Tb:pro#idé'an exapple,theallçjationsiègardfngthèpayGentofwagesincludèneadya11                                                                                                                                                                                                                                                                       .


                                                     (

           oftheCdrporaieDçfendànte:tiyies. Theallùgations.àreth4tNFIW NRPA,NRC,wliich are         '
                                                                                                                                   .                                                                                 '
                                     .                       '
                                                             ..       '                            .-                              '                                                                             '                                                                                              .

           oo ed by DR PS and CöalEntilies wéye thù entiiies that Fere'issuing uusome,,ojpjaiutjss,'
                                                     . ' .
                                                                                                                    .

                                                                                                                                                                                                                       .-
                    .        .               .y.
                                              .-
                                                                              -
                                                                                                                                                .
                                                                                                                                                                                         '
                                                                                                                                                                                             .
                                                                                                                                                                                                     .
                                                                                                                                                                                                                     . ,
                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                l: . ' -                            '

                                                                                      ..                                                    '                                                                        '                                                                                          &'                             .
                                     .


      .Pàychecksy?(bE,4 at7)t.M ijji.ng,gom.thé ezi:tirety ofyth;etallegationp are how RBH.t'Retreut
         . .                                             '                '                                                                                                    ...                                                                   '                                                                   .                                        '
                                                                                                                                                                                                                                                                                                                                                                             .
                    .                                 .                                                                                     '                                   .                                                                                                              ..       .                    ...
                                                                                                                                                '
            . .                                      .                                                                                                                                       .       .                               .                    1,                                                         -'
  .
           Bekavioralto altlil;thegheadofiherorpora'ieWeb,operated.ormailajedtheothercqmpnnies,and
      ;
      .    thtlscontr4llèdlhepayokjrany:ùftliePlaintiffs.Indèed,asidè.ffpm betilgthenapesake,company,                                                                                                .

                                                                                                                                                                                                                                                                               7
           thesèleallegatio1sagainjt'
                                    kBflrmustbeinferrrdbasédoilttieexc
                                                                     'erytoittheemail.seht:outby.
                                                                                               '
                                                                                                                                                                                                                                                                                                                                       .       .
                                                                                                                                                                                                                                                                                                                                                         '        R.                 ' '. -'
                                                                                               . .                                                                                                                                                                                     .
                                                                                               ..                                                                                        '                                                                                 .
                                                                                                                                                                                                                                                                                   éW '                                                                          -                        -
           ChiefAd,=ln.oflkerbefçndMtnlooroéodskythat.them Wouldbçadelay inissuingr
                                                     '
                                                                                  ttlePlaintiffs'
                   J.                    .   ' '' .                                                .
                                                                                                   ..
                                                                                                                                   'èJ..                                                                                     ?.;.        '                                     ..-r.' '                                                    .                      '
                                                                                                                                                             .
           .            .                        .
                                                     .
                                                                      .                                                                                  .                                               .               ,   ,           ).
           checksbyKllBlTM anagemepf',inJuneL2024.(DE 4qt9).
                                              .- . .
                                                         .                                .                    .   g                                                           '.                                                                             .                                         ' '                                .
                                     B#Wayofaiiothèrexamplt,Plam
                                                               'tiffsdiLnotincludeDefepdàntHF/C witàiilthèlûReteat
                                                                          .
                                                                                                   .
                                                                                                   L'
                                                                                                    .
                                                                                                                                                    ..                                                                           .- .
                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                   - '                               .
                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                         r.
                   .'                                                                              '
           Dbfèndants''deGnition r
                                 as.used throua
                                             .

                                              W
                                                          .Amè
                                                hotltthéiz. . ndèd
                                                                . Cte pl(
                                                                        'int.mef
                                                                        p     a.
                                                                               ml.ng:
                                                                                   '=.ihatHFGC is  .'          ' '                         ' '
                                                     '            '            .                                                             .                                  -                                            '
                                                 : '                              è                                '                                                                 -
                                                                                                                                                                                     .                                                                                                                                             '
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 12 of 28



                                                                                  .                                 .
                                                                                                                    .                                                                                                                                      .                   .                            .yg'
                                                                                                                                                                                                                                                                                                               z: :
                                                                                                                                                                                                                                                                                                               .                               .
                                                                                                                            ..                                                                                                                                                                    .         ...
                   m issing:
                           kntirèlyrfrolilall.thçi legat)ions
                                                           .
                                                             tagg
                                                               '- .
                                                                   instthe' Retre
                                                                              .
                                                                                 at'
                                                                                   D èfèndants'
                                                                                .k L>
                                                                                              .Even:whem analyzingzthè
                                                                                                '''                     '                                                                   '*'*'
                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                       '       ....
                                                                                                                                                                                                                                                                                                                                                                                                                                                             .      è
                                                                              .                  .                                                                                                                                .                                                                                    p.                      ='

               vspaysekèl4imà
               ..
                            'âgq
                               'inst11F'déC,,
                                            'th.4.titùm pdLGEtherprppçrtjwhekerlkeiteatis,operatçd,.
                                                                 .                          .
                                                                                                   w hichisleasçd'                                  .
                                                                                                                                                                                .
                                                                                                                                                                                        .                                                          ..              ...
                                                                                                                                                                                                                                                                     .                           , ..            . .. .
                                                                                                                                                                                                                                                                                                                       .                                                u.                      .

                                                                                                                                                                                                                                                                                                       ').... .
                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                              ,                                                     ..
                                                             .. ..                                                                                                                                                                                                     .                      .
                                                                                                                                                                                    '
                                                                                                                                .
                                                                                                                                                        .               .w'..       J.                ..
                                                                                                                                                                                                                                                                   .-'l.                                      '-                                            .       .                       .

                   f;otoalLl
                           iliewprthp.
                                     'iao '
                                          that?rthè.pàj
                                                      .
                                                        qrityômp
                                                               -
                                                                 erö?Laèh.,HFGC',
                                                                                >'êlCb
                                                                                     '
                                                                                       àtLak eWort.h' isCLw
                                                                                           't.                                                                                                                                                                                                          .

                                                                                                                                        -                                                                                                                                                                          '                                                    . f'
                   .                                                                                                                                                            x.                                                                                                                               ..

                   t-loldings,an eniitk'tjwnéd,by David Sil(.
                                                            vj
                                                             .erstètù;)thère.ijùnb mention (; HF C:ssn: e.apd
             .   r  dçgrèeyéfkonlw love/the'plairiiiflk.tjranyotheflpentiolrofSFGC'Sabilitytt
                                                                                            ?pay,5.re,(jrrliodify                                                                                                                                                                                                '''
                                                                                                                                                        '''
                                                             ;..
                                                             .                                                                                          2.Q'%                                         .
                                                                                                                                                                                                                                                                                                                     .


                    e1i1(
                        Ploypept.cimdiii,èns,qjidefmm tv .geh.éra.l,altegàtionzskthafzi.twà
                                                                                          -
                                                                                            j'
                                                                                             v çntity.rsvithlrïtlw k'
                                                                                                                    etmét
                             .                                                                                                                                                                    i
                                                                                                                                                                                                  .

                                                                          .        :             '                                                                 =. s '                                                                                              J'                                                                  :                !                                           ''               .
                    bq:f
                       :
                        bndants.whovran,
                                     .
                                       thv'ehtikeècörjoratèëweb'
                                                               ...
                                                                 L#tonv.686ïFk3d'
                                                                                .
                                                                                71172. AndZFGC ib:notyven                                                                                                 '                                                                                  '.

                                                                                                                                        '
               .                 .                                                                                                          'j.                                 ..                                                    .'
                                     ...
                                                 '
                                                                     '
                                                                     tecb'
                          'œsan èrltisy m thiprtheRékeatDefçndN ts,j0'
                 linèludéd.                                           .'
                                                                          'èally
                                                                         nl    '.ihère4reiloàlkggtiöpsq
                                                                                                      àkainst
                                                                                                        .'              ''''                        .
                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                                            ,


                        w,                                                    ,'
                                                                              J ='
                                                                                 .                           .
                    it;
                      inthec
                           coni
                             '
                               plaint-'
                                      :                               . ' - .'.
                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                            .                                             .        '                               . . .z .'                                !.
                                                                                                                            x !                                                             '                                                 ..                                                                           = '                                              .
                                                         .                        ..                                                        .                .                  -.:                                                                                                 .                        -            . . .                                                                                                      g                      .
                                                                                                                                                                                                                                                                               .                                                   .
                                                                               agnlnstthç 'Cörpprate Dèferidants àrç 'thetef2pt
                                                             Tlié'.FLSA èlaims'7                                              s.
                                                                                                                                è dismisjed Fithottt
                                                                                                                                                              .        .        ,-
                                                                                                                                                                                                      .
                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                   n

                                                                                                                                                    . .      q              '..                 . ,...                                                                                                                                                                   ..
                                 .
                                                     .                                                                                                .                                         j- .                                  .                                .                                                                   .,                       .
             '.è
               pipivdiéè'
                        .Ptaiiltiffs:.
                            .
                                      muàtxx
                                     .. k
                                           'mot
                                         y..u
                                               è'thàiopgh,.ty a:1lege ajp..til
                                              y .L . ...             ..      t,eml
                                                                                 joymçnt7,b
                                                                                 .:
                                                                                           ztwlerï.c
                                                                                          .-
                                                                                                   tliè vadbus                  .
                                                                                                                                                                                                                                                               .


                                     :                                    j .'           .     . '          z                                                          ' C                            '                                                    c                                                                   .

     ' c63'
       .  121)4ratç.
       . '.
                   aciors.ip thisçésé iq thç.fulnj of'any'
                   )        .:           .
                                                          Amendè
                                                         r. :
                                                                 d'Cnmpf
                                                               r. t
                                                                        af
                                                                       ..
                                                                          nt: Asc.zp
                                                                               .' ..
                                                                                     rrèni
                                                                                        ..
                                                                                          ly'pled,pè
                                                                                                   it.is.
                                                                                                        (        '                          .       .
                                                                                                                                                    .                                        ..
                                                                                                                                                                                                . ..                  '
                                                                                                                                                                                                                      .           . .                                  . ..
                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                         .                 ..       .
  '
  :
   2. .
      i'' .5 .                                                   ..                                   .' '
                                                                                                             .              -                                          . .
                                                                                                                                                            - -' ' . .2.
                                                                                                                                                                                                                  .                                                .                    F.                                                 '.         ..t                                                        .

                            j. ...b .                                                                   .                                                        . ''J                                                                                                                                                    '.                                                 ..
                    exze  èdil
                             ùklk dilc dlttofbytl
                                                ow theallect       attonssa gaihstfhèCùrptka'teDetè'ndah1tsèapd'Vw théy-'                                                                                                                                                                    ,
       .--          .  ,t. ' '.
                        '        -
                                 .  ;.          ! : y.. ,.. '..'l'        .. -.         . .1
                    l                                            s.                                 .                                                                       '
           ..                                                                           . .                                                             .                               . . .k                                                     .
 .'.
 '
 .
           . ' -:
                .   oùrnokedlv'
                              'iointi emplovçdtltk'
                                     Lk 0 . .
                                     . .
                                                  Cèlmntiflt.;
                                                            è.        ..
                                                                              xe œ#.
                                                                                  '..     . !                   .@
                                                                                                                 F          '           'uh..
                                                                                                                                            .
                                                                                                                                                            *F... ''
                                                                                                                                                            ..                 .
                                                                                                                                                                                        -w.
                                                                                                                                                                               -. . s. . .                                                    ,    .
                                     .                           .                  '
                                                                                        . -
                                                                                                                .
                                                                                                                                        ,       = .                          2, J .
                                                                                                                                                                            ..
                                                                      .î
                                                                       ':. .                        . -'                                :.          ..-
                                                                                                                                                      ..                     è -,. .-'..
                                                             2:
                                                              .'llndividualDefenihpi
                                                                                   1
                                                                                     :tr.''
                                                                                          ,.                                                        ''
                                                                                                                                                                                                                              .,        .
                                                                                                '           '
                                                                                                                ...-..
                                                                                                                                                                                '
                                                                                                                                                                                .' ' ' '           lè
                                                                                                                                                                                                    î-
                                                         J
                                                         r
                                                         .                                                                  .                   *                                                 ''                                      .'                                                 u. '                                                                       .                                                '                              '.
                                                         y
                                                         /'tiévadous'
                                                                    .
                                                                    IndividllnlDefepdahisalso:aigfl
                                                                      ...
                                                                                                  .etiatèplr
                                                                                                           àihtièlkha:èjuju jokjey suf,
                                                                                                          y.
                                                                                                                                      fiyje
                                                                                                                                        ..'jat
                                                                                                                                             ('                    :                                                                                           ..        . .                                ..                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                                                                                                                ..
                                                         '
                                                         ) -.m'..
                                                                '.                                                          ,           -                          q'.'                                                               .       2                         . .
                                                                                                                                                                                                                                                                               .                                                                .t-' '.                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
               .factsttolshöyW
             ' '
               .u
                   '
                               ttlqttheindi.v
                                 .
                             . z . .,.
                                              idùals',  Fere:thçir.
                                            g . ., .. u. ... . .
                                            .    .           .
                                                                  jè.intiuinyt
                                                                            ..
                                                                               byersuiz
                                                                                 . .u. . ,
                                                                                          dettIIeLTFLSA .Plàiqiifl-
                                                                                         j.uy. ;.. ...
                                                                                                                  sT
                                                                                                                   èoiiterid                                                                                                                                               .                                                .          .                        .                   .
                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                    .    ,       .
                    '                                                                                                                                                                                                                                            ' . '.
                                     ...
                                                 .
                                                                                                                                    '
                                                                                                                                                                       . .  1 ::7.                                    ..                                       a     .                            ,.
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                      .                    v'z'.                . .
                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                             (..
                                                                                        . .                      ..     J                       .                               .                                 .'                                           ..
                                                                                                                                                                                                                                                                )'             t                           ..                                                                                                .
                 ' -
                  -,
                    tlaat.theiktilyjâ titmsl
                                    2.'.   y
                                            àaves'vfsdièutly'dèscribed tùe1rl(tiki
                                               . .
                                                 ..               .
                                                                                   duatspçfèpdvts'
                                                                                 ..J y.7 ... 7.
                                                                                                 .èp:ratibnal'konlp..l
                                                                                                  . y . ..b.iy
                                                                                                         .                                                                          .                                                                                                             .
                                                                                                                                                                                                                                                                                                                                   -J
                                                                                                                                                                                                                                                                                                                                                                                        .                                                                           .
                                          '.                 ..                   . .. .
                                                                                                                                 ..
                                                                                                                                                             .
                                                                                                                                                                       '.                                                             :.                                                                                              :.L ... '-. .                                             '            .
                        ,
                            .,           .                                        '
                                                                                  .-
                                                                                    .. .    .
                                                                                       l a .' .7         .
                                                                                                                                '       .
                                                                                                                                                        .   ?''                                               ).-:...' :.'                                                         '.        .
                                                                                                                                                                                                                                                                                                                                 .- .v.'.z. .
                                                                                                                                                                                                                                                                                                                                . '' q' '
                                                                                                                                                                                                                                                                                                                                                                                                        ..,.         'a. .'          .                           è
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .

             ,'àyèrrthé:
                       'Cöfli
                            lbr>tv.befeild$'a
                            c'..
                                             hitj,
                                            .'
                                             '
                                                 'apd'ilùtr
                                                          'ih'
                                                             eItldivid,ln'
                                                                         ljàndttd
                                                                                li'Cbrjo
                                                                                       'ratèDefepdM,t
                                                                                                    ,j
                                                                                                     ..
                                                                                                      .We
                                                                                                       . retall,a'tr                                         '
                                                                                                                                                                                  .
                                                                                                                                                                                '. <                                              .                    .           ,               .                                                .          .            , . .                                       . ..                               . .
                                                                                                                                                        j4' r. . (
                                                                                                                                                                 .. , ...                                                                                      ,''.                 ...,.' ..'
                                                                                                                                                                                                                                                                                             ,'.'''..'.'.') . -'                                        ..''  w ' ... '
                                                                                                                                                                                                                                                                                                                                                                      't. .'
       ... ' '                                                   .                .
                                                                                  .                                                                                                                                                                                                                                                                                                                          .' '
                                                                                                                                                                                                                                                                                                                                                                                                                .                                       '
                                         .c.                              . .,. .'f                                                                                                                                                                                                                                                                                                                       t ,. .
                                                                                  .                 ..                                          ,.. .                                                                                                                                                          ;.                                          ..                   .
                    t
                    paitèfc
                    . .. ' ..
                             khte-grra.téd
                          thçJ            ' : .
                                           (
                                         . .
                                            yf
                                             cont
                                                m'ome
                                                   y
                                                     nc k
                                                      t
                                                      e  , .- ) w
                                                       pnketh
                                                            .
                                                              ai
                                                               rv'
                                                                 ipl
                                                                   atqdè
                                                                       tl
                                                                        iç'... . '
                                                                          pl:i
                                                                             n t
                                                                               .
                                                                                if
                                                                                 lls'
                                                                                    FLS . ' . . ).
                                                                                       A,
                                                                                        dgh%t
                                                                                            '
                                                                                            ,
                                                                                             ,.ReyieWihg.);                                                                                                                                                                                                                                                                                                                  .

                     .     ,
                                 i'                                                                      .
                                                                                                                '
                                                                                                                                 k
                                                                                                                                 '
                                                                                                                                 (                           ).'
                                                                                                                                                               (,..''j                                         ''
                                                                                                                                                                                                                .-                        '                                                                           .'-'
                                                                                                                                                                                                                                                                                                                         '' .''                                                         . '.' ' .                                                *
                                     .                                              ..ï-                                                                           -            ;                                                                                                                                           .'
                                                                     .                                                                              .                    ' .(.
                                                                                                                                                                        .'
                    ar                                   7 -ry(.. '..
                                                         .                                                          .-                          .,:. .
           .
                    7L
                     .As
                       . 'thè
                            )
                            .
                            '..
                              e'kijteàce.'pf
                                          ..)
                                            O-.T. .?bye
                                                    .. .
                                                       s.e
                                                         'mpl,'èyze'. rel,
                                                                         àt''.. M kFp.
                                                                           iohs       .th
                                                                                        .
                                                                                        xè
                                                                                         'fli' î't.< . .'      .'tp.p.l'ead
                                                                                                                          ''' '.'
               .        y
                              *                 émpl   r-
                                                       '            el
                                                                     g            c . ...   ' .j .ar
                                                                                                   .e
                                                                                                    s kui
                                                                                                      .. r
                                                                                                        -
                                                                                                          ème
                                                                                                           a . nt    .      apdma                                               .. . .                                                        ..                   - .                   .
                                                                                                                                                                                                                                                                                                                                                                                                                     .           .   ...
                    l'k
                      tcie'/xt-sA.çlâiiit ând becapwsé.zt.hè'Defef/à.his'n
                                                 .
                                                     h      '
                                                                              havçqpoirai.sld'atly èhallenkesjp).plain.il       (f
                                                                                                                                 ./i'
                                                                                                                                    .                          .                                              .


   y .1t               s .
                             lèj'àtiolis:thâiè'
                                    .,
                                         .
                                              a c'pmmoh.epterpiijq'existçb betweerythçq'oe
                                           ;. . .            . ..       .... . .
                                                                                           fé
                                                                                         ; .,
                                                                                             :ndàiitj
                                                                                                    ' 1do nötqrigà-g.è-ih
                                                                                                    .? , . .
                                                                                                                          .àn,
                                                                                                                        ..jy,.                                                                                                .                        .

' t:. d
''
                ni  ét pt ià ç: a   p   àlyj i j. ieré-
                                                      r   :')':... '' ,
                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                   .                       j                           (,
                                                                                                                                                                                                                                                                                                        ),.'.'.''y.                                             g .                                              -.
                                                                                                                                                                                                                                                                                                                                                                                                                  u                  . -. .'..:
.:4...        . ..                            . ..
                                                 a    ...                                                                                                                                                                                                                                                                                                                                                                                  ,,
  (. . . q. ..(. ' . .L... .... L.  v )..  ;..         .'(.,                                                                                                                                                                                                                                                                                                                                                                                                 '
           L ..,y. -J
         ..-
       .Y - ) .,
                                ..,'z:'!- z. .L'          .. '.'u.
     '' .
     . ,>
               )'.                   F
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 13 of 28
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 14 of 28


                                                                                                .                                                                               '                                                                                                                                                                                                   .                        ''
                                                                          '                                                                 .                .
                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                J.                                                               '
                     employmenk.3)determlned the:raté and method ofpaynlent,and 4)maintained employment
                     recprdsk'''
                               ,1d.And.aseiplained inthepreceding sectibn,theElekèùtffCircuithas'
                                                                                                ,expandèdthet'
                                                                  .:                                                                         =
                                                                                                                                             .                                                                                                           . .w.
                                                                                                                                                                                                                                                                 ' R                                                                        .
                                                                                                                                                                                                                                                           '                                                                                                           '                                          -
                                                                                       .                '                                                                                                                                               '                                        '

                     factorjto#:conjidrredfyo capture other.Vadablçsrelated.
                                     .                 .'
                                                                           to the.allèged employer's'ownersllip         ..                       '
                                                                                                                                                 .                                          .                                                                                                '
                                                                                                                                                                                                                                                                                                                                '                                                   '-              -                  '


                                                                                                                                                                                                                                                                                                                                                                       .                                     t
                     interestirithebusinéssaqdethe nature and degree ofthè control:exercised overworkers andcthe.
                                 .                                                                                                                   .                      .
                                                                                                                            .                            '   ..                         .                                             .             .                    .           .
                                                                                                                                        .        .                                                                                                                               l


                     workplace.kSeqLakton,6à6F.3dat11'7û.
                                                                       . ''                                     .                                                                                                                          .                                     '                                                          .                                                                                              .
                                                                                                                                                                                    '                                                                                    x                                                                                                                                                                         .        .
                                                                                                                    .                                                                                   ..                                      '                                                                                                 '                                                          .

                                                        Plaintiffs have failed any ofthe outlined testswith rega'
                                                                                                                rdsto,the IndividualDefendapts                                          '                                                                                    '
                                                                      .. .                                                              .                                                                     '                                                                              .                '*''''                        );                                                                                     '           -
                                                                              ..                                                                                                                                                                                                             w           '                'Z                                                                                 '' .                                      ' *
           .                                                                                                                                                                                    .                 .                                                                                                                                                                                                                            .


                .
                     Whù àavçsmoved tb dismisj,Höihsky, Gciano;qnd.Silversfeiik, Fbr.instmxejPlaintiY k'
                                                         .. .                                           '                   ' '
                                                                                                                                                                          ' '
                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                        '                                                    ..
                                                                                                                                                                                                                                                                                                                                    ''
                                                                                                                                                                                                                                                                                                                                                    . .                                                  .
.. .            ..                                                    ,
                                                                                  .                 .                                   '                             .i
                                                                                                                                                                                                                                                    ( . ,.                                       . ,     .'                                                        .                                             ..
                                                   .                      y                                                                                                                                                                    ?'                                .                                                              . ,                    . .                                             ,
                                     .                                                                                                                                                                                                                                                                                                          . .                                                                    ..
       .                                                    .                                                                                                                                                                                                        .                                                                            .                                                                                                    .
  '
                         Cbmplnlr!tmeiltionsDefendantHoinsky
                                                           e only fouftim ès:one iswithlnrthétitleoftheCpmplnlnt,,
                                                                          .                                         .                                                                                   .                 ''.          ,                    .        .                                                                                    .            .                .
                                                                                       u                                                             .                                                                                                          ..               .                                                                    .
                                                                                                                                        '                                                                                                                                                                             '                                            '
                                                                                                                                                     *
                     two are within the openlng pâragpph:which simpfy defmeg the defendapts'
                     .                   .

                                         .                                        -        , and pne lies in
                                                                                                        .           '            --'         '                              ' '                                               ' .
                                                                                                                                                                                                                                                                                                                      .

                                                                                                                                                                                                                                                                                                                                                              ..               '                             ,
                                                                                                                                                                                                                                                                                                                                                                                                                                       .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                   '                                                        '                                                                                     '
                                                                                                                                                                                                                                                                                                                      :.!....                             .l .. .                                                                                                   ..
                                                                                                                                                                                        .. .                                                                    '
                                                                           .. .
                                                                              ,            .. '                         .                                                                                                         ,                 . .
                                                                          '                                 .       .
                                                                                                                                                     .-
                                                                                                                                                                                                    .. .                  .                                          'L..                        .
                     Paraaraph 29'Fhiéh.l prokide in.itseniiiety.
                         '                   - ,        *
                                                                kGtAtai1thhes'materi4lto'tllià'acti4p,Defendànt.
                                                                              .        .
                                                                                                '.
                                                                                                            .
                                                                                                                                        *                         '
                                                                                                                                                                                            . .
                                                                                                                                                                                                                              -
                                                                                                                                                                                                                                                    .                            r                       .        .                     .-                                                                   -                                         ..           .
                                                                                                                                .                .                                                                                                  è                .                                                              .                                                                            .                             .



                     AlexanderHoihbk'y iv4s.
                                           the'ChiefFinahcialOz cer.
                                                                   ôfRekelt.'' (DE 4 at!j9),'Similarly,the
                                                                                                         ë          .                                                                                                             .                                                      .                                                                                          .                                              .



                         jpecifk fyctùal'allegàtitm:agninstpefendant.darianl)are#qtza11y''
                                                                                         asjjarsy:.Plàintiffsallçgeina
           ' .
           d                                                                                                                                 .                                              . .                                                                                                                                ..               '
                                                                                                                                                                                                                                                                                                                                            .

           i single parakraph that Gariano.wasQhe CblefRegulatory Oo ceröf RielRev at(Corpopte
                                     '''''
                                     .
                                                       ''.
                                                         ''            . '''''              .''
                                                                                              '
                                                                                              b                                     '                .       .                                  '                             '                             ''''' '' .                       *'                   '        .            .        . .           *''             ''
                                                                                                                                                                                                                                                                                                                                                                                *               '                          '

                                                                       è.                                                                    (..                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                                                           .,
                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                  '

                         Defendaptkj. (DE4>t!'29):.Lit'eherco-dçfendant,'Ms.Gàdano'jjtatusastheClliefRegtllato!y
                                                                                      '''
                                                                                                                                                                                                                                                                                         ,                                          .                                                                                      .                                    ,
                                              '                       '' .-                 .                                                                                                                                                                        ..              .                    .'                   $        '.                    ''                                                                                            J       .
                                         .                                .(                                                    ..-                                                                                   '                         .                                                                                   .                                                       .                                  ,                                    .
                         ofluerconstitutesthesizm toialofihefàciualallegàtiönsintheComplaintagainstherandherrole
                          .          . .           .                          .
                                                                                                                                                                                                                                  '                                                                  .            '
                                                                                                                                                                                                                                                                                                                                                                   '. ''                                     <                         '
                         .                                                                                                                                                                                                    .                                                                                                     L
                                                                              .
                                                   .,
                                                    .                                                                                                            g                          .                                     .
                                                                                                                                                                                                                                                                                                                 j, ..
                                                                                                                                                                                                                                                                                                                 (                                                                                                ..

                         within the Cbp orate Dqfèndants. No adjyj
                                                                 j
                                                                 y
                                                                 ,                                                     rr
                                                                                                                        jj                                                                                   ,.
                                                                  itibnalinfoxw atipn lsprovided asto these individuals.                                 '                                                                                                                                                                      .
                                                                                                                                                 .                                                                                                                                                                                  .,.
                                                                                                                                                                                                                                                                                                                                      ry.                                                                        .

                 ndayrtocdà# çonkolkover'thè Plnintiffls'such as providihg exap/lùsbfhol th4y managed the
           ..                                                      .                              ..                                                                                                                                                                                                                       ,.. . ..


                         Coporate'Defendants.wltich;di
                                                     T
                                                      rectl#.. impacted the Plainti/ j how :they 'éontrolledl
                                                                              - ':..                       '
                                                                                                             thçr                                        .            .
                                                                                   .                                                                                                                                                                             ?'

                         compensat
                                 :
                                  ionofPlqint.iffs.or'
                                                     m adçtdrminationdeçislbns,etc.'Plaintiffeslçntiall
                                                                      .
                                                                                                       #,pffep nofa.cts
                                                                                                      .'
                                                                              :                                                     .'
                                                                                                                                     ''v                                                                .. ,.                                                                                                                                .
                                                                                                                                                                      .                             .                                                                                                                                                                      ,   ,                    ..
                                                                                                                                                                                                                                                                                                                                                                                                        j
                                                                                                                                                                                                                                                                                                                                                                                                        .
                         beyqnd thet
                                   conclusoa jtàteme
                                                   - n
                                                   -  tast'bthe*i
                                                              . 'ob tittesthatbefendants:Ilo.ihslt<v and dariàno holdtr
                                                                  ' ..                     . ''         '.                      '''          ' '
                                                                                                                                                                                                                      .                              -                                                                                                                                          .




                         ThisisnoirçnoughtoshoF ailemployerremjloyee.relàtions/ptmdertheFLSA.                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                     ,


                                                        '
                                                        Thçt?ömplaihtvèludessömeskhgtnïorewstoDlfendMtsjrgl-l
                                                              c,
                                                                              .
                                                                                                             yerste.iù andysq
                                                                                                            ..              .
                                                                                                                              hom butstili  '                                           .
                                                                                                                                                                                                5                                               '
                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                     .
                             .                                    .                                                                         . . ':                                                                                                                                                                                          .'.
                             .
                                                              ..
                                                              .                                                                         j ..                                                            j-                            ..                                 )                                                                       ...                       .                    .
                     .   tlie allégatibnj are.èènclusory and iipuflkieùt.èlaiiitiffj allege :that Silkerstein owned altd                                                                                                                                                                                     .                              .
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 15 of 28
'                                                                   - -.-                                                                       .
                                                                                                                                                                                                                                                                                              :; .
                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                 ! '                                                        y                                                                                         '                                                                            .                                                     .


                                                          Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 16 of 28
                                                                        .                                                                           .             J                                                                          .                                                    .                                    '                                                                                                                  '
                     .
                                                              .         .
                                                                                            .
                                                                                                                                                     .
                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                              .                                                         .
                                                                                                                                                                                                                                                                                                                                                        &                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                    '                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .'                                .                                                                              .                        .   l

                                                                                                                                                             '                                                                                                                                                                     .                                                                '                                                         .
                                                                                                                                                    .                                                                                                                                                                                                       .                                                                                                                            '                                              .
                                                                                                                                    .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .

                                                                        .                   employee.ln-l..Accordingly,the FLSA ùlaimsagninsttl'
                                                                                                                                               lé Indikldllnl.Defendantsazedismissed
                                                                                                                                .                                                                                                                                 .                                                        .                                                                                                                     -
        . '                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .                                                                                 .
            ' .
                                                                                         witboutlkyjudice.g.. ''f,è. .,                                                                                                                                                                                .                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                             ...                                                              .. .''.                                                            '                                                                                                '
                                                                        .
                                         .
                                                                                                                                                                                                                                                                                                                                           .                                '.', .                                                                                                                                                                                                       ... '
                                                                                            '
                                                                                                                                        :=.)
                                                                                                                                           '                                                                                                           '                                                                                                                                .                               .                                                                                                                          .                .                                                                  '
                             .
                                                                                                                                B. W AltN Act(Cèuntf) :
                                                                                                                                            ,                                     .                                              .                                                                                          .                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..''
                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ' .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 3                        L .
                                                              ..                                                                                                                                                                              .                                                   u                                                                                                     .                                                                                                         .                                                                                                                                              .
                                                                                                                                                                                        . .                                      k
                                                                                                                                                                                                                           .. .
                                         .                                                                                                                                                                     .
    ,.
                                                                                                    .
                                                                                                                    .
                                                                                                                                Indouilt1,PlaintlffjallegeviolationspfthèW AkN Act,29U.
                                                                                                                                                     '
                                                                                                                                                         .                           J
                                                                                                                                                                                       jkCkj
                                                                                                                                                                                        ''  '''
                                                                                                                                                                                                2901.et.seqi  .against
                                                                                                                                                                                                          'ë' '' ''*''''
                                                                                                                                                                                                            .            ..                                           ''*'
                                                                                                                                                                                                                                                                         @'               .                                                         . ,                                         .                                                            .                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                            -
        .                    '                                                                                              '                                .                                                                   . .'-                                                                     .             l                          .                               .                       ..'                                          '                                                        '         '                                                                                                            ' '
                                                                                                                                                                                                                     ,                                                ,                                   .                                                                                                                                  .
                         .
                                                                       ''                                                                                                                                                                                                                                                                                                                                                                                        .           .               g'.                                                   .                                             ..                                 .. .   .
             .
                                                 .
                                                              .. , .
                                                                            J'
                                                                               all'the-Cor norate DefendM
                                                                                         .'*'-'         .
                                                                                                          ts foifailtire to 'p
                                                                                                                             '*'
                                                                                                                                rovide written notic:soflavof
                                                                                                                                                          *' f: atleas'
                                                                                                                                                                      t60'days
                                                                                                                                                                            *' .irt                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    '           .                           <                                    .                       '                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ..                                    -                 ,
                                                                                                                                                                                                                                                      .                                                                                                                                                                                                      ,.                                                                                                                  .
                                                                                                                            -                   L.                                                                       .                                                                             '         .                                                                                                                                       v                                       '                                                                                                                                              '
                                 .                                                                                                                                                                     '                                               '                                              =                        '                                                                        .                                                                                                                                                                                                                  .
                                                                    .                       .

                                                                                            advance,'
                                                                                            '
                                                                                                                                         ''lartotheFLSA clni'
                                                                                                    asrequired.by'theAct.(DE'4.at15)..Simi                  m s'
                                                                                                                                                               ,Plaintiffsha'
                                                                                                                                                                            yigroupèd
                                                                                                                                                                                                                                                                                                                                                    '                                       '
                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                          .                                                                                 .                                                              .                                          .Q                                               .                                                                                                        .           ..                                       .                                                      .                              -                                                                                            .                .,
    n
                                                                       '.                                                                                                                                                                         .                                                        '
                                                                                                                                                                                                                                                                                                               -.
                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                          t''                .                                    .                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                    ..                                                                                                                                                                                       y.                                                                .                                                              .
'.
    . .'
                     ,
                                                     .
                                                                  .,
                                                                                        .
                                                                                         iocether'
                                                                                                 theCorpèrateDef
                                                                                                    'h''e
                                                                                                               ï
                                                                                                                 eioants,alleging they conj
                                                                                                                                '
                                                                                                                                           titutedPlai.ntiffj iointemploverJmderthe ''
                                                                                                                                          :'    '' ...
                                                                                                                                                                      ,

                                                                                                                                                                              '
                                                                                                                                                                                  .*.                                                    ' .
                                                                                                                                                                                                                                                                  ,
                                                                                                                                                                                                                                                                                ''                        . '.''''
                                                                                                                                                                                                                                                                                                          1                     ''''''                  œ'                              . .                             .                                '           .                   *''                                    .x , .*                         .                                                               . ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                                '

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              :.
                                                                        .                                                                               .                                                                            . ..
                                                                                                                                                                                                                                                                                         .:
                                                                                                                                                                                                                                                                                                                                                    ..                          .                                                                                                    .               ''                                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .                                .                                          .           .L
                                                                                .                       .                                                                                                                .                                                                        .          .                                                              .                   w                                        .               .                                           .
                                                                                                                                                                                                                                                                                                                                                                    '                                                            '               -                                                                                                                                                                                      '           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                             '           '                                                                                                                                '                                                                      '
                                         ..
                                                                            è.
                                                                            :W.ARN.
                                                                                  Ad.(DE4at6,
                                                                                            '13)t'Vado:ujoft.h
                                                                                                             .
                                                                                                               eCop ora
                                                                                                                      .
                                                                                                                       teDefe.ndants'ha
                                                                                                                                      .
                                                                                                                                       vçchallengvdrthesuY ciency '.                                                                 '                        '

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                 t                                                                                                                                                                                                                                                                                                                                                                                                     '                                                         '            f
    '
                                             .                           .
                                                                        . ,
                                                                                            Qfthese çrflployer a'
                                                                                                                llegitions in thet
                                                                                                                                 r M otion to Dijm iss,arguing thatPlaiiltiffsckave.failçd:to.                                                                                                         .                                                                                                                                                                                                                                                                                                                               .                                 .,'
                                                          2 -. .'                                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                     ''r'. . ' ... :. '                                       j . .-                                                                                                    '                                                                    '' '.                                                         '..
                     .                                                                                                                                                                                                                                                                                                                                                                                                          '                                                                                                                                                                         '
                                                                                                                                                q -l(..
                                                                                                                                                      )                               -. .
                                         .           '                                                                                          '                                                                                                                                                                                                                                           .                                                    . .                                                                            . '                                                                                       '
                                                                                                                                                                                                                                                                                         .                                                                        .                                                 .                    .                                                                                                                                                                                                  ,                    .           .
                             .                            ,..                                                   ,                                                                        .                                                                                                                                                                        .                     .                           .                                                                .                                      .              .                                             .       .                                                                           -

    -        .
                         .
                                     '
                                                 .       -
                                                                  .         .
                                                                             ''
                                                                              -             àllegethçy operatedasajplntemploye:undertheW M k'
                                                                                                                                    .
                                                                                                                                            N Act.(DE 81):'Iagreè. ..
                                                                                                                                                        .                                                                                                                                .                                                                      - .                     .                                                                                    .                        .                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '                                      .               ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .                            .

                                                                                                                                                                                                                                                  .                                      . ,                                                    .                                                                                                                                                                                                                                                         '                     .                                '
                                                                                                                                                                                                                                                                                                                               .                                                                                                                     .                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                             '
                                                                .                                                               % ew xkx Aci,19U.s.c.529O1et..
                                                                                                                                .
                                                                                                                                                             sek.was.created'tçyprotectemployees.
                                                                                                                                                                                                âop sudden'.
                                                                                                                                                                                                           ,                                                                              ..                       .                                                                                                                                                                                                                                                                                                                                        . .
                                                                                                ..                                                                                    ..                               ..                     .                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                .           -                                                        .                                                                                             .                                                                                        4                                    'u
        '
                                                                ;               .
                                                                                            lqgelaybffsbymqpiringjigraificaritemjlpyçrsGttopt6videadçquatehhticeeoffuttu'elayoffstpa11'                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
        -                                        -            '             .
                                                                                    .. .
                                                                                                .                                       ,.
                                                                                                                                                        .
                                                                                                                                                                      '
                                                                                                                                                                                                                ..               .   f. .                             .        .                  .. '                                 .        .    ''             .               ' '                                              -.                       .                      '                                     l ''                            -    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '        '.                                                         '.              ..

                     ..                                                                 iem ployeepbefore ordezing am aCslayö'fforplantd osing.'
                                                                                                                                               'Sideqï
                                                                                                                                                     k:A tzctpn:CH/.Greyhoundpark,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                  -                         .               .                                                         .                    '                             .                                                .         ..                                                      .                   (                                   .               .                                     .                      ..                                                                                                               ''                                                                             .

    . '' .                                                .            : .-
                                                                                         Inc.n'725'
                                                                                                  12.3d 1276,.12à0(11111Cir.20,
                                                                                                                -
                                                                                                                              13).Th
                                                                                                                                   'estatutespeclfçallyréads.thatttralnemployersùall
                                                                                                                                                    I.                                             -                                 . xa                         '
                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                           .         e.                                                                 . .*<.                                               -                                                                        -' -*                ,.           =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .h           -                                        .                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . ''              -
    '               ''..                                                                                                                .                                                                                                                                                ..               '.               .                                                .
                                                                        n                                                                   ' (... .,',.                                               .                     . a                                      . .                         ..
                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                   1                '                                                                                        .t                                  .        .                   .                        .,.         -   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 )' .' ,.-                                              . - '.-'.
                                             .            .                 .
                                                                                '
                                                                                    ..                          .                                                                       -                              ..
                                                                                                                                                                                                                                             j.                                           .                            .                                     . .. (
                                                                                                                                                                                                                                                                                                                                                                  1.                                                                . .. -                                                                                             ''                                    .                                                 ,                                         . ,g
                                                                                .        notordèraflailtclbsing.ormass'layùfftmtiltieend ptakdo-dayèperiqd'7if
                                                                                            .                                                                '
                                                                                                                                                              tèrtie.emp
                                                                                                                                                                      '
                                                                                                                                                                        lo.ye'riçrves' '
                                                                                                                                                                          '                                                  .                                                           '.                      .                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                .                                                               :
                                                                                .               .                       .       .               .                                                      .                                               .
                                                                                                                                                                                                                                                                                                  . t' .. .
                                                                                                                                                                                                                                                                                                 ' .
                                                                                                                                                                                                                                                                                                                                                                                    7'                                  .'                               .- . ' '                                                     .                                        .                                  .'                          '..                                                ..
        .                                                                                                                                   .                                                  '                                                  ..                                                               .                                                                                    .           .                                                                                                                   .                                    .                                                          :
                                                              E 'l .. .. '                                              .                                     è
                                                                                                                                                                              .
                                                                                                                                                                                  ' . . .. '
                                                                                                                                                                                                '
                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                         q '
                                                                                                                                                                                                                                         .                                                                .                                                         . .. .yq                                            .                        ..  .y....                                          '    '.' .                     . '                                                          - .                                    .                   .. g!.,
                     .                                                  .           .                                                                                                                                                                                                                                  .

            .                                '                     '
                                                                  .'                                                                        ..                                                                                                                                                                                                                                              a               .       .                                                                                                                  .                                                                          .                '                                 '       '
                                                                                .                                                                                                                                                    c                                                                                                                                .                                                                                  . .
                                                                        '
                                                          '
    .
            .k .         ,           .
                                                              . s
                                                                            .           'E.plaiptiffscisetpktpearyy.,hayz/w (:
                                                                                                                             isuitesLFoley,.
                                                                                                                                           'zè,.i0sF.jd'.1,3f5'(11tl&clr:2024)fbrtlte .' ' '.
                                                                                                                                           à                                                                                                                                                                                                                                                                                         ,                                                                                     .


         '
               ' ï                                        '                         '
                                                                                         proposliipntùatatlindixidpatcan bèdèemedan emplo#ertmdettàeFLSA whetetv indikld''         al                                                                                                                                                                                                                                                                                    ,

    .
        ,                '
                                         .
                                                          '
                                                          . . q ...                         had opetatiôhalcohtrol'ôver significansaspects,'ofthe'compaily's'fimctiùns> even ifpot'
                                                                                                                                                    .
                                                                                                                                                                                  directly                                   .                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '                                                 ;
                             ..
                                                              .
                                                              .                 .
                                                                                        ,
                                                                                            involvedin'émplo#eeçompensation decisions.1dà
                                                                                                                        . '             ;
                                                                                                                                          Howè
                                                                                                                                            .
                                                                                                                                              vei,inthaiyèrydecision,
                                                                                                                                               . .       .         ;
                                                                                                                                                                     thecpur
                                                                                                                                                                          A
                                                                                                                                                                           .
                                                                                                                                                                             tnoted J.    -                                              -                                                                         -                                                                                                                 -.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 <
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
         '
            '
                                 .
                                         '
                                                         .
                                                              .          .
                                                                        . .
                                                                                    '.
                                                                                         that.FGtb.
                                                                                                '
                                                                                                  .be.àn emol
                                                                                                    .      1. ove
                                                                                                               < .r.t
                                                                                                                    mderthe Actx
                                                                                                                               e' 'à '
                                                                                                                                     suoè
                                                                                                                                    . .u rkisoèv
                                                                                                                                               .t
                                                                                                                                                mus
                                                                                                                                                 -
                                                                                                                                                 . teithéibe
                                                                                                                                                           . i
                                                                                                                                                             nkolked 1,
                                                                                                                                                             .
                                                                                                                                                                      11,the dayuto-day   ..                                         .                                                                     .                               .,                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .        i

.
                 ..  .
                                                     .
                                                          ..
                                                           -,).Operati01T('
                                                     : .. .y -            )<
                                                                           .'
                                                                            .f
                                                                             'i
                                                                              j,
                                                                               vesomè.d
                                                                                      ,i
                                                                                       rèt'
                                                                                          re.spon.sib
                                                                                                    ('1i
                                                                                                       lityfoit
                                                                                                              .hestlpeaisionu
                                                                                                                            oFtiçemployeçly
                                                                                                                                          '''
                                                                                                                                            ..11tat.1319 ,'                                                                                                                                                                                                                                                                                          .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                        ''                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .                                E
                                 '
                                                 .
                                                     '
                                                         :                                                                                                   kplvementitjindùdesco.lliw. t, .
                                                                                            (citingPatèlxk.Jfrtzrgè;8é3F'.2d632,618(11th Cir.1r986)).Tllis.ih'                                                                                                                                                                         .                                                                                                                                                                                                                                                                                                            .                             .

        '

                     ..
                                                                      ''                    over siknificdntJàspeds
                                                                                                               '''
                                                                                                                    of the zorhpany's day-today ;funcïiops
                                                                                                                                -
                                                                                                                                                          ,:including compensation ol-
                                                                                                                                                         2'
                                                                                                                                                         .'                                                                          '                                    '.                          ''''                 -'
                                                                                                                                                                                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                                                                            -''                                 -' ..
                                                                                                                                                                                                                                                                                                                                                                                                  ...,
                                                                                                                                                                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .                                    -''''                    ' .''*'                  '                            '        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  (
                                                                        :..                                                                     .                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
.
    ''
                                                                  ..            .           einpl
                                                                                               *'
                                                                                                  o-#eejorotherm attersin félation tù.7an empl
                                                                                                            ' .
                                                                                                            .                           -       oye
                                                                                                                                            '*' ' -
                                                                                                                                                    e.ghw olvem eht1 .t12 'dav-
                                                                                                                                                                             œ'
                                                                                                                                                                                to-da-# obe
                                                                                                                                                                                         A. r
                                                                                                                                                                                         .   a.tiohs: '            .                          . '.                                                                                                                                                  -                                                                                                                                                       .                                                                                                                    .
                                     .                    .                         , .                                         .                                                           ..                                                                                           . .                                                                    .           .                                                                                        -                                                                  .                                                        -.           k                         .                                         E
,.
                  :7 .''ofa compa
                    . ..
                                 ' u ny c gn.includè.regular;4vi
                                                          '
                                                              .
                                                                 ..ài ts to the com/a  - .ny'
                                                                                            .s
                                                                                             . fa'cil
                                                                                                    'i
                                                                                                     Ct
                                                                                                      ..i
                                                                                                        èsx.the Sowe
                                                                                                                -''     r.'lp'determine. . . ' .
                                                                                                                                               .                                        .                                                    ..                                          ,
        .: '        '' ' èmploye r'sa l
                                      a iies ,invbl ve ment  i
                                                             n  mçv .b us ine ss ope pt iöns pf .
                                                                                                t,
                                                                                                 yhe' c qm pany,  :ö r
        ,,                        ,. .         .   :y               ,
                                                                            .
                                                                                                                       çont rol..pvetthe    ', ,'                                                                                                                                                                                                                                                                                                                                                                              .

            '1
             .
                 ' ' Uom pany.sptirse stnngs A supeN isor.s çoiltTol,m ustbe substantiéjantjrejatqdto'
                                         .
                                                 '                      .
                                                                                    .                                    theùonîpany''
                                                                                                                                . .
                                                                                                                                       j          .C'                                                                        ...
                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                             =
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                                   .                        .
                                                                                                                                                                                                                                                                                                                                                                                        .                                                        c .u.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .                       .                                                                                                        ,       . ..                      .                                ..

         :; ; .    ''- obl
                         . iga
                            me t
                               ionslunde
                                      .   r.the= Ad.
                                                  .  '?I6
                                                        L  (
                                                           c
                                                          'x l
                                                             e ane
                                                                 ' d uT 9  (
                                                                           i
                                                                      ,A < > nt
                                                                              e z
                                                                                i l
                                                                                  al.di
                                                                                      ta do
                                                                                         . ns o
                                                                                              ' mi tvdl ek Thuj
                                                                                                              - , t his
                                                                                                                      - cas e
                                                                                                                            .
                                                                                                                             'alsù. s
                                                                                                                                    hows.    è  ,'
                                                                                                                                                 (
                                                                                                                                                   ,                                                                                                                                                                                                                                                                                                                                                                                                                                                  ..                   .

                :è : gthàtPlnintiftkhavçfailedtö.mçet.thepleadihg standardrequlred'ptthisgstage. ..
                                 '                                          '           '
                                                                                                                                       r'          (     '.               .                                                                                                          '            '.                                                                                                                                                                 .                                                          -              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .

                     u                   . .x                     .
                                                                                                                    .                    .
                                                                                                                                                .      è ' y '.
                                                                                                                                                            . .              .
                                                                                                                                                                                      .
                                                                                                                                                                                        . .JJ.         .
                                                                                                                                                                                                            .                        ,            .                                                            .         . .                                                .       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                    -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              q
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ) .-                 u      ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,                    .                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      . .(.. 1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  j
                                                         ..                 ..                              ,           -       .             . ...     .               . j.                                                                                                                                                                                                                                                                 .. ..
                                                          :. J  ' ' ..                                          .                       -           -.         .' ' '     '            y'         àz    :. . ,                                                                                                                                                                                                                                '.                                                          .                        .. . .
                                                                                                                                                                                                              .'.. t. J. ,2 , .                                                                                                                                                                                                                                                                                            . '                   . ,' )                                                                                         '.: . j
        ) .' k                    . ' .
                                                                                                                                                       . '.            .
                 .
                . h'
                                 . . .                     (:.4.. . z. .
                                                         . .
                                                                                                                ).' .......7L''...r.. . . ' .,' . , . . ..: ..   '
                                                                                                                                                                     .
                                                                                                                                                                            l'
                                                                                                                                                                               '
                                                                                                                                                                               '.  '      '
                                                                                                                                                                                           -   r   è
                                                                                                                                                                                             . , ., 'L. . . )
                                                                                                                                                                                                     c
                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' '                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             :    ,    y ,   .r  :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ., .   .                                                                                              ..,.q.)
                                                                                                                                                                                                           . . .:..                                                                                                                                                                                                                                                                                                            . -                    . ;                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ' .                                                                                                                  ' ..
                     .                       .                : )...'.                                      . .       . .            ..  .      .
                                                                                                                                                . ...   .. 2 ...
                                                                                                                                                         .      ' . ' .          . -1tf.
                                                                                                                                                                                       ;L .                                  .                                                                                                                                                                                                                                                                                    . .      . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . .            .      .             .            ...                      .               ,                                 .. . .                    )
                .
 .'z :....g...q ....:...'...o. .
                               .:.' .c ..
                                 .
                                             '
                                                 .
                                                           l 't   't                              2 ' '' ' '
                                                                                                   k 'L .                       . '. ' .
                                                                                                                                                    .'.
                                                                                                                                                    . ' ..                '             .
                                                                                                                                                                                             .
                                                                                                                                                                                                    . '
                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                               '          ..
                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                    . '.
                                                                                                                                                                                                                                                                                                                                       .'
                                                                                                                                                                                                                                                                                                                                                .   '           -
                                                                                                                                                                                                                                                                                                                                                                        .                                   -
                                                                                                                                                                                                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                                                                                                                                                                                                 .                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .       '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ' '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         '              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  J ''j.''''k'.'. .' --' ' '' ;>.j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '                                                                                                . . '.
1
j : .. ;                                  J . a    ; '           g'.
                                                                   .  .= . z
                                                                           '..
                                                                             '  . y.? 7 . '.
                                                                                                  ty .
                                                                                                                                    .
                                                                                                                                            ..
                                                                                                                                                                  ..'
                                                                                                                                                                                                         .,
                                                                                                                                                                                                                                                                           .                                       '
                                                                                                                                                                                                                                                                                                                     .                                          '           -. .
                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                            ' .' '
                                                                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                                                                                    '.                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .. .                    .         ..                                  -. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '                                                          -                       . '.

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               è.j
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                1
    .                                  g.                                       .                                                                                                                             .   .                                                                                          .                     .                        .                     .           .                             ,.                            .                                                                        .               ., ..z                                                      . .
                                                                                                                                                                                            '           '- .        '                                                                                                    - .. * . .                                          '                                                                   '                                                                          ' ''                                                         .                                                  ' ,
-
    '
                                     .                    .
                                                           -            -
                                                                        g .. A.
                                                                        -                   .                   .                       .               .
                                                                                                                                                        .                                              .    .
                                                                                                                                                                                                                -
                                                                                                                                                                                                                    . .. .                                                     .'
                                                                                                                                                                                                                                                                                                               .         . .                                                 - . , '                                                    .'           .        .          .                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .        . . .)' '    J ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .                        )                                                    .                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ''                   '
1
F'
  ..
   . .-'
       ..   - . .
                .
                J ï
                  '. '        ..      . -..
                                          .
               ïz'' -.'.= '. ' T:- ''. ' .f
                                            . ..'
                                                .'
                                                 ...
                                                   '.
                                                    . -- ' . '.'   . ' J.'..  -'' . .'
                                                                             a l'
                                                                                      ..: j '.' '. '  .'J t
                                                                                                            .g                                                                          .           .=                   .                                .       .                           '- .' . . .                              .                            .'                                                                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              --
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          . .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -        :-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            L  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ,j   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . .                              .               ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -                         .

             . '.
                 -
                                     .
                                                 -
                                                     .     ;.'s -                                                   ..
                                                                                                                                            1..'. :''.;.,.
                                                                                                                                                                  .                .                   ..                ..'
                                                                                                                                                                                                                                              ' . .
                                                                                                                                                                                                                                          ' .. . 7 :
                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                              .-. .
                                                                                                                                                                                                                                                                                                                  ':.'..
                                                                                                                                                                                                                                                                                                                                                                           -      .
                                                                                                                                                                                                                                                                                                                                                                      . ' i . -.' '
                                                                                                                                                                                                                                                                                                                                                                                     ..                                     .        ..              -   (
                                                                                                                                                                                                                                                                                                                                                                                                                                                         -.                               . ,.'..  '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    - .. ':;' r.. '.. . - ''yL
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             v.t                                '
'
j.c.. .
                  .                  :.. ' .J
                                            '''. 1..' --.. .
                                             ...;'
                                                 .''. . ' .' .: .                                                     .
                                                                                                                                    .,. .
                                                                                                                                        .
                                                                                                                                        ul.             . ..      ....
                                                                                                                                                                                  ;
                                                                                                                                                                                       '
                                                                                                                                                                                       .               (' '
                                                                                                                                                                                                       ,..
                                                                                                                                                                                               : .. . ( z .
                                                                                                                                                                                                               '
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                    ..                          . .
                                                                                                                                                                                                                                                                               . -. ... .
                                                                                                                                                                                                                                                                           .. . . . .
                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                             r-..'
                                                                                                                                                                                                                                                                                                       .j.... ..
                                                                                                                                                                                                                                                                                                                 .,
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                        . .
                                                                                                                                                                                                                                                                                                                                                        !, .
                                                                                                                                                                                                                                                                                                                                                                    .     .., ...
                                                                                                                                                                                                                                                                                                                                                                         ,.         . .
                                                                                                                                                                                                                                                                                                                                                                                . ...                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                          - ' , . . . '- ,.
                                                                                                                                                                                                                                                                                                                                                                                                                                         ;.
                                                                                                                                                                                                                                                                                                                                                                                                                                                     r.. ..                              .. ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ' '' ' -'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               . ..                 :.'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            -. p .. .                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .. ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      , .      y '. -.; , . ..(..'. .!
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ..j
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 17 of 28


                                                                                                                                                                                                                                       )'                                                                                .



                       eofsuch an,order.'' Ii tkuot
          written notic'                          ing.zgu.s.c.'$1102(a))..Itfollowsthat#,WARN Act
              cln'l
                  'm.hajti'
                          rèç.
                             elemetzts:.çctl)a.-asslàyoffEorplantcysihgp.
                                               ..             .
                                                                        sdet-mtdbythesiatwe
                                                                                         :
                                                                                           !conducpd
                                                                                               '..
                                                                                                 .                     .                       ..                               .                                  .
        ..
                  . .
                                     '
                                      ,.                  .                            .                .
                                                                                                                                                                ''                      '
                                                                                                                                                                                            .              '
                                                                                                                                                                                                                           .r              J.                   '                                   .
                                                                                                                                                                                                                                                                                                    3
                                                                                                                                                                                                                                                                                                     ...- .                  '
              .                                                                                                                                                                                                        '

      '       by(2)an employerwhö'
                                 fliçdeiployees.(3)Fho,pursuazitt
                                                                '
                                                                 oW AXX
                                                                     '''
                                                                       k
                                                                       j
                                                                       -
                                                                         yarecenti
                                                                                 tlednotièe.''1à .at
                                                                                 . .               .                                       .                                        .
                                                   .                                                                                                                                                                                   '.
                                                                                                                                               ..




                                                                                                                                                    :                                                                      .

                                         Thetmderlvinqfactà?èrCountlyarethatDefendantKorogojsky,theChieyAtjmksssatse
                                                                  .
                                                                          -
                                                                                   .
                                                                                       %-               '                               .
                                                                                                                                                                         .

                                                                                                                                                                                                                                                    -               ..        .
                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                             .               . -
                                                                                                                                                                                                                                   .



              OYcerofDçfendantRètreatBçhavioralèHealth(IkBHIinformeb'thçPlaintiffsonàuim 23,2024,.                                                                                                                                                                                                                                       .


                                                                  .                                                                                                                                                                                                                                                      .
              .                                                                                                                                                          .                                                                     .                                      .                                              .


    .
  ...
        't,   thatthekz
                     . lr
                        ,
                         ratDefèndaù
                                   yt
                                    sw ere experiencing fiziaqc.ialdif
                                              ..                     ..sc
                                                                       . ul
                                                                          iiés.
                                                                              '(DE 4 at8y)
                                                                                         ... Onè.
                                                                                                lune.!24,:
                                                                                                   . .
                                                                                                                  .                                                  .                          ,
                                                                                                                                                                                                       '

                                                                                                                                                                                    -.



              2024,oëfendantKorogpdsky senta'follow-pp ema'
              '                           .
                                                          ilti a11.sln.
                                                                  .
                                                                      l
                                                                      nf-tùdicàting..
                                                                                    thattàe.i-
                                                                                             aèilities',                                                                 - ,.               .                          '               .                            .                                ..                                      .
                                                                                                                                                                                                                                                            -                                           ',
                                                                  .

              ygtientswerèbeingdischrgedmld.thattildRekeatentltieswolzld.beblosinè.(fJ).-'Thtià,Plnintiffs
                  @                                                           '
                        .
                                ..
                                                   ..''
                                                                              .
                                                                                  ..
                                                                                                       :-
                                                                                                          . (-'                        ''.
                                                                                                                                       .
                                                                                                                                                              ..,        .'             .
                                                                                                                                                                                            t.'                                    . .J. ...'
                                                                                                                                                                                                                                            l.
                                                                                                                                                                                                                                            .                                      .                          ,
                                                                                                                                                                                                                                                                                                                  .


          .   allege'theirdàteqftétmhption*asJtuie21,2024,withouthaviqjbeengikénthelrèquired'6odays
              àdvanceziöticé.(J2).
                    Déi-rndàntsdö riptchallengetthatamasj1a#Pff
                                                              '
                                                              .occurrèd'pr.tlwtPlaintiffswç
                                                                                          .reêentitlèdtp'                                                                                                                                      .

                                                                                                                                                                                    '
                                               .

              notice.Iil:tç>d,Defendantjchallengeprohgtwd,wàetherPlnintiffshak:properlvJtlezedthatthe
                                                                      .                -           ..         '              ''''' '''''            '''''''          -                             -                                       '                             'W        ''*'       W.                  %*'#                                '
                                                                                                              '.                                                                                               .                            '
                                      .                                                                                                                                                                                                                                                                                              .
          .
              corpoiatèbefendantjpèretheirsinglè,jointymployer..Intheiràrtefing,thePartiçjhakedirected,
                                 . '
                                      l (.. .z.t                                   ?           .
                                                                                               g ..                        .'. <                                              ..r ..                                   .J'                          .' . .. .
                                                                                                                                                                                                                                                   ..                                                                        .                   .c
              my attentionyètltéDepprtmeutofLabor'sregulationsGrWàatconstituibsarïemplpyrrlmderthç
              Act,.20 U.F.R.j639t3(a)'
                                     .(TheEleventh CircuithakusçdtheDOL regulationsewh'
                                                                                      ith providea                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                             ,
                                                                                               .
                                                                                               '                      '.                                                                     ''.
                                                                                           .


      2
          .npnrexhauk
                   J'' '
                         'e.'list'ofVke factors'tov'detehnine:tifm&
                       tiv  .                  .
                                                                    ttinde.pe.nde'rk cbnkactbrànd'subsidiarlès.
                                                                  u '              .                   'u             ''       '
                                                                                                                                       .
                                                                                                                                                                                                                               .                                                  ..      '
                            .                 . ''                .       :                             . .m'                          :J;..                                                                                                                                                         .?
                                                                                                                                                                                                                                                                                                      ..
                            .                  . :'                                                                                                                                                                                                                                                    -


  ' wllich.érewholly orpattially pwnedby:afarentcompanyarekeatsdmsseparateeGplb#ersorqs
 ,.




              apm ofihef
                    j-
                       'arentord..o'ntiàct-i'ngcokn-p
                                                   . eydependùk.k''pp.nt
                                                    . '. -
                                                                        hede'ysef
                                                                       .'
                                                                                 oftheirinde'tp'ezinceftoin
                                                                                ''
                                           - ''' . :
                                                   '                                       '..' .                                  '       .
                                                                                                                                                                                        '.                                                          .                                           .         .

          Cthe paient'i u ;jeezj
                               /yj!:v.blt.
                                         t kxpress('
                                                   cs-zpk.
                                                         ,Ac.,,7.87tF.3d''t'096,1998(11th'
                                                              .                          cir:10,15))
                                                       :..                                                        l..
                                                                                                                  .                                                                                                                                                                           '

          .
              tutilizing,DOL regtllatiöns'joàdetermine;ifadèfenda
                                                                'ntcofnpany #aj'ajointempto#efuo erthe                                                                                                                                                                   ,
                                                                                                                                                                                                                                                                                                          I'
                                                                                                                                                                                                                                                                                                                                                      .

                                 .,
                                                   . '''                                           -. :                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                              g
          yW ARN
          .     '
                '  Ac'*.t-);ô'ee''also .P
                                        .ta   rson v.,Cömhone
                                          .. ''           . -*
                                                               nt. Te.c 1h.
                                                                          ' 'Co
                                                                             * r -p.
                                                                                  * ,247
                                                                                      ' .'F.1 .                                                                                                                                                                                    ,                                         .                        .
                .
                                                .       -'     ''     '''                                                                                                                                                                                                                     '
                  . . '.                       .J              '-''         ('''          '-                                                                                                                                                                                                  '               l
                                    .7 :
                                       . ..
                                          :. .      . l-                                                                                                                                                                                                                                    '
              ,   ,      .                                                                                                                                                                                                                                                                . .                                    .                -
          '
              (qnmelf.thus;thejointéinployèrtçsiis.GtesséntiallyaW A)
                                                                    '
                                                                    RX Actutpecifk versipittlftheçömmonr                                                                            .
'




                                                            Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 18 of 28
                                                                                                                                                                  .
                                                                                .                                                                    ((                   .                        .                                                              .:                                            g                                   .                                             .                                .                             .                                                                        .                                                             .                                                        .
,                                                                                                         .                                                                                                                                                                                                                                                                                                                                         .




                                                                                            law veil-piercingdotlninek
                                                                                                                     y
                                                                                                                     ''Bènsgn v.
                                                                                                                               'Ente/prise.Leasing Compqny'oforlanào,LLC,No.6:20-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '                           '                               '
'                       .                                                                                                                                                                                                                                                 .                                                                              ..             .                                                                                                                                                                                                           '                                                           .

                                                                                                cv-89t,1024 WL 107841(/,at*2(M zDk/la.Febkr4,2021)kTiefi'Q factorsinclude:(i)common                                                                                                                                                                                                                                                                                                                                                                                                                                                                      t
             '                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                        .                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                     '                                                                                                                                                             '                                                                                                                                                  '
            ..                                                                                                                                                                         .                                                                                                                                                                                                                                                    J'                    .                                                              .                                  n                                                                               .'       '

'
                         .
                                    '
                                                    ,               '   ' 'ownershlpj(ii)'common directorsgnd/or.
                                                                                                                00.cers,.tiii)defactoexercise ofconkol,(1v)lmlty.of                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                        '

                                                                        .T Persolm elpoliùiesemakating âom acommon spurce,aùd (k)the dependency ofipèrations.20'                                                                                                                                                                                                                                                                                                                   .                                                                                                                                                                     .)
                                 '                  .                                   .            ' . .                                       '                        '                                                                                                                                                 .                                                    .                                             '                    . .'                                                                      '' .'                           .                         .                                         '                      .
                         .                                                                                                                                                         .                                                                                                                                                                                                                                                                                                                         ..

                 .
                                                                                                c.#.k.j63.
                                                                                                         9:3(a)(2)'
                                                                                                                  k                                                                                                                .
                                                                                                                                                                                                                                       -                                           .                    .
                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     : :.
1                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ' '                                                                                                 .'
                                                                . '                                  ..                                 .            .                                     '                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ''
                                                                                                                                                                                                                                                                                                                                        .                                                                                                                         -                                                      .                                              i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                     .                                                                                             .                                                                                                                                                                                                                                                                  .'                                                        .
                                                                                                                                                X                                                              .               .                                                                            .                                                                                                                                                                                        '.                           '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ,         .                                                                           '

                                                                                                                                   PlAiiltiffsarguethattheircurréritallçgatiopsagninjtthe RekeatDefendaptsare suo cient                                                                                                                                                                                                                                                                                                                                                                                                                                  .

ù
l.                                   ' ' l '.
                                                                        .) to bedee
                                                                                  7
                                                                                    med asùwleemployer'tindeithesèfa'
                                                                                                              ''
                                                                                                                    ctorsz kegardihgthe:f
                                                                                                                                        1
                                                                                                                                         ustthiçe,faètèrj,'Plaià'tjf
                                                                                                                                                                   '
                                                                                                                                                                    fsr '. '               '                   .                                                              .                     '                   .                   ' ' ' .                             .'L'                               .                                    . .-
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                .               '. '            .                   .
                                                                                                                                                                 .                             h                                                                                                                                                                        '                             .                            '.                        '                                                                                                                      '                                        '
j                                       .                                                                                                                                                                  .                           . '                                                 .                                                                                                                                       .;.. . .                                                                  .. . .                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .                    .    ..                 . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .

1                                                                                           .
                                                                                            pninttotwoyparagrAphswithintheirAmendedComplàiiitthatallegetlz CoalEntitieswereownèd
                                                                                                     .                         .                                                                                                                =                                               .                                                                                        '                                                                        ' ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             (
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             2
                                                                            .                                                                                                                                                                                                                                                                                                                                                  .                        .                      .                                                                                                                    .



                                            .                               .
                                                                                .
                                                                                        .       by Dèfendadts;Schorrand Silversteih (DE 4 at!25).àndtlwt esjç.two n
                                                                                                    .     .                    .             . .                                                                               .. .                       ,                                                         .                                                            .                   .             .               . $.                                                                                                   ..
             -                , '                               .           . .''.                                                 -'                    .l...'                        -               '.              .                . .                           '
                                                                                                                                                                                                                                                                          ,                             .
                                                                                                                                                                                                                                                                                                                                        .                   .               n            .                 '
                                                                                                                                                                                                                                                                                                                                                                                                               s
                                                                                                                                                                                                                                                                                                                                                                                                                       '           : ' .../                                        .                                              :                   .                                     . .. .                  '                      ''                    '
                                                                        '
         .
         '                          .
                                         '
                                                .
                                                            '
                                                                 '

                                                                            q. .
                                                                            .
                                                                                                icto eontotofalltheRetw atbe/endan.tsand
                                                                                                                   . : .. ..   .      .
                                                                                                                                        '
                                                                                                                                        .serve.b.as.theeh
                                                                                                                                             ' . .    .
                                                                                                                                                         iities,cbmmo
                                                                                                                                                        .. . .-
                                                                                                                                                                     n dirèci.ors/oflue
                                                                                                                                                                   . .        .
                                                                                                                                                                              . f
                                                                                                                                                                                        fs . .
                                                                                                                                                                                     . '..
                                                                                                                                        .                                                  '' ' '              .                                                                                                                                                                                                                                                                                                                                                                                                         .
                             .                                                                      ' .                                                                                                                                                                                                         è                                                                                '                                                              -
        .                                                               . .                                       ..                             7- '                                                                                                                                           .                                                                                                                                                            .                                                                                                                                      .
         .                                          . .                 .
                                                                            è (JJ at!.
                                                                                     34)..Fbrthe.fotlrth.and1f11'
                                                                                                                1i-
                                                                                                                  actprs,Plaizitiffscontendthàtitijùotdispbsidvewhesier . .,
                                                                                                                                                     r                                                                         - '                                            '. '              '
                                                                                                                                                                                                                                                                                                                .                                                           .                -
                                                                                                                                                                                                                                                                                                                                                                                              .                .                                                      -                                      .               '        '                                                             '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             n
    , .                                     .                                       '                                                                        '                                                                                                                                                                                                                   .z                                                                                                                                                                                                         '                -
                                                                                                                                                                                                                                                              =                                                                                             .                                                                                                .                                 .                                                                                                                                                     .
                             .                      .           .                           .                                                                                                              .                                                              .                     2
                                                                                                                                                                                                                                                                                                .                    t
                                                                                                                                                                                                                                                                                                                     .                                          .                                ..                                 .                   )                                                                    .,                                     .                   .                                         .                      u
    '                    '
                                                            .
                                                                '
                                                                            .               .   the'separatçCop prateDèfendantq'inaintaliled'.
                                                                                                                                             identiealpçrsùnnelpolièiejeand thata11thevariöus: '               ,                                                                                                                                                                                                                                                      ,                                                                                                                                                                        (
                                                            .                   .                                              .                         .                    .                                    .                   G                                                            .                                                                                                                                                    : ' '                                                                                                                                                                    '


;.
             '              .                           .
                                                                    '
                                                                            .       JDefendantCoporatiohsexisied,solely?q.orthepttrpöse..o
                                                                                                     -                                   ..ffrovidingservicestoVchipther..(DE.66f
                                                                                                                                                                                . .'                                                           -.                                               .
                                                                                                                                                                                                                                                                                                                                                                                                               .                                         .                                                                        .                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                     '                                                                 :.                                                                                                                                                                                        .
        .
             '          .            )       ., .( ..                                                                                                                                                                                  . . '                          .                             .                                                                                                          .                        -

 y                  .   '.. . . . ''.at.5.
                                       . -8). .'(.
                                                 , ..,,. .. -                                                                                                                                                                           . ,.. .:.. ... .
                                                                                                                                                                                                                                                       ..                                                                                           ..                      ..                             -
                                                                                                                                                                                                                                                                                                                                                                                                                           .       -. . ' ,z. . ..' '..                                                                      ''.- .                                         . '. .- .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ..                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .' . .. '
                                                                                                                                                                                                                                                                                                                                                                                         .                                                                                                                                                .                                                                                                                  .

 .-                                                     ) . ;r. . .                                                                          '           .                                                         .           .                              è .                               ...                  ..                 .'                  ..
                                                                                                                                                                                                                                                                                                                                                                            '                                                            . ..                     .                .                                     r                                     .        ,.                              y            .                   . ,. - '
                                                                                        '           .                   . -                                                 t         .                '
                                                                                                                                                                                                       .           .                   -                                                                                        '                               .                a           .                             .'
                                                                                                                                                                                                                                                                                                                                                                                                                            .'          ..
j'        '
         .'
                                                                '
                                                                            t'                   .            .
                                                                                                                                   Thè'Copokatq DefèùLantsèaigtzethatPlàiiltlffjh:ve m>de conclujo!y âllegationsihat ',
                                                                                                                                                                                  .                                                                       .       .                    .                                    .           ,..                                      .                    ..                                             ..                                    ,                                                                            .                               .                ,                          ..


j                                                           .. - '.
     '
                                                                    ,                   .       Defeildantb:.silké
                                                                                                                 .
                                                                                                                  rsteinandS.chol Wer,e'coxowh
                                                                                                                                             .
                                                                                                                                              ers,wituh.outa
                                                                                                                                                           '.
                                                                                                                                                            lleging1'ihatthéy.were'therejpc/siblç'-                                                                                                                                                                                                                                                                                                                                                                                                                         .
    '                '                                                      '                                                  .                         .                                                                                                                                                          '                                                                                                                                                                               .                '
                                 .                                                                                                                                                                                                                                                                                                                                                                                                               .
j't                                  '
                                                                                        ..decij.
                                                                                               ion. .m.'aker.'.forthe Com!
                                                                                                             s.          )orate'
                                                                                                                               En..
                                                                                                                                  titiès,anot.t.ha
                                                                                                                                        '          .they them s.
                                                                                                                                                  t.           çl k..s   .             '
b   .
                     ,
                             .

                                 '
                                                        .
                                                                '
                                                            5 ' .
                                                                     i..
                                                                                    '                                      '-
                                                                                                                                       ;
                                                                                                                                             '
                                                                                                                                                ...
                                                                                                                                                             .   . .e,.'
                                                                                                                                                                       ref.used. to'
                                                                                                                                                                          .        jrpvideproper'
                                                                                                                                                                                                , :                    t
                                                                                                                                                                                                                           . ...
                                                                                                                                                                                                                                       '        '
                                                                                                                                                                                                                                                     .''' .
                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                               .            .
                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                        ..
                                                                                                                                                                                                                                                                                                                                .' .                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                          '                             '                             ' '                                            ' . ..               '       '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .            .       .               '                   '             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .' '

                                                ,
                                                            '
                                                                 .                      .
                                                                                         )
                                                                                         .                                              .
                                                                                                                                                     '
                                                                                                                                                                 ..
                                                                                                                                                                  .           .
                                                                                                                                                                                       .
                                                                                                                                                                                                                                                .         s                                    .                                .           , '
                                                                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                    ..                   . '
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                           .                                   '                    'u
                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..:                  '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '.'                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                             .                        .                                                                                                   .
            '
                                                        .
                                                                .

                                                                        .
                                                                                : hoticeto,ihè.Plaitltiffs.:''Defendantsédd thaiPlàintiffsi-
                                                                                                                                           ailtopléàd'.
                                                                                                                                                 .
                                                                                                                                                      thatany llnity ofpersonnèl.                                                                     '                                                             .                                   .                                                          .                                                                   '                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
    .'                                                                                                                     .                                                                                                                                                                                                                                                                                                                                                                                                 .                                                              ''
                                .                                                                                              .        'L -                              .                                                    .                                                                                    .                               . '                     ..                                                                      .-                                                                                                                                  .
                                                        '

                                                                                                Mo'
                                                                                                  ltcies'è
                                                                                                         'ktjtèdnmo ngai'
                                                                                                                        fy.
                                                                                                                          ofth'eoçypdants,c,bmorate'orIndiktdualalilce,gand. thatplnintiffs ,                                                                                                                                                                                                                                                                                                                                                                                                                                         .
            .
     '                                      ' ''' .l                                    '.                                                                                                    .                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                             .                .                                                                               , .                                                                                           .
                                                                    .                   .                         . ..   '.     .    .           ..                          .- .                                  .                                 .                             ,                    .                                           .                                 ..                       .                                             ..                        .                 .                                                                                              .                            '

                                                        .           ..                                  . ' ',.                                       '              ,         '                   .                                        '                                                           .                       .                                                                     ,        '                            . .r .                         '               l .               ''          â           '            .

    .':                 .
                                                            '        '
                                                                     .              '
                                                                                            .   tlave ùotàlleked'H y.fap'tsto.rsu/porja'fmdihg.
                                                                                                                                              'thattùe'yadbuserftitiesekisted'solel# forthey                           .                                                                                                                                                                 .                                                                             .                                                     .                        .                                                                                         ,


                                            .
                                                            ' .                                                                         x                                                                                                                         '                                                                                                                                                                         .                    x . :. '              -                                                          1 ''
'                   .'
                                         è'.                                                    ptlmosèofprovidihgserviiejto eachothèn,,(DE 68at6.
                                                                                                                                                 -7)2                                                                                                                                                                                                                                                                                                   ..                                                                    ''                                             . ,ï '. . '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,
                                                            ' '
         .
         .                                              2
                                                                 . .,   .

                                                                                                ..                 ..
                                                                                                                       r IàgreèwitiDefénhahtg'thatthé.Am'ended'corhplain
                                                                                                                       '
                                                                                                                                        ..               -             1
                                                                                                                                                                        tfai
                                                                                                                                                                          .
                                                                                                                                                                            ls'toallege.theçxistçnçe
                                                                                                                                                                           '. -
                                                                                                                                                                                                   'ofasinglé
                                                                                                                                                                                                            '6'            '
                                                                                                                                                                                                                           .           '.                 .                                                                                 ' ... ''                        .                    .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ''
                                                                    .;
                                                                    ( ;                     .. .                                                     2                                                             . .. .                            ..                                                                                                                                              .                     ...
            !                                                                                                                               ,                                                                                                                                                                                                                                                                                  .                    g,                                                                                                                                                  .,
         '
                    .
                     '
                        .
                            ;. ..
                                ' ,
                                  , ,emo
                                      r dkl
                                        .
                                          ov'
                                            ;e
                                            . rundèrtàew AkN Act. ytrst.msIoutlined.àbove.oelitndantIty'Gc y'
                                                  ..                                                        lortth ismissina'                                                     .                                                .            ..                                     .            -'                                               .              .                                          #'                                .           .'        ..                                                                                      ..                       . *.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .e                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                         -                                                                                                                                 '                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               'g )
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .'.
             '           ''                                                                               .'               .                                                                                                                                                                                                                                                                                                                                 us               .                                              .                    .                             .               .                            '.
                                                .                       .                                                                                 '.          .          - .                                               '' :                               .                    '.                   ',              .                                       : .' '                   .                 .
     t                                          <...                                                              '                                   .'
                                                                                                                                                       ..                     . .                                                  .                                                                    .                                                                            .                         '                        .            J' . .)                                                                                                                                                                                        ..

                                     . ,.                               '           .               .'                                                   .. .                     .                        '
                                                                                                                                                                                                                               .                     - .                                                                                    !                    .          - .                                    '                        '        ' .yl             .               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    '        .                        - '.                    '.                        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '             .    J .
                         .                                                                                                                  '. .              ;                                                                                                                                 E ..                                                                '                    . ..                          .' .                 .,.                                                                              '                                                              S.
                                                                                                                                                                                                                                                                                                                                                                                                                                                         t :.                                                                                                                                                                                                    j
                                                        .                                                                      ..                                                             ,                                            -                          .                                                                             .
. .. '                                                              )
                                                                            ï
                                                                            .                                                                    .                    :.                      .            .
                                                                                                                                                                                                                                   '.                 ..                                   .                                        .
         '' y                                           ' . )                                            '. '                               . s. .                                                                             .. .. . / '
                                                                                                                                                                                                                                         .. .' .                                                                         . . '.                                                              . ' ..                                             .' < ..                                                                                   . a. . . ' .t. 2,'. -'L -                                                                  .           :u x
              ,                                             - .
                                                                                                                               é.'j.'.'.( :. .' . . .n; . X '.                                                                                                                     ..'... (                                                      jjj:. cy..J .S''.'; -'.'J''-..(,' .r .' ' ,
            .                                                .                                              .
                                                                                                                                                                                                                                                                                          .s                                                    ('
                                                                                                                                                                                                                                                                                                                                                 t      ,                                                                                                                                                                                             ..                                            .            (J ''.                        ,    o
                                                                                                                                                                                                                                                                                                                                                     .
    .                                               ; , ... 2                                                                      ,             .                                                     .                               u                      .                   (y - .. , .                                                                   ..                                                                 .                                          .                ..                                         .       . .                               .                   .    . ..                         . . ..
                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 j
                        . .2 .. '' ..u'. )
                                         . '.t ''..   . '-..y'.,..'                                                                                                                                - jy.. ...
                                                                                                                                                                                                            j .r (, . ..' .
                                                                                                                                                                                                                          . . v... . n ('j..'
                                                                                                                                                                                                                                            L.                                                                                                                                                                                     ' y
                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                                                                                                      '... .                                                                         '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .),.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        y.)j..'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              . . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .j. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .....                                                                                              . . .(:
    .                                                           .
                                        .                               .c:..'
                                                  . . .; . ()
                                                                                                                                                                  ' '                     ' ..                                                                                                              '                                                                                '                                          '
.               .       )                                                                                                                                                       y
                                                                                                                                                                                          .        ,
                                                                                                                                                                                                                                   . .                        .                   .. . .
                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                                                             -
                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                            ,              .
                                                                                                                                                                                                                                                                                                                                                                                                                               ;            ..                     .          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .                                  .       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .  .
                                        .
                                                    '
                                                                    .                           .        ;.... .                             .               .            . ''c                        .   -                               .
                                                                                                                                                                                                                                           '         .            '                 ' . .                       ..                  .           .                                    y.
                                                                                                                                                                                                                                                                                                                                                                                     '                    <                                                 .    '.                                . '       '           ' -M.U.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               (.                     ''                .                           2                                     . .                -.  l
                                                                                                                                                                            . l'
                                                                                                                                                                               .)'J-- u ;'' '. . . ':. l '' '.-.l- .. .. . . ., ...
     '                  ' ..                        '' '' '                                              'j .                                                '.                                                            '                                                                        '                                                                                            '
                                                          .,
                                                           g=...                                 .                                      .. .-3... . ..
                                                                                                                                                        ;f '.. ' ' - ' .)''.' .. !'. .'' ' ' ' ..' ' ' u ' . ' ' '..- .... . . J.--L--% - ' .' - 't
                                                                                                                                                                                                                                                  y
                                                                                                                                                                                                                                                  a
                                                                                                                                                                                                                                                  ..-. g,'. .
                                                                                                                                                                                                                                                            ..': '.
                                                                                                                                                                                                                                                                  ' '.
                                                                                                                                                                                                                                                                     .' '':
                                                                                                                                                                                                                                                                          . J,'... 'J,,
                                                                                                                                                                                                                                                                                      :
                                                                                                                                                                                                                                                                                      -.
                                                                                                                                                                                                                                                                                       -L .'-..' ,'.. j' '.xy
                                                                                                 .
                                        '           > '-'
.        .
                     - '                                       .. =             @L. , - è': .                                                        ....                                                                                                                                                   .
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 19 of 28



                  âom the.defmiiionof$heRqtreatDëfehdants,soanyvlegatlönsPlaintiffshavemadetoconstitute
     . asingleie1.
                 rf>lèyertmdertheWAlk'
                  c       .
                                     N Actwouldnotincludkthisbeikr/bnt;
                                                  '           . ... '
                                                              '
                                                               1                               '.                -                               .        '''       .                                                                                                        '.'                                                  .            '

                                                          a

                                              T'lr(.nl'
                                                      n.g to the merits,Plaintiffs.'attemptto sh.ow tia.ttie Comorate'befenduts,a11
                                                          .                -'       ''''                             .                   e                          .                          . a                                  '*                                           .                                                                 'W                      ''                         <




                  constituied'ajihgleemplokerbecpusekofDefendantSkhorrandcSilvérstein'scommotlownership
                                                                                                                                     -        .                                                                    ...                                                                                                        '
                                                                                                                                                                                                                                                                                                                               .. T                                             -'- y                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                               .

              '
              .   oveitùe.çntitiçs.ifind'thatPlaintiffs'sufdcientlyallègçdthqtthés:twoéefendantshqdcommon '                      .

                                                                                                                                                                                                                                                                                 '
                                                          .                                .                                                              .                                      .                                                                               .

                  ON 1Fjllip overtheCoïporateDefendants. Defendaht'SilverCtein oN ed theUoJ1Entitiesand
                                                                                                                                              ..                                                                                                                                                                              '                                                                   '
                                                                                                             . .'                    .                                                                                                                              .
                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                  .
          '
              TI-IFGC (OE: 4 at!!aà, 5t),iandDefendaù .schorrW:kr
                                                                thej
                                                                   ,
                                                                    olepembi
                                                                      .    .
                                                                             rofDR/S I.
                                                                                      JtLat!48),whp
                                                                                          , ,   ,
                                                                                                    ,                                                               k
                                          .                                                                                      .                                            .-           -                   y .,                                                              .               .                - .(..                                                .                                      . .,
                                                      .
                                                                  .                                              .                   j'                                 .                                     .                                                         ..                                         . ...                                               ..
                  PlintiffsallegpownedNr AoNpltA,andc c alongsi etheCo
                              '                       .                             '                        .           .                        .             ,                      .                                                                   .                                         '                                                                      .
                                                                  . .                                                                                                              .                                                                                                                         =       :                                                                   w
              .                                                       ..                                                             .                                                     .                                                                                                                                                                           . .           ï
y'
          .       thetwo lndi
                           .
                             vidualDe
                                    .
                                      fehdO
                                          .
                                            tsare.al.leR
                                                       --
                                                         edto have owned a1ltheCom orate Entitiesing
                                                                                                   tlliscàse.                                                                                        .                                                                                                                   - .                            .                            .

 r.
                                                      '                                                                           '.              -                 . '
                                                                                                                                                                          1 . ' 1.                                                                    .'.                                '                                            '                                             '
                                                                                                           ( .                                                          .
                                                  à'qttPlaihtiffs' àllègationj are sjarjer w111: pgarés .
                                                                                                        tö the exisi(çpce of-.c
                                                                                                                             .
                                                                                                                              .ommpri
                                                                                                                                    ..                                  .                                .                           . .

                                                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                                                 .

                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                               .

                                                                                                                                                                                                                                                                                                                                                                  '.
                                                                                .,                                                                        ''                                                                                                                 .                                                ..                                                                                                       .
                                                                                                                                                                                                                                                                             '                           -            .                            .
                                                          .                     - x                                                                                                        .                                                                                         .   .                                                                             '
                                                                  .                                                                                                                                                                                   .

 :
              '
                  directors/ilflicersandu
                                        def>ctocolitpl.ofthecompaniep.Intheirb/efmg,Plaintiffscombinetheie                               .                                                                               .                                                                                                                                        .              .                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                     ' '
                                                                           .                                                     '                                                                                                                                                                                            '
                                              . .                               .                                                                                                                                                                                                                                                                                                            ..

                  twofactorssàm uing thqfownersliip anddèfactocontm lareshöFat
                                                                             hiopgi iheir>llèjatibnsthat                                                                ,
                  l                                                                                 '                                        ' ..                                  .                          -                                   . '                                                    '                                                  '              '

                  Mt.SclkorfàndMr)SilVerstein conkollçdtheCorporéfeDèfendant#.
                                                  'lYiè
                                                      .Amend
                                                           ;
                                                             ed Coipl
                                                              .-- ' '
                                                                      aini7 hoFe
                                                                              ... ver
                                                                                    ,dtje:notqs
                                                                                              .upport
                                                                                                    .th-is.t
                                                                                                           .
                                                                                                            conc
                                                                                                               ..
                                                                                                                 lusionthattheCorporate
                                                                                                                             -
                                                                                                                                             -                .. .
                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                           ...
                                                                                                                                                                                                                                                                                                                                                                                .            .
                                                                                                                                                                                                                                                                                                                                                                                                           .
                                      .           .               .                                                                  Q
                                                                                                                                         .                                1                                                                                                                                  '.                           -

                  Defendanlswerç'allnln tojetherthiol
                                                    igùqtlkircommoil,èwners dçftctb contiolandthroughthe''                       .           .        .                                          . ..
                                                                                                                                                                                                                                             '                                                               .                    . ''                                                                         '



                      commondiiectors/oo cersbecausetllèaltegationsdo.notsufficientlydescdbehöF tàeIndividllsl
     '
      .
                        fefldlt. ran .tlw corpbrate entitiesz,qThe.Amepded,Complàintalidgei.thatt'
                      Dep                                     .        .
                                                                                                 Wo.Individual
                                                                                                    '                            ''' ', . '                         '                                    .,       ..'                                                   .                        .           < .           .          .
                                                                                                                                                                                                                                                                                                                                                        .                   ..                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                           .'                                                                                       '
                                                               ,. .                                                                                                 .                                                                                                                                            ' .'.
                                                                                                                                                                                                                                                                                                                     '            .                                                                                                .
              .
                  -                                             .                                                                                               g.                     .                                                                                                 .                   )                        .                                     y                                                  t, ..
                      Defçndm/j,dhriéty.GariaùoandXlçxandèrHoinskysèrvé:àstlièCliièfRegtllàtoryOf/cer(16Lat
                                                                                                        '                              '                                                                                                                                                                                                                                 '
                              .               .                                                                                      ..-                                                                                                          .                                          '
                                                                                                                                                                                                                                                                                             .                                                                            ...)
                                                                                                                                                                                                                                                                                                                                                                       .. r                                .

                      ! 2à ?& dadano),and tie ChiefFinqncialOf/cpr (Id at! 29ïfprHoinyk'y) Qfthe Rktreat                             -                    '
                                                              .
                                                              '                                                                  G'                                                             . ..
                                                                                                                                                                                                         .                                                J .'.                                                  '- 7                 ..'                                                                              .
                                                          .. .                                                                                                                                   .                                                                                                                  -

                      oetyndauijk'
                                 ;Ple tiffsdö'notj'rovièè''anymoredeiàil.oftheizyoltsrör.thèiràctivitiçsas
                                                                                                         'idefiom è                      .                                                                    ,                                                                              .
                                                                      )'
                  '                                       ..
                                                                                                                                                                                                                                                                                                                                                        ...
                      theirtitles.De
                                  .:
                                     fen
                                       .
                                         dantKb  rogodsky
                                              '. ' .'''''
                                                  .       -
                                                            is,allbgedtohave,beenthèCliiéfAdmlnljkattye Oflk erog
                                                                  .. .                                                           .
                                                                                                                                                                                   .

                                                                                                                                                                                           .. . .
                                                                                                                                                                                                 '            ''*''                              ''
                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                           '
                                                                                                                                                                                                                                                           ..                                    .
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                          '           '                                 .        .
                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                           .       . ,
                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                      .
                                                                                                                 .:                  lr
                                                                                                                                                     ,
                                                                                                                                                                                                '                                                          .                                                              yu                                                                                                           .
                      RBH.
                         .pothftheçhtirerllétlç>tcorpoiatestitzcttire,althotkh'heisqllèged.
                                  '                                '. '
                                                                                          to'have'senttheeinail'tb
                                                                                                '       '        .'                  ''          '        '         '                      . '' '                        ' ..            '                              ..                                                                                  .''            ''                     . .           .                          .
                      .
                                              .
                                               .
                                                                       ). l
                                                                    .. '..                                                                   .' .. .....                                    .        .
                                                                                                                                                                                                         .
                                                                                                                                                                                                                   .     :
                                                                                                                                                                                                                                .                                   . '.. .
                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                                                                                       .           . .,
                                                                                                                                                                                                                                                                                                                                                                                                                                       /
                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                        .2                                                                   . .                                                                                                                                     .                                                                                                                                                     ..
                      thePlaintifts  .infbrming
                                  -k..
                                                  thçm ôfth8 CbrpoiàteDefèildants'.closing.'(Idiat15',
                                              . ..(                   .,
                                                                                                     '
                                                                                                     27,'65$ .vo/                                                                                                 '                                             .                                                                                                       .                                          .
                                                                                                                                                 .                                                                                                                                                               -;. ..'                                               ..                                 . ..                 '
                                                               )'j. ....                                                     x'z.' -                                                                                                                                                                             -                        ... .                                                            .
                                                          'J'
                                                            .               .                                                                                                                                                                                                                                                              '
                                                                              '
                                                                                                                                                                                                                                                                                . 7                                                   .                      .                 f' %                     '                       '' ;                                                  -                                            ' '
                                                                                                                .                                                                                                                                                                .
                                                                                                                                                                                                     .                                                                                                                                               '                                                                                                         ..                                                                                       .                                .
                                                                                                            .
                                                                                                                                                                                             ''                   .
                                                                                                                                                                                                                                                                                                                                 .           'r                                                                                                                             .         -                                                                                                                      .


                                                         Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 20 of 28
                                                                                                                                                                                             .                                                                                                                                                                    '                                                                            '                                  '                              '
                                 ...                                          .                                                           .                                                          .                    -                    .                 . .                                                                                          .                                        .   ;'                                                                             '                                                                                                                                                                    .
                                                                      .                                                                                                                                                                                                                                                                                                        .                                                                                                                                                                                                                 .




                         .
                                                                           '
                                                                                              impor
                                                                                                 i
                                                                                                   tM tly,PlaintiffsdoJtotallqgethâtjthese,t
                                                                                                                                .
                                                                                                                                            breeDkf
                                                                                                                                           ..   .
                                                                                                                                                  etldbhtsvr
                                                                                                                                                           .çjor
                                                                                                                                                               .t
                                                                                                                                                                e
                                                                                                                                                                . dt
                                                                                                                                                                   oSchorrandSilvérste.in; ..' .' .                       .                                . .
                                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .

                                                                          .                .                                                      .

                                                                                           who ptlm orted1# 'had u:dé f>cto'. controlNNover al1,'
                                                                                                                                                tfle Rètréat,gefenda.
                                                                                                                                                                    's,.
                                                                                                                                                                    nt.pv suanttq theii                                                                         .
                                                                                                                                                                                                                                                                 . .                                                                                                                                                                                                                                                                                                                                                       .                           ...
                                                                                                                                              .                                                                                                                                                                                                                   .                                                             .                                                     c                                                                                                              .
                                                                                                                                                                                                                                                                                                                                  .                                                                                                                                                                                                                                                                                   .


                                                                                  ' alleged owherslnipt                                                                                                               ..                                                                                                     ...                                  .. .                         2. ,                    .                                                .




                                     .                                                                                          Iagreewiti DefendantsthattheAmended Complnlntcuiretltly istmclearwhatexéctrole.                                                                                                                                                                                                                                                                                                                                                                                                                                            .
                             L. . ,' '                                                                 ...                                                                                                                ..                                                                                                          --                                      '                        '. 'l                            L                                   .       .                                                                                                         . '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                .                                         .                .                                      ,                                   .                                                                                                                                             .                                          .                                .                                         ..                                                                                                  F
                                                              .                               Schöziandlsilverstèinpl4yedilirllnningthesecomjaniesajidyâorzitheirpwnershipn'
                                                                                                                                                                           orwhatrol:                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ''
      .                  .                                .(                                                                                          ..                                         .                ..                          .                                                                                                                       r                                .                                   .                                                                                       .                        .                             .
                                     :
                                                      .           :.                       théy orthèi corporateofficershad'in theèorlorate'web, Thus,ifis.x
                                                                                                                                                           unclèarhok theCop orate . .'r , '                                                               a
                             .                                                                                                                                                                       .
 .                                                                    .                                                     -                                                                    .                    ,
                                                                                                                                                                                                                      (
                                                                                                                                                                                                                      '
                                                                                                                                                                                                                      '               .               ..   x                                                                      '  .                                                                                     .                           '.                                          .                                                    .                                                                                                      .
              . .                ..                                   .
                                                                           .
                                                                                   tDèfendantyal1ope
                                                                                                  'h rateytogetheriftherearené allegationsasto hpw theirowners:
                                                                                                                                                  .
                                                                                                                                                      ,
                                                                                                                                                              orjtscommon      '             .                                '''''
                                                                                                                                                                                                                                                      .                                        .                                                         -                '
                                                                                                                                                                                                                                                                                                                                                                                               .. .                    .            . .                .                     ''                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .            .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '
                     -
                                                 .
                                                                                              .
                                                                                                                '
                                                                                                                                                                                                         .            ( ..                         .  ..                                        ..                                   .                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                    ..             '                '       ..                                        .                                                 . . . ., .'.                                          .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '.
                         ..                                                                                                                                               .                                                                                     ..                                                                                                                             .                           '                           .                                                                                                        .                '                                                                             '
                          '                                                       '
                                     .                                        .
                                                                                           oftk ersran them .:As1:also oointoutlabovèkitis alfo unclearhoF 71kBH,thennmesake ofthe                                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                     .                                                                               .        '               '                                                                                                                                                                                                                                                                                                                                              '                                                  ''                                                                '
                                                                                                       '                ..                                                                           '                                            .              .                 .                                                         '                                     ..                                                                  .                                                                                                                                                                                                       '
                                                                                                                                          .                                                                                                                                                 i                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                          ..                                                                                                                     .                                 f
                                                                                                                                                                                                                                                                                                                                                                                   '                        .-                           ...                                              .                                                    .                             .                                                                                 .
  j' '                   .
                                                     . .
                                                              .
                                                                  '        '
                                                                                              tulptreatDefenbants;''runtheJllbgedènterprise.u'
                                                                                                       '
                                                                                                                                             Fhe&defaçtoekerciseofcontrol'factorisnot
                                                                                                                                                                                    .                                                                                                                                                                                                                                                              .                              '           ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               q
                                                                                  .                                                  '                            .
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                                                                                   (                                                               '. -' .                                  ..                               .                                         '. a                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
      '                                                           >
                      .w                                                                              .                                                                    .                                                                      '                                .                                         .        .                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                           (                               . '                                                                       .                                                       '
                        '

                         ;
                                                                               .           intended .to supportliability bayqd on a parent's exeicise.pf coniolptzrjuant.to the ordinaty .    .                                                                                                                                                                                                                                                                                                          .
  '                                                                                                                                                                                               '                                                ,                                                                                                                                                                                                                                                                                                                                             -
                                                                  .                                                                                               '                                               .           .                                                        .                   .. .                                                                                                                                                                                                                                                                                                                è' '
                             '                                        .                                                                                                                                               (
                                                                                                                                                                                                                      -                       t.                                                                                                         .                                                                      ' .                            '                                             '                             .

  . ; ....)...ibciben'
                     ts'ofstozk.ownersllipt..jltqhe.fàctoiisapprpkriatèlyktilizedyhöwévet,.ittlteplento:
                                                                                                       r ' '.
                                                      .                                                                                                                                 ..                                .                                         .                  .                                                                                                                                            L                      .. .                                                                                                                                      .                         .
              '
                             .                            .
                                                                                      '
                                                                                           lenderwàstheu
                                                                                                       deçisionmàke'
                                                                                                                   rrésponsiblefortheemplôy
                                                                                                                                          .mentyractkegivingdse,tothelitigation.r'.
                             . .                                                                            '                        ..                                                                                                                   *                       .            '                                     '                                                                 -                                                                    '                                                                                                            -                                     '
                  .                                                                                                     .                                                                                                                                  .                                                                                                                               .
                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '

  '
                 ,
                      .'' :.                                      :... .
                                                                       ';
                                                                              .            Peàr
                                                                                             ...son v...
                                                                                                       '
                                                                                                       .Cogpènc
                                                                                                           .R. .. n/Technol
                                                                                                                          .ozv
                                                                                                                            x'''v Cp
                                                                                                                                   ' r
                                                                                                                                     *pt
                                                                                                                                     ..o
                                                                                                                                       ''24.
                                                                                                                                           7 F.
                                                                                                                                             . 3d 471.
                                                                                                                                                   .,'e 50
                                                                                                                                                         jjr
                                                                                                                                                           04 (3d Cir.2001.).'
                                                                                                                                                                             Plaintiffsfailto                                                                                                                                                                                  .                                               x               .                                          . ''                                     ..                       ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,(
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                        . r                                                                     'r                                                                . '                                                                                                                                                                                                                      . ..                                                                                                                       .
                                                                                                                        ..           .                                                                                                                                                 ..          '                                                                                                               ,                                                        .                                ..'                                                             ..
                                       ,.
                                     . .                                                  .
                                                                                                                                      '
                                                                                                                                                  .                                                          ..                                            ..                                                                                                                                              .       ('.          .                      .                                                                                   .                                                                              . .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           . .
                             '                       .                                                                                                        '                                                                                                                                                                  )'                                                                                                                                                 -                                             '                                     '                            '
                                 ,
                                                                                           pointlhy'Wherekin theit'A:
                                                                                                                    m endedrcpmplnintthishasbeen sliown.                                                                                                                                                                                                                                                                                                                                                                               :' '                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .


                                                          '
                                                                          .
                                                                                      .                             .
                                                                                                                                th'rning'tothefourthfactor,'
                                                                                                                                                           thçAmepdeèCoGpln
                                                                                                                                                                          'iniiisYvoidofaizyfact'
                                                                                                                                                                                                ualallejations. 'F'                                                                                                                                                                                                                                                                                                                                                                                                                                        ,
             .                   .                                ..                              .             -       t . . :7                                                                                      ''                                       ..                                                                                                  '. .                                                                                                             '                   . .                                                                  .                                                     .                       .
                  .                  .                                                    .            .                                                                                                              (...
                                                                                                                                                                                                                      .                                                                                                                                                                                                                                                                                                                                                                                          ..
     '                                                                                                                                                        .                                                                                                                                     ..                                            :          t.                                                 .y , ,)                                                                                                                        .                                      .                                         ,                      .       .r
                                                                                           ofany llnity ofpeponnelapoliciesnmong the Corporate'Defendanté.:f
                                                                                                                                                           -lrhèE'
                                                                                                                                                                 fyhfactor,dependency.                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      ' ,
                                                                                                                    .                                                                                                                                 .                                    .                             .       ..                                                            .        .                                                                    r
                                                                  .                                                                                                                                                                                                                                              ,                                                                                                              .                                                                                                                                        .
             .               .                                                                                              .             ..                                   .                                          7                                                     . .                                                                                                                                                                                          :                                                                     '                                                         .                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
 ,'                          ,.:' .
                                              .                           n            .
                                                                                           ofoperés
                                                                                                  ,i
                                                                                                   .oùs
                                                                                                     . .
                                                                                                       i,j.sl
                                                                                                            .i
                                                                                                             ghtlyj
                                                                                                                  .t
                                                                                                                   ;fonge
                                                                                                                      , .
                                                                                                                         t albei
                                                                                                                             . tstill'éot.enougitosalvageshe'claim.Plaintiffsalleèethat                                                                                                                                                                                   .                                .                                                                                                                                            .                                                                                              .

                                                                                                                                                                                                             .                             .                                                                                                                       '
     '
                         ' .                                          '.                                   .
                                                                                                                                                      .                                                                                                                 '
                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                       .                         '               .
                                                                                                                                                                                                                                                                                                                                                         .                '                .                   -                   (-                      -                    .                                                              '' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  :                                   ..                                   '           .
  .
             :.
                           l. ' .
                         ..'
                                                                      .
                                                                              ,           the Corportate;Defenda
                                                                                                          ''
                                                                                                                nts sham d'löèatiopsj.èàrld öften issùed paychecksito.employees withèut
                                                                                                               '.                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                r'        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                          '                . '                  . '.                                                     '                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                                                                           .)                                               y.' .                        ''                                        '                                  '                                                                '
                                                                                          '                                                                                                                                           .                                                                                                                                                                 ..
                         .                                                . .                     -       (-2 ,                                                            '             -'                  '                            ..'                           . .'.                                            '                                                '...                                                                                                                               'qs                                                                                                 .              .
                         . .''                                .                    '
                                                                                                                                      ' .
                                                                                                                                                                                                      i                                        .                                      .                                                                                                                                                        -                '                                                                                           '                                                         -'
                                                  ) ,                                     regprd forWhich éntl'
                                                                                                              tyjsqued them. (13E 4 àt.!! 41,4.4'
                                                                                                                                                ,46).'gBut.the Amended.Coinplaihtis , :                                                                                                                                                                                                                                                                                                                                                                                                                                                                .'
                 '                                                    )                                                                               .                                                                                    .                                                           .                                                                                                               .
                                 .                        .
                                                                          ..                                .                                                     .            .
                                                                                                                                                                                    ..
                                                                                                                                                                                                          '. '
                                                                                                                                                                                                             .f. .                                         .. .                                                      .
                                                                                                                                                                                                                                                                                                                                     k.                       ..                                    ., . '                                 .                        - ..:.                         '.. .. -                                        ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ;                                        .'                                    '                       -..
                  : r        .'                                   ''' devoid offpctdtha
                                                                              .       &. twoul.d léadm eto ggm e'witlzPlnintifs?'éonclugion ihai.Gethe'yarious çntities
                                                                                                                    .
                                                                                                                                          .
                                                                                                                                                                                                                                           .                                                                                                                                                                                                                                                                             .                                                                                   .                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
         .                   '' .
                                a'
                                              .. .                         ... .                                    .                ,... .                           .;           . .'              '                .           . . ' . .!                         :                         ''
                                                                                                                                                                                                                                                                                                '            '               ' '''                   '            .           ' '                       '-
                                                                                                                                                                                                                                                                                                                                                                                                        '                           '         ' .                       . '' ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               '                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               1
         .
                     ',                                       .                                                                 .
                                                                                                                                                                                                                              .           ..                                                                                      .          .               ..                                                                                                                                                  '            .'                                                                                      '                                        .
                                         .                                                                                                                                     .                                                                                                                                                                                                                   .                                                                          .                                      ..'               '
                                                                                                                                                                                                                                      .                                                                                                                               .                                                                                                                                                                .                            .                                                                                      q.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
         ,.
                     ,
                                 . ' (
                                     '. ... existedsotelyforthepurposesof'
                                                                         jrtwiding'séryicej.tpvaci'ptier.p:y(D2 684,
                                                                                              .        .
                                                                                                                   t8):                                                        -
                                                                                                                                                                                    .
                                                                                                                                                                                                 ,.                                                                                             '
                                                                                                                                                                                                                                                                                                .                                                    .                                                                                                                                                                                             .        .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ;.                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .
          '                                                                                                         '                                                                                        : 2
                  '                                  '        '
                                                                                                      .                                                                   . .                                                 )               '.                                                                                             ''                                ' ..r''5
                                                                                                                                                                                                                                                                                                                                                                                      '                                                                             . ''-                                                                              .
 ' . ... ;-.c..                                                                                            .                    çç
                                                                                                                                     Th'e.W'n.r
                                                                                                                                              .-)
  .                                      ..

J '
                                                                                                                                               né.'ct:Tè
                                                                                                                                                       èst:..
                                                                                                                                                            ïis.ihtendèdètobisçbve
                                                                                                                                                                                 'r'wh
                                                                                                                                                                                    ' ether
                                                                                                                                                                                         ,'
                                                                                                                                                                                          7,
                                                                                                                                                                                           thetoonoml
                                                                                                                                                                                                    *nally.se/ayate4ntitièh'
                                                                                                                                                                                                                  w                                .                    .                                                                            .                                                                              . '.       .                                                         .                                                                                                                .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           :.' .)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .               .
                                                                      .            .                        .                        .;                                                                                                   t' .                                    .         ..                   .                       .                   .. . .                                                        . .                . .                       . ..' .                                               .                                 . .                  . .                 .                                                 .
         '        .      : '
                           l.                                                                 . .                   :                ..                                             .            . .. .           ..                           .               è.                      .               ''                        ..                               .                .'                   .
                                                                                                                                                                                                                                                                                                                                                                                                        .          . .              '.                         .                                                     .                                                                  -                             ' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   1
                         '
                         ï                                                                                                                                                                                                                                                                                                                                                                                                          .                                       ,                                                                      ..

  '
  .lt     ;.        .2..,' . aciu      ilyrfaméiionçd                                                                                                                                        .'
                                                                                                                                                                                              asa'
                                                                                                                                                                                                 :sikgibbuqine'
                                                                                                                                                                                                              ss!1.''
                                                                                                                                                                                                                    particula.r.ly.wi
                                                                                                                                                                                                                                   'thrçg'ârdtp.lùbprtpelièyt''''.peqhonb247'
                                                                                                                                                                                                                                                                            .. . ' ,
                                                                                                                                                                                                                                                                                   ..'.:.;                                                                                             x
 'L . .' . .',,- '
                 ... . ,,   '. ..'''. z. .' .'. . ':' ', . ' '. ,.v. '. '. t'                                                                                                                                                                                                            ;                                                                        .
                                                                                                                                                                                                                                                                                                                                                                              ,'
                                                                                                                                                                                                                                                                                                                                                                                                     .                         .        ...                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         . .- . ; .                                .

   . ( . .l .                                                   ). ' . . :.. .. ... . ..''. '.,                                                                                                                                                                                                                                  '. . =                                   '.                                 '' '..'.' . .                                                                    '. .                            ''                   .
                                                                                                                                                                                                                                                                                                                             -
             .     . , '                .     .
                                                   . .. 2 .                                                                                                                                                                                                                                              .               .                               '                                         .. . '                                                                                                        '                             .. .                                                       ' '' . .                                             ''
' ': . ' .. ' . '. - . . ' .                                 .r '
                                                                 .( .        . .. . ' .                                                                                                                                                                                                                     '                                            .
                                                                                                                                                                                                                                                                                                                                                                          ' .
                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                           l. . . .'( . .                                                   '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                           ; . ' .) .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 n
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .                  '            r.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               yj
                                               .      . -                                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                                                           .                 .
                                                                  '                                                                               Z' 1                                                                                                ' '. -:
 .-                   ' .                                     .                               . ..                          .         '                                            '. ' y
                                                                                                                                                                                       .
                                                                                                                                                                        . ' . . ''a: .. . . , .
                                                                                                                                                                                               .                      1               '                                                                      .                               .'                       -            .                        .
                                                                                                                                                                                                                                                                                                                                                                                                                           '       ..      .               '        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .               ..                        2.                   -            '           -                                .'                   '
      .
        -7- g)'. (i.'.'.,r
                     ..
                         J-
                          ': . '
                                > ' r         . ..
                                                              ..
                                                                  .
                                                                                              .       ...                       ,.      ..
                                                                                                                                     ... . -
                                                                                                                                             ..,                           ,    -. -   ' g. .                                              .              .; '
                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                       ' . G
                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                             ':
                                                                                                                                                                                                                                                                                                                                  ..  y... ,' îJ'. '
                                                                                                                                                                                                                                                                                                                                 ''Lj''lrll':-. .. . ..
                                                                                                                                                                                                                                                                                                                                                                                                         .  .
                                                                                                                                                                                                                                                                                                                                                                                                       -.' . : .                    (.' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            . .'.r.,                         ..                            .   y                . g?. . ,t.'. ..                                      . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           J           .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           y.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            a)
                                    -(.:2 -..'
                                             ..'                                                                                                                                    '
                         .                                        .
                                             .                 .-                                                                                                            . , ... .       .                                ; ' - .. '.'                                                                                                                                                             ..                                                                   '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      q  - ;..
. .     :. ) . .'.' ' . ; -, .z.
     . .'.                                                                                .       . . .                                           .
                                                                                                                                                          .
                                                                                                                                                                      . ..              .' .
                                                                                                                                                                                         . .'
                                                                                                                                                                                             .
                                                                                                                                                                                                                          .           .
                                                                                                                                                                                                                                          '.'.u u -                                         .
                                                                                                                                                                                                                                                                                                                     ,
                                                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                                                          ..
                                                                                                                                                                                                                                                                                                                           -x.
                                                                                                                                                                                                                                                                                                                             '' .
                                                                                                                                                                                                                                                                                                                             .               -                 .
                                                                                                                                                                                                                                                                                                                                                                                   '. w. ..'
                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                           ...                         .
                                                                                                                                                                                                                                                                                                                                                                                                                           . . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                    ... .
                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                   ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        . :.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ... .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           . . ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        ..

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ..           ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '                                    j .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .

à
..''.- ((. J
           .
             ..
              ''.''.
                   ''..
                      r:....2r.  . ' J: .
                                  -
                              :).' ' '
                                         '...'r
                                         .    :.              '
                                                              .                u .                        .                                       .               .                                                                            '   - '....J.:E...- .l.'.-'..
                                                                                                                                                                                                                                                                           -. .
                                                                                                                                                                                                                                                                              a...'. o.. ..'. - .'.'
                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                        '                    .                                                                                                             '                                        .                     '       .''            '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .       ' ' ''.. j .y ., y. . 4   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      >          .               .            .                .               .

..
..-   (..t ,'
  . ...                                 ' . .     -
                                                         , ...J
                                                              . ...
                                                                  - ...-
                                                                 .. z.y;
                                                                        .
                                                                            ...
                                                                              ' .@y.. .t; ..z.w., ' . .'
                                                                                             ;           ..
                                                                                                          . '..
                                                                                                      '' .'. .
                                                                                                               '
                                                                                                             .;'     ;r. . q .
                                                                                                               ... , . ,y..,..' . . . . . x.j
                                                                                                                                .)'. r...'. .     .. . .
                                                                                                                                             ,,r ,u..,-..'..'  .... .t,..,...(
                                                                                                                                                                      .
                                                                                                                                                                             ) ..(1-. .'. . ..     j
                                                                                                                                                                                                   y<. ,..  , ;.-...' .
                                                                                                                                                                                       .). ... v. z.. .'. . p.. j : . .'
                                                                                                                                                                                                                         '... . .. ',        . .  '.' '
                                                                                                                                                                                                                                         ....-....( ,
                                                                                                                                                                                                                                                         )                                                                               -                                                                                                                                  u''

                                                              g . yyjy.'r
                                                                                                                                                                                .
.      j ja'. ..
                  ''
                     x. k .           .'
                                       ' y.                                   ' ' .        '                                                ...            . y ., .        ...                                               2'. r''  .: j
     '     '  '
                  . . ( .'
                             -.

                          . 2 .'. -...'.; r.
                                                 .(
                                                  .                     . ;
                                                                          .          . .   .  .
                                                                                                 . .. , ,
                                                                                                          .       .                    .    .  .               . ( 4
                                                                                                                                                                      ..
                                                                                                                                                                         . .
                                                                                                                                                                      . .. . s.  .       .
                                                                                                                                                                                         y  . .
                                                                                                                                                                                              .: . .
                                                                                                                                                                                                   .,  .     . r j     .    A     ..
                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                        y .j ,
                                                                                                                                                                                                                                             . . .  k                                                                                                                                                                                                                                                                                                                   (
    ..                                        .. .yz'-;. .u.:- . ., y .                                     y; . f;.- .. ' . . . .7 :. .. '. y,. , 'eL.- .                  rw:. v ' - z . ..
                                                                                     . -..' . ...'. r.. .                                                                                                           . ' .' ,'q . ..
                                                                                                                                                                                                                                      .' ...... .... .. .1
                                                                                                                                                                                                         , .: .. . j                                .-
                                                                                                                                                                                                                  ..
                                                                                                                                                                                                                                         ..
  .     v.-     ., n                   . .
!'
 ..'. l-, .. .' .è' ..-' rc' . ...c
                                .
                                          '..J
                                             .- .' .    r : .'..    ..(<t
                                                                        . '-..     '..... t     -
                                                                                           , . . . -. ..
                                                                                                          -
                                                                                                          .- : . -. -- :.
                                                                                                             .      .       . . .. . . .         . , . ...      .
                                                                                                                                                                          -
                                                                                                                                                                         . .
                                                                                                                                                                                   ;'. .
                                                                                                                                                                                ' 2'    ,
                                                                                                                                                                                        '.
                                                                                                                                                                                           .
                                                                                                                                                                                               .
                                                                                                                                                                                                  .;:.
                                                                                                                                                                                                       ... .- --          .
                                                                                                                                                                                                                          -
                                                                                                                                                                                                               .t ., ... . . .. ..
                                                                                                                                                                                                                                 .                       1
     .          .                           .:                                  .          (
                                                                                           .                                                                         '
                                                                                                                                                                     .                    .                              a                                                                .                                               .       .               . .                        .                                              .                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .                .                                                                                :        '.
                                                                                                                                                          . ..                                                                                      '
                            .                                            .                                                                   .                                        . .                            .            -                                                   .       .                                                                                  (               '                                                                                          '                        '                                                                                                       .    '
q,              .
                                                           Case
                                                            .. . 9:24-cv-80787-DMM
                                                                    ..     ' '
                                                                             . ).  Document
                                                                                   . ' '. ..72
                                                                                             '
                                                                                               Entered
                                                                                               ..
                                                                                                     ' on 'FLSD
                                                                                                            L
                                                                                                           'c '
                                                                                                                Docket
                                                                                                                .
                                                                                                                  .
                                                                                                                    2
                                                                                                                       01/10/2025
                                                                                                                           '      .
                                                                                                                                    Page 21 of'28                             -           .
                                                                                                                                                                                                                                                                                                   .                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                   '' '
                                                                                                                                                                                                                                                                                                                                                                                                                                    .                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .                                 .                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ar .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   :

                                                                                                                            .                        '.                                                                                                                                                     t           ' '                                                                      '1               '' .                                                                  '.'                                                                                                      C
                                                                                                        . C                                                                                                                                                                                                                                                           ''.
                                                                             a.                                                                                                                        .                              .                                                                                                                                              .:                                                 .                                                                                                                                                    .               ..
                                     . .                                                       -,           .                   a            .                            .                                      .                                                                                                                            .                                                                   u ;                       (                                                   .                                    .                       -                                                        .        .           .
                        .                                                       ...                                                                  .                                                                                                           ,           .                                              ..                            à..                                            .                      .                                     . r) .;                                                                                              .                         .                ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   '
                                                           .                                                                                                 ,        'r                                        ..                                                                        .                              .                        .           .. . .                                                      ,                 .                                                           .                                                                                            .                                                 .
                                                                                                     .                          .                                                     .
                                                                                                                                                                                      .                                                         .                             .                    .                                                          )            .                         .        .                ,
                                                                                                                                                                                                                                                                                                                                                                                                                               .                                  .             .. ..                   .                                                                                                                                  .

1. '
   .                                                                                           F 3d:at'
                                                                                                      499 'Thélfactdrs.here:lèànrli1favoi.of dism issing thç W                                                                                                                    .                                                                                                                                                                           ''Ad claim's.agàinstthe'                                                                                                                                                                 .
;               -                                                                                                                   .t                                                        .
            ..                          ,                                   .                                                                                    .                .
                                                                                                                                                                                      f                                                     ;
                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                     '                            .             .                         T       .
                                                                                                                                                                                                                                                                                                                                                                                                                      =
                                                                                                                                                                                                                                                                                                                                                                                                                            ' ''
                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .                               (' - '                       . .                                '                                                       '          '.
            L.                                         . .,.                               Corporqly.Défendants.fd '
                                                                                                                   fml-tlre to allegçthatthèRetreat:(C
                                                                                                                                                     ,'ùrpo rqte)Defend
                                                                                                                                                                      .ants.operate.      .ï
                                                                                                                                                                                   dms'a. ,                                                                                  .                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       '. t '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               .
                        i .                                                                u        4 .. .                                       J :      .          '
            .           . . ...                                 . .. .. ..-                                 . ..
                                                                                                                 t.                          . .2                             a           ..                                               .
                                                                                                                                                                                                                                          J a.! ,
                                                                                                                                                                                                                                                  .                                   .k
                                                                                                                                                                                                                                                                                       .                                 '
                                                                                                                                                                                                                                                                                                                         ï                    ...                     , y..... (. (
                                                                                                                                                                                                                                                                                                                                                              . !.... .
                                                                                                                                                                                                                                                                                                                                                                                  .                                                                                   .         ..'                         .       .. ..                                    .                       .               '            .
                                                                                                                                    .,                                )
                                                                                                                                                                      '                                                                                 ';                                                                                                                        k .                                                                                               .               .           .                                                                                                                                      .
        '....'J
              7.
                  .. . ,J'()i
                .-r         jtrlte
                                 'mp.lt
                                      $.
                                       '
                                       j?er.who.may .
                                              ,
                                                    bè
                                                     ',
                                                      '
                                                      h:l'
                                                         djoihtly ând,
                                                                     'severally
                                                                              ' liablè'';'Thhs'    .
                                                                                              :èbtmt                    dt ' .. .
                                                                                                     7is-dismijsed.witho'       .
                                                                                                                                 ''. tr..                                                                                                                            .                    .                             .             .                           ,
                                                                                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                                                                                                                              ., .                           .                                                                                           .           .       .                   .           .                   z .                           .

        .                   rg.
                            ..                                                        .                  ..
                                                                                                                            .
                                                                                                                                     .. : .                                                                                               '. . v                     .            . '- . ' . .-                                                               .                    . .                            '-.
                                                                                                                                                                                                                                                                                                                                                                                                                                .               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                     .                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .. J.                                ' -                                  ' '                                . .. .
                                                  '.            ' '                                                                                                           '                                        '
                    è::
                    .                                            - .
                                                               .. :                   ;'-préltldide.. ,                                                       p.          .
                                                                                                                                                                                          :. :'
                                                                                                                                                                                              .-  ..
                                                                                                                                                                                                                     .   .
                                                                                                                                                                                                                                 ' ..
                                                                                                                                                                                                                     . .- . .- . .         .
                                                                                                                                                                                                                              . . . . .. . :. .
                                                                                                                                                                                                                                                .                '                L
                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                            .. ... j.. -'
                                                                                                                                                                                                                                                                                                                r..               .               .           ..
                                                                                                                                                                                                                                                                                                                                                                      .. '
                                                                                                                                                                                                                                                                                                                                                                                 . .
                                                                                                                                                                                                                                                                                                                                                                                     'r -
                                                                                                                                                                                                                                                                                                                                                                                                              .   g.
                                                                                                                                                                                                                                                                                                                                                                                                                               -. '  ..
                                                                                                                                                                                                                                                                                                                                                                                                                                  .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                - . . ...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    . .                  ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '-            '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     . ,.-               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ' '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 , ,               .;

                                                       :                                                                                     >                                                                                    .                                                                                         )                                                                                             .                                                             '                                       ..
            ''-. :.>..                                                  -'                   '    J
                                                                                         . ' . ...'
                                                                                                                                                                                  .                                                                         '                                 '                             '                                                                                                                                                                                                                         '                                                                            -               -
        (.. ,
          a. L. ,. ;..( .t. J .'
                                 .
                                 , . ;
                                 .,C.:(St qSj.jat
                                          ' .

                                        'at
                                            ,
                                               ' ut
                                                  el.
                                                    't
                                                     ,
                                                     c. jj j
                                                      ' dun's
                                                              jy
                                                               ;
                                                               jj
                                                                ;
                                                                /
                                                                t
                                                                p'p
                                                               ..
                                                                  '-jjj..
                                                                  :n V) ..'.
                                                                        .    .
                                                                           *',
                                                                             ..'..' < '..
                                                                                        '.
                                                                                         ..-l,'''
                                                                                      . . '. .
                                                                                       .    . . .z ,'
                                                                                                    -è'.
                                                                                                     ..
                                                                                                       '..'...              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ..*' .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 . '.' ' ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          : ','., ..                                                                   .
                                   .: '                     .'    .
                                                                  '               '                         ''                                                                                                                                                                                                                                                                                                                                                                              '         '                                                            .                                          .                                    .
                                                           .                                           '
                        .                 ..                                                                            ,! '                                                                                ..                              .                                                                                                 . .                                .           ry                           .,((.. . .                                                                 .                                                                                                                         ....,
    'r
     ..': .. '. ..
      cf        ,
                 )l                                                 .                                   . . -.
                                                                                                                                    2.'
                                                                                                                                      .jyk''
                                                                                                                                           ..FjoridaLaW jcbunts.IV '
                                                                                                                                                                   énd'V)
                                                                                                                                                                        .
                                                                                                                                                                        ,1' ,.'.' .
                                                                                                                                                                                  ''CT.E'
                                                                                                                                                                                        .'i'l
                                                                                                                                                                                            '''                                                                                                                                                                                                                                                                                         '' '..'                                                  .''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   : ' t '. ''k.'..
                                                       .   ' .'
                                                              ).r .                                                         .                                                                                    h                        . .                                         .                             .                 ( .                                                                                   .. . . .                                                        ..                                               .                                                                .                                    .
              '                                        : ''' . .. ;'
                                                       2
            , . . . ..                                                                .             .
                                                                                                                    .       -
                                                                                                                                Cotmtsl
                                                                                                                                -     iIV and V 'allègeJmpald Wagesclâirnsp'
                                                                                                                                                                           tlrsllnrhttbmFlonda Cbnstittztiöfl,Aitcle;X,.                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     '.'.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '' '''
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ,
 '7                     .            .'                                      -'                                                 ' ' 'u                                '                                .-            .            v'                         c-  .            ..                       .                         't           . '         ?. T . .' '' .' .                                                             '- '                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ' -* x        1                                       '                                 .                  .               '                         ' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .               '
    ' '-                            ''                                                    '
        ,
                            .
                                ,                      .
                                                                                      .
                                                                                               Sédtlon
                                                                                                    .
                                                                                                       .
                                                                                                       24:.)and
                                                                                                        .
                                                                                                                'artöthe
                                                                                                             .x .
                                                                                                                        r.lmnn
                                                                                                                       - .  .,
                                                                                                                               m ed
                                                                                                                                 t
                                                                                                                                    Flb
                                                                                                                                      ;d..da'l.a.w. iaains
                                                                                                                                                        .
                                                                                                                                                          t'allèthe
                                                                                                                                                                  :
                                                                                                                                                                    Defehdants.? .IDE.,4 at. 1'8-19).
                                                                                                                                                                                  : .
                                                                                                                                                                                                                                                                                                                                                                                                                      .                                                                                                                          ,                                                       :
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ': ', ')
    .                                                                                      .                        ).
                                                                                                                    .                                .                    c . )                                                       ..                .            .                        .                     ..                                                                                                                      .                                                                                                                               .
         :r
          t 'ï ' ..                                                                                                                                                                                                                         .                                                                                                                                      . )                                                  .                                                           '               '                                                  .                     ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             '                ''                   . .
            .

 è
 .t . (.
       9
       r :
           .. .
              ;
              '.
               Subsec
                . . ,

                    )
                    .
                     tioh .t
                           'b)'
                              ofè.sediok.24Cprpvidzs '     the
                              ) '.r. . '. .. .. . ...1 . . '
                                                             ''
                                                              udé
                                                                -finitiohs.segtigh..for'
                                                                   k &
                                                                                       Flodda''.s'm'ihinïum'.wage, 'é1
                                                                                           '
                                                                                                                     .'.' ,. ),
 .. .
     l.. .. . .
              -
              .
               '. . . .
                 -.
                 ''-. .
                           .'..
                        . . . .1
                                                                                                                                '.'
                                                                                                                                  .
                                                                                                                                    2 ' ... .
                                                                                                                                            .
                                                                                                                                             ..''.                                                      v-               '   .
                                                                                                                                                                                                                             ''..                   l ..
                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                       ' '...-7
                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                a
                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                  '1. .'-7' .. ..
                                                                                                                                                                                                                                                                                ''
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                  . a.
                                                                                                                                                                                                                                                                                     y
                                                                                                                                                                                                                                                                                     :..
                                                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                                                                                                                                                     .''.'
                                                                                                                                                                                                                                                                                                                                                                                         . .,
                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                              .. .. ...., ''
                                                                                                                                                                                                                                                                                                                                                                                            . ..
                                                                                                                                                                                                                                                                                                                                                                                                           .' .' .
                                                                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                                                                    ,. . .' . .' ..-. .. . .q:.... ...'
                                                                                                                                                                                                                                                                                                                                                                                                                                                      . ' '.
                                                                                                                                                                                                                                                                                                                                                                                                                                                           '..
                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                              .'.                                                                           .x                   .                                                          .    .                .k                                          ...                               . .                           ).. 'u                                                 .                                  ..                            .             ;                                                                                                                                                          .
 :.'y .                                                .   ) ''.'requirem entwithih'the Elèddà Constitdtiofl.,'F1akCbnst-
                                                             ..                                                         tAd ièle'
                                                                                                                                -X ,Sèctloh'24'
                                                                                                                                              ., Yhe '
                                                                                                                                                     sectiok.' .. ''. .
                                                                                                                                                                      ':''.                                                                                                                                                               .                                              .                                                                                                                                                                                                                                             .           .
 -          . .     , :.                        . !....                          z'u                '                   ' .. (
                                                                                                                             ..' '
                                                                                                                                 .''                                              '. ..
                                                                                                                                                                                      /
                                                                                                                                                                                      v                          i                        .. '''                 '                                ( , .                                           ' '' .
                                                                                                                                                                                                                                                                                                                                                       ). .                                              ''                 ' .'                     ' .'u . .                      .        J                  . ..'' . .'                                  '' ' '                          ''                            '.'
 )t.-q .x.'.. - ..         . : .-. .. .. . .         .          .)
                                                                 ' ;. .     .           . ..           ;...j . . .);
                                                                                                       '                                        ..
                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                      . .                                          .                                            .                         .
  ' :'
         .''.. ..' . ' soécificallv'statés.
     , t''                                  u
                                            tha t '
                                                  t% he  'w t erms    emolove  r -.ùm  olöve  e .'and  ' wa aé :,s héll.hàve'the,ri
                                                                                                                                  lennlng, . .'':,. ,., ' ';
   >..   '. , .     ..     ,  J.    :.   ..   E    c . .:.. '       .'  .
                                                                           '. .
                                                                                .  . r     '....
                                                                                           -      .'..,J   z..      .
                                                                                                                    ':
                                                                                                                     .  .   .' ,
                                                                                                                               :.       a.
                                                                                                                                         ' ..      -;. )'                                                                                   .                                                                       .                                                                                                                                                                                                                                                                                                              . .
     J .               .       .                                                                                                                         .; ' ..
                                                                                                                                                          '                                                                                                 ,                         .                    ..                             .                           ..                         -.                                                                                                                 .
                                                '

 *
                    .                       .
                                                       ''' 't:
                                                       .
                                                             4b
                                                              ,lishèdllndeitlle'fedcfz'FZrCdbofStrm'dacdi'ACt(,
                                                                                                              VLsA'
                                                                                                                  lr
                                                                                                                   'and'
                                                                                                                       'itsirnplementingre ationsi'''                                                                                                                                                                                                                                                                                                                                                                                                                                                         ''                                '
 4
 J-
 '
 , .)...a .
          ).
           î.    -.. .                                                                              . -..
                                                                                                        fy                               .
                                                                                                                                         .: - )
                                                                                                                                                .
                                                                                                                                                '                                                      .. .t....J. .
                                                                                                                                                                                                                   '. L. 7 ..'.yt ....' . '                                                                                                                             . .                                      ... . . . - .. .                                                               .. .                             .                                                       .. . .. . ..
                                                                                                                                                                                                         è -. . ) >è..           .. j. . u
  . ..       ' , ...                                                                                                                                                                                                                                                                                                                                      -       .                                                                                                                                                                                                                  .
        7'' '                             '
                                                                        '             '
                                                                                      '
                                                                                          ..                                    ..           '.          -
                                                                                                                                                                      J
                                                                                                                                                                      .                                              c '.                                                                                                                                                                -                   ... t.. tt                                   .-.
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .                             ' .. ).
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              '.'.                                       . .. ....-.                                                 .            l.                               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
 .'
  .'
   .
   q. ..1
        .. .-. '
               ..)16L
                    ..(clèane
                      .    ..d.
                             .'.
                               tl
                                pr
                                 l.
                                  t'As.,Flbdd
                                            .g''.
                                               g1'
                                                 aw.haà?af
                                                         döp.tè'
                                                               d t..hè federa.lud qtsnition:
                                                                                           ?'
                                                                                            th é Elèvèrith (  )Ci
                                                                                                                içllit.has
                                                                                                                         . .:
                                                                                                                            ... . ''
                                                                                                                                   .'.''. .:';
                                                                    .                     ,
                                                                                                                                                                                                                                                                                                  . ..              .                                                                                                                                                                                                                                                                        . .
                                                                                             Q . - ,. .. .. . .
                                                                                                                                                                                                                                                                                                                                          <                             . ..
                                                                                                                                .y..
   .                                                                                                                                                                                                                                                                 ,                .                                                                                                                           . .
                                , )     ; .
                                        .     - .
                                              .                                 r                                                                                                                                                                       .                                                                                                                                                                                   s                                                                                                                                            .                                         .

 .                                  ..
                                                                                      )'            .                       .. .)                                    .                    ' . ... '                                                         ' '. . .                                            .                . j ... .                                 -                 .!                           .. u. '... -                        .                                     ..          '       '                .                             .                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .       ...  )'.. . ' .'I
    2.. .                           ),''..
                                         '.'- -
                                              , Tdetèrm inedlthp
                                                              . .
                                                                tthe.M alybis,t'
                                                                               i
                                                                               .à'
                                                                                 .é'
                                                                                   jsçnt
                                                                                      . iig
                                                                                          .l
                                                                                           yfthè'snm è.becaus:..EFloddà'tiem ployr
                                                                                               .        .                        ees.rycèive thé snm è' ,C ckq'
                                                                                                                                                             -                                                                                                                                                                                                                                                   w
                                                                                                                                                                                                                                                                                                                                                                                                                 .                  .            -                                                              .       .                    .. .                                                .                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ..

                    e '
                    . ;,
                       .. .-. y$-'... ., ,'    .u. ..         .y.a' . ....g.. .
                                          ..! . .. '.. ) '' .. c r 5'         ).'.
                                                                                 .-è7
                                                                                    ...-                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                  J- .                              '.
                                                                                                                                                                                                                                                                                                                     ,.. .-.
                                                                                                                                                                                                                                                                                                                           r ...'.1.
                                                                                                                                                                                                                                                                                                                                   .'
                                                                                                                                                                                                                                                                                                                                      f- ....- . .t*.< ..''. '.' ..j..l. '.-.. .'':.'- - '
                                                                                                                                                                                                                                                                                                                                      '                                                  -. - . .'.. - '                           .                                                                                                                                                                              .. '. t.
                                                                                                                                                                                                                                                                                                                                                  .                            .                     .                              .                                                           .                                                            .                                                                             . . .
                ) .. ;'                                                                ;. '
                                                                                        protecti.ôailnd
                                                                                                     ... '
                                                                                                        .èrsta'tè.l.aw'tha
                                                                                                                         ' ') ' @. :
                                                                                                                          t.theylenloy.tm det.the)Fal
                                                                                                                                                    ;
                                                                                                                                                    rlLa'b'bt
                                                                                                                                                            '' '   ' .     j               '          ;'
...             .                                              '
                                          ,.
                                                           ,, .,
                                                                                      ''                                                                      Standk dsA ct.'Anagnbsv.NelsenL     .., . t'è
                                                                                                                                                                                             '-), '                                                                                                                                                                                      .                                                                                                                                                                                                                            .



    j
 :'t.
    ,           ' '. .               ..,               ..'                  .?'pvki
                                                                        '. ' . -z
                                                                                l
                                                                                .*
                                                                            . a.,<
                                                                                    apntqp.l'
                                                                                  <.N.eA-#<'  ntt,,va1.wed.
                                                                                                          ..nA'
                                                                                                              no,v'40r4          -..;y)9(
                                                                                                                                       -r.x.
                                                                                                                                           -j
                                                                                                                                            '3
                                                                                                                                             ---,.
                                                                                            .nw'>he*-1'qh#n>.eJ=-au,*ev,.,p..# ah- '-... -.- -qr
                                                                                           .q
                                                                                   <; ..... . ..             .r gj:,' œ'e-.er.x-.                /
                                                                                                                                                 .k1
                                                                                                                                                   --..1
                                                                                                                                                 x- * s
                                                                                                                                                       --'t
                                                                                                                                                          ,-0h,
                                                                                                                                                             -----x(
                                                                                                                                                                   -r
                                                                                                                                                                    --!
                                                                                                                                                                      'i
                                                                                                                                                                       --r
                                                                                                                                                                         ---.*.
                                                                                                                                                                              7
                                                                                                                                                                              - 01 --..g
                                                                                                                                                                                -e'j   x--h
                                                                                                                                                                                          z;k
                                                                                                                                                                                            :)k
                                                                                                                                                                                              --'e
                                                                                                                                                                                                 --;'
                                                                                                                                                                                                    e,t
                                                                                                                                                                                                      .uz
                                                                                                                                                                                                        /.
                                                                                                                                                                                                         g.tp..
                                                                                                                                                                                                              pl/&4-,at'
                                                                                                                                                                                                                       -v. ê.V%tilvat
                                                                                                                                                                                                                                    .i
                                                                                                                                                                                                                                     .on.Wr
                                                                                                                                                                                                                                          .. .p
                                                                                                                                                                                                                                              ..wu .j?661..
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                          ..,.'' ... .'..t
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                               .-
                                                                                                                                                                                                                u ,- .. . . .z .                s.,
                                                                                                                                                                                                                                                  .r          ... ...    .
                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                                                                              .


    '. J C : .
    7        . . ,1.'' (( ,. f). . .
                                   ry
                                    ..    , ). . . y
                                                   (L. . .. '      .,    ..   .          ). .. .    .     .     ..   ... '..                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .   ..':
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          F'
                    . Fusuppt3d .
                        .. ..
                                       13'
                                       s
                                       .
                                         1451318.(N.D kGaz2023)t
                                                    )r .        .
                                                                                                         nn.d.Floddàs .,,
                                                               'tapplyingFLSA.eùonöiniutyalitytejttoFLSA..                                       n               ..           .
                                                                                                                                                                              '                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,
            .-' ., ..' . L @ . - ;. .v : .
            .
            -                                                   .       . .t -.. .    .&.. '1'..... ..?: .> .r '. .. ) .;.z..     x ': .
                                                                                                                                        . '!
                                                                                                                                           ..... T) .        . '.
                                                                                                                                                     -.. . . .: J .,. ..- (. ;.
                                                                                                                                                     .
                                                                                                                                                                                    .                      .'
                                                                                                                                                                                                    .. , ; .
                                                                                                                                                                                                                .  e
                                                                                                                                                                                                                     .q= c .<-..
                                                                                                                                                                                                                                  '
                                                                                                                                                                                                                                         .- L
     '           :                 . :.             é.,., . .,  .   :    -
                                                                         ;   .
                                                                             ''    ,     . ) .. .        .
                                                                                                         .              '   .   :    .   :.    .'
                                                                                                                                                ' . '.    :
                                                                                                                                                          . , .
                                                                                                                                                              . ; -       .   .
                                                                                                                                                                              '   ;    .    . .
                                                                                                                                                                                              .
                                                                                                                                                                                              '      -  .
                                                                                                                                                                                                        -   . '
                                                                                                                                                                                                              .
                                                                                                                                                                                                              . .                ,''.' . (
    ..    t. . . . . : . '. . .-..' .. .z ... .,.;. .          :.    .
                                                             .c . . . . :.    -
                                                                              . -
                                                                                .  .    .
                                                                                        '
                                                                                        .  .
                                                                                           :  .rt        .    .         .   .  .          .       .       .        ' .          .        -     .                      .
                                                                                                          -  J  ..  -       .-   -
                                                                                                                                 '  '
                                                                                                                                    '  .   . . ., (  r
                                                                                                                                                     ..y .  : -
                                                                                                                                                              .      . .. . ;  -  ..-
                                                                                                                                                                                    .-
                                                                                                                                                                                                 ;,. t )  't . .....
                                                                                                                                                                                                                   .'.' . ..j
                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                             ..)t.'.-.u. .'
                                                                                                                                                                                                                                          ..:
                                                                                                     . .                                                       .. -        .           .    . .. ,  ...
x.'. J..      ...l. . - ....'. ...r . ' uw 'r. ..... '.;...sè... ., ..t.,'.(... t.... .'. .. . . . .)'.' ..''. .. .. .                  '     ' '     7. . .. .                 .I .  ' .. y'
                                                                                                                                                                         ..
                                                                                                                                   . .. ..     r
                                                                                                                                      .. .'. .....r.'        z'.'( . ..'          . . . - ' .:. '. .           ( 7 .. ... .. . . ...
                                                                                                                                               .
                                  )... . . .',. ' 1               . .. . ' ....         1 .' q                      '                                                           '
    .      .; ..                       .                      .                      .        .  .                                   M
                                                                                                                                     .     Q            -      ...         .  .            .                             -
                       ..           J. ,    .: '.. . l  .         .., .
                                                                      : ... .(. . ' . c..q. .               ..     ', s.. .
 è. ' ' .z)' '. '''.': r' znkt. . ..                                                                         .
                                                                                                             :
                                                                                                                          q. .            . J:   ..or' . x             .. )
                                                                                                                                                                        '(. ; .        ..
                                                                                                                                                                                              . ..)v% -g '. ..           L .. .'' .' .j
                                                                                                                                                                                                                                           .
            s                                              ..                         -        #A s1dktàillatèr'
                                                                                                               iltthià.o tder,zplaiptiffsrhuàty
                                                                                                                .                        ,    sepàratètheyclalm së
                                                                                                                                                                 sjd ft
                                                                                                                                                                      lrthëiù Cè.ttlît.v.
                                                                                                                                                                                        .mto.diffèrznt: ,            .                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      7rq .                        .
        : ''.       . .
 .:
  <
  .. .'
    , .
      ' .) .,clà.iis
      q .      -  .
                    .
                    '.'Pl.a'intaif.fs'ihùsi
                                   - .    .
                                            âljo spe
                                                   ..
                                                     çitkally' allègèthea'l
                                                            .. - . ;7
                                                                          à'
                                                                           FJlot.tda-;law:they clali  ta'Wàsviola.t
                                                                                      -. . . .. . ' .- ..2 .      v
                                                                                                                   qd'
                                                                                                                     ,in' colmt ,
                                                                                                                          r
                                                                                                                        ) - .. . .
                                                                                                                                  . ',,'.                                                                                                                                                                                                                                                                                                                                                                                                                                                    .           .                                                 .
        ..
         ,. .
            ...) .J                       ,
                                                                                                    .r                  .. . .                                                y . w                             .             ..                z                                J            t                              . .4                                       ..                               v. >                                   . . ... w                                               ,,.                 .. .                         )' .                                                              x-.. ..                         .

     .
                    ,
                    '
                      .'''.r
                        .
                           :.:r.'.,v 'âseqtsujmkL;'Ctm-e'ht
                                          .k yy. . .u
                                          ..           .  .
                                                           ly'Cblmt V vstates)thalttTl
                                                                  ,- :. '' .àe .
                                                                  '
                                                                                      ofidà.1àW (rèqtlirè
                                                                                     .. 1 ..-. . '
                                                                                                         s,paph
                                                                                                        ; .
                                                                                                              -' e'htcöfWig
                                                                                                                          'v&.fùiwo
                                                                                                                                 .u
                                                                                                                                    rk -'.' . ':,..                                                                               .                                                                                                                                                                                                                                                                                                                                              .
                   : ..;.perföxrm ..
                    '                                                                                                                                                                             .      r '..'a,.. .. ' .
                                                 .ed.k.e
                                                       ? (DE.  4t  q.t;
                                                                      :
                                                                      19)...-
                                                                            -!
                                                                             Bu  ri
                                                                                  ..é dinoi
                                                                                          .l
                                                                                           e.seqtencç..:.Q fthl  s,Cblmt. Plâ  'i
                                                                                                                                'n
                                                                                                                                 ' tiff
                                                                                                                                      ..me ntiöng:Fl.o dd.àStat.j..
                    , '                       ,                                                                                                                                                                                                                                                   .,
    u . .. .                                                                                                            .                                                                                        y:
    '               .
                            ' '
                                #-.
                                  :'
                                     , . . .... .:
                                     .            '
                                                  .    .
                                                            .
                                                           . --
                                                                . ..'  k?     ..
                                                                               ;:
                                                                                .-  .. .
                                                                                             , .. . .    ,;
                                                                                                          .  c.:: .. '.- .. ..  . :     tk'..''....  -....: - ... . ,'. .
                                                                                                                                                              .                                                           'c                            .
                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                     .                                                  .
                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                 .                                                                                                                                                                          .                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .. ''- .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .

 : ..;..l    ' 7. ' .' . ..448
               ,       b   ,
                                    (..,
                                    .   .08,   'bt t
                                                   t 'Pl  a i
                                                           . .nt if f  s yélté   io  the  'st àtu
                                                                                                ' te  för  tr éc ötz
                                                                                                                . ..pf  he  nt  .of lp
                                                                                                                                     'oà  tl  ud   .gmè    nt  .mi d r e st aàd    re  és öna  bl e            .          ,                                                                                                                                                                                                                                                                                                                                                                                                                        .
                                 ' .(..)..'    . . .. .. yn= .l
                                                                  .;.j.. )
                          .                                                                                                                                                                                              ..                                                  ,.                    .
.'.'.. .  ' .'.     s:..
                    ' ' ''
                          '.'..                 .' . - ..'                 ' ,    .. . . .,.... . . .. y..(. .....         k:g ..
                                                                                                                                ,...;.zy.., ......z.... .      :.. ,.;. . . ......) . -              .      .
                                                                                                                                                                                                      ;. ... . .                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .                               .       .                                                 .
                              a t l pm      ey ''t
                                                 s y
                                                   f ç e s: a zid. ',k o  s
                                                                          t s .
                                                                              ' .?
                                                                                 .1ù,.
                                                                                     ,fo otnot   é.'t,rP1..â,int lff.s'pà   ,.singl  y m çy.flt   i.bn   that, thèy.wi   .. 11.x
                                                                                                                                                                               see  k . Je av:   tp : '
                                                                                                                                                                                                      ; ,. .. . j
                ..
t': à  .
L ' ' .: ,.1   : '.
                  . .
                   , .
                     .)
                      .
                       . .
                         :.. 'c- 1 z..   '
                                         .
                                         - ..
                                            ; . )
                                                (y  -.     .    y  .  .    y            .     . .             ..
                                                                                                               .         ..         .          .    , . ,.                  y  .
                                                                                                                                                                               ,g  ..   .  y.  .   .   ..                  ; '.                     .                                                  .                                                                                                                                                              .         .                                               .                                                                                     ..           .

                                                                 vriöl - ...- . -. .
                                                                                1tjb'ftFl)öndg (
                                                                                                    St.àt.sy' .%t48j.           ..       a y(        . g . . . .. .                  . . .
            '       '                                                                                                                                                                 . .                                                                                                                                                                                                                .                                                ,                                         .

                 L          -'nmeild tp.ihcttlde'
                                          ...
                                                                         '
                                                                         atib?'                                       '
                                                                                                                      .
                                                                                                                      '.11Q'but.dè'      notadtllally àllegetsuch aViblatiön' ' '.;                                         .                                                                                               .
          .. (          .,      ... . , . .k .; .              .           .      ... . .    '         ..           :' .. . ..         ('
                                                                                                                                        .' .... .....     . ..f  ' (                .
                                                                                                                                                                                    s              . '.       ... '. ...     i
  .
  ,
  .t..
 .' .rL-
        ,:
         ..
          ).
           'L
            '
                ,
                 ,
                 S :- ).
                      .
                         )L '
                            .
                            ,
                            .
                             ;
                             ,
                             xvv.
                              '    it.I a.
                                         l h...bh:
                                          .. .
                                              .
                                                 -
                                                 '
                                                  y.
                                                   .
                                                    ;yé o'u.ht-.  '
                                                                :io
                                                           .. . .
                                                                .
                                                                    .t.
                                                                       ..
                                                                        .
                                                                         tj
                                                                          'jç
                                                                            .
                                                                              jj
                                                                               .  .
                                                                                  c
                                                                                  t
                                                                                  .
                                                                                  .A
                                                                                   '
                                                                                   . m
                                                                                     ,
                                                                                        y n de d-  con  at
                                                                                                         p   lu
                                                                                                              .jnt '
                                                                                                                   -. . 1) wu '
                                                                                                                            . ,ij).'
                                                                                                                                   re   ui
                                                                                                                                   , q . q.
                                                                                                                                           k e'  P
                                                                                                                                                 '  l
                                                                                                                                                    .
                                                                                                                                                    .,a
                                                                                                                                                      aiht
                                                                                                                                                        . .i f
                                                                                                                                                             .
                                                                                                                                                             , f sèt
                                                                                                                                                                   o   'm a llégè .,'
                                                                                                                                                                                    .
                                                                                                                                                                                    .ia n'
                                                                                                                                                                                         y 's tl
                                                                                                                                                                                               ,.
                                                                                                                                                                                                 çh:
                                                                                                                                                                                                  ...
                                                                                                                                                                                                       ..
                                                                                                                                                                                                        .'g:
                                                                                                                                                                                                           . ; .'-' ' .
                                                                                                                                                                                                                       '
                                                                                                                                                                                                                       ..
                                                                                                                                                                                                                        y
                                                                                                                                                                                                                         b''
                                                                                                                                                                                                                          y..,:                 .-                                    .. .., '                                   .'       . .
                                                                                                                                                                                                                                                                                                                                                                               .         .
                                                                                                                                                                                                                                                                                                                                                                                                                  .        ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -. . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .,. .,. .               .       ..                    -
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ... .             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .               .
       '.,.'''.. j.
            '.    :. y.yj...j'..' /r. y :tg .- G
7'., , ''. ' . ; ,-f                                       '
                                                                          J . ' ' ('(! *'  '                              :.-. -
                                                                                                                               : ;i y.'
                                                                                                                                      . ' '.     .          Mt        '.. ... .. .;jy(
                                                                                                                                                                          .              ,
                                                                                                                                                                                        .J'.-'
                                                                                                                                                                                             .'         -. .
                                                                                                                                                                                                       z.
                                                                                                                                                                                                              j..... ..q;.(y..                                               ...
                                                                                                                                                                                                                                                                                 ''     . '. . . .'                                       . ' .
                                                                                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                                                                                                                                               .                          .                             .                                        ,                . .. '. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .. .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .       ..                  .

 ' '.' 6 .; )'.) r kk
          ,
            .
                               ..i
                               '  .o'l qà.t
                                          ).io
                                             'ui
                                            '' 'k'.o''fF
                                                      .-..l.b
                                                           .
                                                            ''dd
                                                               .''.â'   làkj iz.,wi
                                                                                  z .t
                                                                                     h
                                                                                     a'l
                                                                                      '.i'lits,
                                                                                       ''       owlr.sçjp             Count
                                                                                                             azate ; l '         ,m  any    for (R
                                                                                                                                                   thçö  m   it lg cöf
                                                                                                                                                                     Q'
                                                                                                                                                                        npl n lp,
                                                                                                                                                                                 t ,  .
                                                                                                                                                                                  .: . y
                                                                                                                                                                                                        ' '    ,. ,        :y'w                                                                                          . ..                                          ,                                                                                              . . . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .                . . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         . .                                          .
 - 1. .s 'w... .'. ., .J '. ..'. ..u'.. ..... .. .
                                          .                               ;,) .r . . .a                  r...     .. ..      v . ..
                                                                                                                                         a
                                                                                                                                                 .n . . u
                                                                                                                                                                             .                         . . .   1
                                                                                                                                                                                                               .s..
                                                                                                                                                                                                               .
                                                                                                                                                                                                                    4 '  ..;.. . ..             .       ..               .    . . .'.                  ..          '
                                                                                                                                                                                                                                                                                                                . .. . .
                                                                                                                                                                                                                                                                       ) . j.. . . ., '. . ,.' . .. .' .,-' ,'. ,r.'
                                                                                                                                                                                                                                                                                                                                                      q '
                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                     .                               ..             . .              .0       .. . ..                   .           . .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ' '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .        , =
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      '
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     . .                 ..       .                   ..       :1jor
                                                                                                                                                         -.. ..,...'.. ..                       ..
                                                                                                                                                                                                                                      .. . . u .
.:
   ..
        , .
     :..)rl  ./..L  b.. )tJ
                          .,.
                          .      .
                                 ).;.:....w.. .             ..g y,.y-      .) j.7:
                                                                                 :).:.
                                                                                  .   . .
                                                                                        j  .. (
                                                                                              ......  ,' .. .t.... '... .-.. u..-....                                     . .. 2 .2
                                                                                                                                                                                        .
                                                                                                                                                                                                   .
                                                                                                                                                                                                   .x.. .-.c                . ...r ..         ..-. a ..- ... ...              .. . . . .. x....                      .. . .yt(y.?.         . -.   ;,.
                                                                                                                                                                                                                                                                                                                                                    . ...
.. .L '
   '        ...-. - u5..* .
                          J-
                          ;  ' .'..      .-'. . '.'.. '       - .'
                                                                 . .' -' . u. f-..t..'.. - - ' . -L-'.. .'.-'...                                u...R...'.l
                                                                                                                                                        .
                                                                                                                                                            . . . ..    .
                                                                                                                                                                             ''è  ) ....- t'..       ..    'J   c. .  (.:J(-r      . ' '':.k<.-;.     ') ).
                                                                                                                                                                                                                                                          -.' '.' '. ),'... ':1. .. .-:.  '
                                                                                                                                                                                                                                                                                          J'.    .'..4'. y.('     . '.    'a.o..''- :' 1' ..?     .-  x''
                                                                                                                                            'r.      t..k...,'..-... ...'.'mz                   .. .. .ûi.l2....)... . .. .... :..n.y....:'g                                                 .. ,y'    ''
                                                                                                                                                                                                                                                                                                        ',   ' ' l.
                       .
 .)y7'..'.y.f.
             .
             .      , ; . ;i1'''..'
             . . .L... .,j.          ..
                                      .'j.
                                         ...q; ....L.,-2 .ï =. .. m-oL.y'...L.     ..--.       ... . .- r... . .,.. s :''. yl                       '.
                                                                                                                                                :7. ....j
                                                                                                                                                                             q;j)se;j.).'...                                               .y -:..;... .t .. ..k;j.y.
                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                            Ly,..2 ''...
                                                                                                                                                                                                                                                                       . .. .y,..s., . ,. .,.. )... . . , . j . s.j'',. . ..... ..u . .,ry...
                                                                                  y.          s    p.)  ..        .
                                                                                                                  .    . .,. . w. . - .,                                    . '            . ..                      t ..   :,
                                                                                                                                                                                                                             . .
                                                                                                                                                                                                                               g.
                                                                                                                                                                                                                                .   .       .                        ,.                                                                          y
                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                 ;
.c(.:'
     1
     7ql .)
          ..
          ny k
             a').y...
                    ..
                     ..x
                     . t'....
                       -
                       .
                       .z    .
                              (.
                              .
                               -.>.;..',.r..  :
                                              ,
                                              't.y...'.-..-7.....,:c-('.j.z2'..:...v.).r.-)- ..-'.z.1..'...z.-.t' é:: --r ....)''. .:kt-.,:..,',.. -.'v ..'u....',-L.'.L.'.'',.'.-'k..'L.. .fu..a.'.--.'...'....1-r:k....
                                                .
                                                .
                                                                                                             .
                                                                                                             .  .                              o
                                                                                                                                                                                                                               y
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                 .,.a,'..;.' '..    '.
                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                               .'.-.:. -.. .::.,.T tyj.--. .... . .y.ggt.y, .j.....s''.fr...sy: .t.;z'(
                                                                                                                                                                                                                                                       .,'..,:..  ..          .

                                                                                                                                                                                                                                                               ' . =. ' . ' ' . . )..Gp. (. -..z- . ' -, .''' 'u' ..)
                                                                                                                                                                                                                                                                                                                                                   . .  .


       '                                                                                                                                                                                                                                              .                                                                            .             .
                ).1.   ;... .x..,...........        (.,
                                                      ..:2c..t-, ....(..... x...y.
                                                                                 ....ï..
                                                                                       ..)..
                                                                                           .,
                                                                                            ,......-t
                                                                                                    .u. --..v..        . #.q .....J.(            :7$..(;.....   .ic.r.. .v-).'y -....-.
                                                                                                                                                                                      .xg.y..i.. ; ....,.t'a'-.'.
                                                                                                                                                                                                                a..Lé.yj:.     .L..  :...?
                                                                                                                                                                                                                                         .y.'...
.
..  )'..t          .>.0.
                   . . . . t.zz;            .
                                             ?
                                             .                 ...y                    .)          : ..        ,y.. .                              ,. ..;..                   .. L   x.y..:ï), .4g.-   .:..rL,'              ..   '.?          j,
                                                                                                                                                                                                                                                .k..L..
                                                                                                                                                                                                                                                    .L.
                                                                                                                                                                                                                                                          .:';....u':
                                                                                                                                                                                                                                                          )
                                                                                                                                                                                                                                                       y:t. ,p..    y..     ,. j
                                                                                                                                                                                                                                                                       u. (..
                                                                                                                                                                                                                                                                         . ..
                                                                                                                                                                                                                                                                                y;
                                                                                                                                                                                                                                                                                 ..r.....
                                                                                                                                                                                                                                                                                        y.m..x.)(....         è.    '..;;,.
                                                                                                                                                                                                                                                                                                                   r..n...(:...
                                                                                                                                                                                                                                                                                                                               ,..  . '.'
                                                                                                                                                                                                                                                                                                                                . y- ..
                                                                                                                                                                                                                                                                                                                                          .......,
                                                                                                                                                                                                                                                                                                                                         )-...;s.... .,
                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                       .. .:
                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                           ...
                                                                                                                                                                                                                                                                                                                                                             ..
                                                                                                                                                                                                                                                                                                                                                              .,),-z
                                                                                                                                                                                                                                                                                                                                                                .      .'
                                                                                                                                                                                                                                                                                                                                                                     .s:.
                                                                                                                                                                                                                                                                                                                                                                         .
                                                 y.y :
                                                     .i .  . .      .t..L..rï. c  c
                                                                                  j.  ou   ,uut .
                                                                                                z.x     y                .
                                                                                                                         ( t
                                                                                                                           ..       ,.
                                                                                                                                    .      .      -s
                                                                                                                                                  .         o.. z.' .;.)?'-..'                                                        .)
                                                                                                                                                                                                                 : c..t.               .j   .
                                                                                                                                                                                                                                    ..!     ,. ,:
            .                                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                              .jjq.
                                                                                                                                                                                                                                f                                 .)
    :..-.- ..i. '-- .:'                                                                                                                                                                                                                                                                                                        . . . gj
                                                                                                                                                                                                                                                                                                                                                      ..
  .
    .                   .        '
                                        q:...è                                                                                                                                                                                                                        .. . ;.    ..-. ;ae. ., r   ,,  jr.-
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                         .2.c,g                                       . .y.                 .                                                  ..                                         .
  ' ... . qr                                 :....  .   ,L  .
                                                            r
                                                            -r .     .      ;
                                                                            .                                                                                                                                                                                     ,
                                          '
                                                    . # . y.
                                                                             t. :,
                                                                                 ;, :)      y  :.       ,
                                                                                                        )  .             .
                                                                                                                         -.     .)  ..
                                                                                                                                      .    r
                                                                                                                                           .;  . -           (  -r  ...       ..- J
                                                                                                                                                                                  .         yr . r:-  .)
                                                                                                                                                                                                       ,  .-
                                                                                                                                                                                                           .   .
                                                                                                                                                                                                               è  - '  ,  .           r  ..    q  ,     . ,  ..  .  .      )..    . . )jy
                                                                                                                                                                                                                                                                                        o .          .             ).     r
                                                                                                                                                                                                                                                                                                                          .    ..     y  .g ,
                                                                                                                                                                                                                                                                                                                                            . y,
                                                                                                                                                                                                                                                                                                                                               ,   .
                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                        , ..
                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                              ,  .     ,
                                                                                                                                                                                                                                                                                                                                                                       ..  -t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .                                                               .       .

                                                           : ..'.J;'.
                                                                    ...,'..(t ;.-.u) .........:,. ..gh.. :..,                                        .                                                                                                                                                     ..
 (gL...z '. . =, . . ?...                 .
                                                .r
                                                  ..     .
                                                         -
                                                                                                                        % ...   .- .. .       ....y.:
                                                                                                                                                    .(:
                                                                                                                                                     .   .
                                                                                                                                                       ...
                                                                                                                                                         -
                                                                                                                                                         .... . ..
                                                                                                                                                                 .x.  - .
                                                                                                                                                                         .  .
                                                                                                                                                                         ..:;s,, .-(
                                                                                                                                                                                  ... ....)
                                                                                                                                                                                          .
                                                                                                                                                                                          . ..    ,
                                                                                                                                                                                                  .    .:
                                                                                                                                                                                                        .y
                                                                                                                                                                                                         '.
                                                                                                                                                                                                          t
                                                                                                                                                                                                          ...  x . -. )      . y.
                                                                                                                                                                                                                        ,;:.....-
                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                    ..',.t  ...s:.è.y-k..j.:ë. q'.,?'t.
                                                                                                                                                                                                                                           .1        .
                                                                                                                                                                                                                                                                            ,yly ,.' . y. ..   .
                                                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                ) .      .
                                                                                                                                                                                                                                                                                                         .j
                                                                                                                                                                                                                                                                                                            .... ).,
                                                                                                                                                                                                                                                                                                  . .. , . . . ; y
                                                                                                                                                                                                                                                                                                                                             .                 .
                                                                                                                                                                                                                                                                                                                                                                  -. ;,-
                                                                                                                                                                                                                                                                                                                                                                             .                                             .            .                                                                                                                                                                                                          .
  ' .  .'JL''.'.-'-f.':''z
                         .....
                             r.
                              ''''.)'yggy . . t   '
                                                      )
                                                      k                                    .                                                2.,                                   .       ,   :     .  y
                                                                                                                                                                                                       .        a       .                g u.    . .,.
                                                                                                                                                                                                                                                     r
                                                                                                                                                                                                                                                     ,                   :
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         .   : ;                                               .  . y . ;..  . .
                                                                                                                                                                                                                                                                                                                                               -. y.
                                                                                                                                                                                                                                                                                                                                                   .  ,
                                                                                                                                                                                                                                                                                                                                                      y. - .
                                                                                                                                                                                                                                                                                                                                               .; .,.t.s...,.... ,. :.-.                                   .                                                                                                                                     ....                                                                                          .
                                                                                                                                                                                                                                                                                                ...y;.-.. .-yy.,-.s. ,:jj  y..u. .,. .y;. .
                                                  x7       r
                                                           y)
                                                            t.. (.
                                                                 q                                                   ;       (     . 'ï .. ry                                                               .
                                                                 )'y   .
                                                                       y
                                                                       ..';-.
                                                                            y.)w.
                                                                                .,
                                                                                 j,  ;y,j                                                                                                                                                                                                                                                                                                                                                                                                                                                .                                                                                       ..
                                                     ,
                                                                                           .:
                                                                                            ,...ïjj,y..y.., (r.:r. s .u, .:
                                                                                                            1         .                         . j  .. ..,t..,r'y
                                                                                                                                                             ,   s' ,
                                                                                                                                                                    ..,
                                                                                                                                                                      ..g,:yyr': .z,. .-j$.k.,. ,t....s. .
                                                                                                                                                                                                        .
                                                                                                                                                                                                                .....f...... . ;,
                                                                                                                                                                                                                                 .,.                  .;
                                                                                                                                                                                                                                          .....,.jr....j                       .          .. .                                                                 .  .      .                                                                       .                                                          .               .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            .                      .                                                                              .

                                                                                                                                                          )... .... . ... .....,. :..-.,' ;. y,..)qc.s.t. y,
                                                                                                                                                                                                           .wvr                                     ).y  ..a..)
                                                                                                                                                                                                                                                              ,..yg .j.y.r   ,
                                                                                                                                                                                                                                                                             y ...y ... .y,.g
                                                                                                                                                                                                                                                                                          .  j.,                                                                                                          .
 .... . . . r:..:7.' . ''. :.'kq1                           .
                                                            r.  &
                                                                .
                                                                (  a
                                                           .
                                                                     .k
                                                                      L             .                                                                                                                                                                                                                                                     . ,..oa;.g .
       '                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     .
                                     ..
                                                                    .;                         .         . .r r.;jy.
                                                                                                                   a..
                                                                                                                     Cz..rk..:.a...c,..z
                                                                                                                                       â;.'
                                                                                                                                          .' : '....jy-.r                     .
                                                                                                                                                                                              .
                                                                                                                                                                                                               , , ,-                         ..u .                .r ,
                                                                                                                                                                                                                                                                                  . .-
                                                                                                                                                                                                                                                                                      .   .     . .                      .,. ),, yr ... ...              . .. . . ..
                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                         . .
                                                                                                                                                                                                                                                                                                                                                                                                             .        .                      .                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .. .                           .                                     . .
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 22 of 28
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 23 of 28
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 24 of 28


                  '
                                                                                                                        '
                                     .'                                                                                 .                                                                                                                                                                                                          '                                              '
                                                                                                                            '                                          '                                                                                                                                                                   ''
                                                                                             .                         œ
                      to.tv m..'IDE 61at7).PlnlntiffsdoilotyddressjheseargtuséiltsihtheifReépopsebdefsng.Iàgree                                                            ,




                      withthese:béfèndantsihattliiszdotmtjhopldbeldismiàsddg.but,
                                                                            .
                                                                                fprptv rrreasons.                                                                      ..                                                         ..                                              g       .. .

                                                  '
                                                      UpderthyWPCLXaplaihtit'
                                                                            fdqçsnotfleedtopleadthesexistènceof'a'fonnalemplbymept                                                                                                               '                                    '
                                                      .               .                                                              '                                                 '                                 .                                                    '                   .. ''            .                                                                   -



                      conlact,butratherneedonf#p1eadtheekistenceofjomeconfractiaiagreementtopaywagesthat
                            .                                                                                                    '                             .                                   .                                                                                      .                                                                                       . ..



                      defèndàntfltjw ow esto thèplninti'
                                                       ff. Eucedav:                   1:
                                                                  'klillwqo4 Incq,Nô.3.12-ù895, 201
                                                                                                  . 3WL 4520
                                                                                                          . 46à,                                                                                            .                                                                                 .                            .

                                                                                                                                              ''                                                                                                                                                       '                                            '
                         .                                                                                                                        ..                                           .                .                                                                         '                        .
                                                                                                                                                                                                                                                         .

         -;
          '.
            ,.
                      at,4(M.I).Pa.Aug.2à,'
                                    .
                                          20,13.
                                               )y.(èiting.ocàstnçiqv.,ry
                                                         ..       -    .
                                                                        sotqrkbodLs;znc.,3:.2.
                                                                                  ..        .:y7.
                                                                                                3d301,.3
                                                                                                .
                                                                                                         09(3d.,
                                                                                                       (..
                                                                                                               .   -                                       .

                                          .               (
                   .  Cic 2003)).'
                                 Gisuch a bizding ajreement.may bè express,ör'as,thè'Third Circuitnotèd in,De'.'.
     '                                                                                                                                        ' *
              .
              '                                                                                                                                 '                                                                                 .'
                   .    .                                                                                              .                       .                                                                                                                                                               '

                  èAsen
                      ;
                       'cio. itma#
                             .   - bq'i
                                      mpl
                                        '''- i
                                             ed. Andinthecontex'tofan'ézhplo#mentrelkationphip,apromise,
                                                      -       .
                                                                  .
                                                                                                       topay        '
                                     .                                                      r.                                           .                     j                                         ..
                                                                                                                                                                                                        1.                ... ...                          . ...                                                                                                ..                         ;               e
                                                                                                     .                                                                                                  .''.

                      tl/ reasonablev>lpeofthesefviceisM pliedwhereoneperfpnps:for'gnothèr,withtheother's
                                                                                             '                                                                                                                                                                                                '
              .                                                                             . ..                       .
                                                                                                                           .                       '                                               ''t
                                                                                                                                                                                                     -              '                                                .
                                                                                                                                                                                                                                                                                                                                                            '
                                                                                                                                                                                                                                                                                                                                                                                                       .


         : knoFledge,.àusefulserviceofacharactérthatisusually charjçdfor,andthelatterexpressejnb
                                                              J                                                                                                                                         (                                                                                     ..(.
                                                                                                                                                                                                        .                                                                                                                  .                        . .                                                .
                       diàsent,or >vâilshim self.ofthek
                                                      jervicek''.Ié ('
                                                                     çleaned.up).(cit.
                                                                                     ing Màrtin v.fittle,Brojvn'tzn;
                                                                  ''                                                7
                                     .-                                                                                                       .

                       Cospany,.        .',987 (
                               450A.2d984      #a.Super.Ct,1ûà1))                                                                .                                                                                       ..




                                              ,
                                                      Plaintiffs'pl
                                                                  .
                                                                  k
                                                                    eading inqludés
                                                                                '
                                                                                ..
                                                                                   mini
                                                                                     '
                                                                                       m alfâct'tzaljupportregardihgtheqekistenceqfaFcontract
                                                                                            '''.
                                                                                             '                    .- .
                                                                                                                                     ' '       '                       '                   '                '                         ''''''''                   .        -           ... .-                                                                     '                              '
                                                                  '
                                                                  i                     .
                                                                                             T.
                                                                                             '                   -...                                  '                                                                          i'
                                                                                                                                                                                                                                  .                              '
                                                                                                                                                                                                                                                                 ' .:
                                                                                                                                                                                                                                                                    '                     ''
                                     .: . .               . .                                .
                      iopayPlai
                        ,             g gestè..suppèrtaW PCE claii.
                              htifik'wa                                       )
                                                                              .butIflpdthatsuciaconkactmay
                                                                  natttzsstage.
                             ..                                   '                         .
                                .                         w. . .
                                                                                            p                                                                                                                                                         . -.'                                   .: -..
                   .                                                                            ..                                                                                                          ,        .                                                .                           .                                                                       .

                      beL pl
                         .
                            iedybyttw.alle
                           J .           '
                                          gatiohs.
                                                '
                                                  ih theAme-pded complaint,bqsed,orithela
                                                                                        'n'guagèabovethat>                                                                                                  . ,               .           '          . .                                                   '                                            .                                      .
                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                               '


                                                                                    . ' '                                                 '                                                        ''
                                                                                                                                                                                                           ''                                                    .
                                         .                             .            .                              '                     '             .                           .                                                                             w                                                 .                                                 ..

                      promisetppây foiakerkiçeandèljrposbfizlavàilinéniofthatsérvlèeèimplièkacöntracttopayft/
                                                  '                   .
                                                                                                                                                   ..          .
                                                                                                                                                                               .                                                                                              .                   ''       '                                                                          ..



                      wagesw>ji.preseptk Plaintiffsaljegetwo epailsfrom Défçildan.tl'Ko
                                                                                     .'-rogodskyregazdidg
                                                                                                        gwhqn''                                                                                                                                                                                                                                                                        .

                                    '(:.''J'                                                                                                                                                                              '                                  ...
                                                                                                                                                                                                                                                               ..                                                              '                    '
              :mgneywotlldbeéisbutj
                        ..' .
                                   edt
                                  L .
                                    '
                                      öçmployees.forapreviouspaypedodapdthatthePlaintiffsFouldbe
                                                                       ..                                .              '                      '.                  .                                        . '.                      '                                                       '                                -                    ' '''                                      '
                                                                                                                       .                       .                                                                                                         '. '                                                                                                        .
                                                                                                                                                                                                                                                                                      '' ')2                               ' 'f.                                                               '.
                                                                                                                                                                                                                                                                                          '
                                :                                 '                         .
                                                                                                                 ..                                                                                                 J.                                    .
                                                                                                                            ..                                                                 .

              ' reçeiving.tFappropdate.leûers'regr dl g'remploymént''!which wmsa'Rtop ptiodty.r''Additionally;'
                                                                                                             .
                                                                                                                                                                       '                                    '
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                '                             '                        '
                                                                          ..            . '. '
                                              .           .                                  :.                  ..'.                                              '                               . .                                                   -
                                                                                                                                                                                                                                                             '
                                                                                                                                                                                                                                                                     ..                       ..                       .                   .,
                                                                                                                                                                                                                                                                                              .


                      Plaintitfshukealtèéed.tvttheytqwptildpezpi
                         L'     '
                                .       .
                                                               'm serkicysfotvatoùsoftheketrèatDefendants
                                                                                                     .                                                                 . . .,                                                                                                                                                                               .
                                                                                                                                                                                                                                                                                                                                                        .

.
                      with ùètreéard:foiWhichkmyloyerw+s'ù!ltllèirpa#check''andthatiiheyjerformçdserviùesq
                                                                  . .                                .
                                                                                                         ,foy                                  -                                                       .                                             '                        .                                                                                               .                    .


 '
         .,   .:      Deikndantjatmultiplelocationst.
                                                                                        r)-'




                                                                                                                                                                                                   ,,
                                                                                                                                                                                                           g.,
                                                                                                                                                                                                             4.
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 25 of 28
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 26 of 28



           Shotglm pleadingsfailto givedefendantsçûadequaiérioticeofthe claimsagàinstthem and

    thegrotmdsuponwllich'
                        eachclaim rests.'' Weilandv.Palm BeachCf
                                                               #.Sherf 'sO.f& c,792F.3d
    1317,1323.(11th'
                   'Cir.2015);seealso Sledgev.GoodyearDunlop TiresN Ami,Lftf,275F.3d
    1014,1018n.8(11111Cirk200.
              - .            1)(G;Thefaillzreoftheplaintifftoidentifyhisclnimswith sllffscient
                                           .         '                     .                 '.




    clarity to eilablethe defendantto'frnmea Eresponsiveqpleading conbtitutesshotgtm pleading.'
                 .                                                                            ').
    Shotgun pleadingscom mnrlly sufferfroin one ormoreofthe follbwing detk iencies:

                     they contain multiple cotmts, w1111 each cotmt adopting the allegations of a11
                     preceding c'ounts,thereby causing eaçh successive countto carry a11that cnme
                     beföie,andleavfngiheJ'
                                          astcounttobeacombination oftheentirecomplaint;
                                  '                                            .

           (2)       they arerepletewith conclusory,vague,andimmatedalallegationsnotobviously
                     corm ected So any particularcause ofaction;

                     they do notsepargte each cause ofaction into a differentcotm t;and
                                                                       J
           (4)       they mssertmultiple claimsagainstmultipledefendantswithoùtspecifyingwllich
                     ofihedefepdantsap responsibleforwhichactsoromissions.               '
    W eiland,792 F.3d at1323.

           The Complaint.here suffers9om defk iencies ofprpngs three and fotlr. Fizst,CbtmtV

    integrates three separate state law causçs of açtion into one cotmt. In CotmtV ,Plaintiffs allege
                                                           '       '       '   '
                                       .

    violation ofaoolmecticuiStamte,aPezmsylvazliaStatute,andan lmnnmedttFlolidalaw'?which N
    turekuirespaymentofwagèsfUrwdrkperformed.,,(DE 4at19)k10rj.
                                                              xe'sesepazatecaubeso$.action,



    10IT1the cqnclusion paragraph ofCotmtV , Plyintiffs.add thatthey.
                                                                    '
                                                                    seek post-judgmentihterest,
       '                                                                              (
    reasonable.g orneys, feesand costsputsllantto.Fla.Stat.s.448.08.(1dj
                                                                       .
                                                                         .However,thisstatute
    is only m entioned in passing and isnotprom inently featured or alleg
                                                                        'ed to have been violâted so I
                                                                                      ' '
                              .
    w111require thatthe Plaintiffs re-allege the puported violations. Xlso,in foomote 1 oft1*
    Aménded Complaint,Plnintiffsallegeaviolation ofVla.Stat.s.44à.1lo.butstatethatthey 1:w111
    seek leavç '
               t0 nm end to.includè violations of tM s sv ttzte onc: a11 prerequisites have been
    completçd,''(DE 4'
                     at2n.1).Platntiffsmustincludeacolmtwith.eitlwroftheseclnirnsinthenex't
    versionoftheComplaint.ifthe#lm endon btinging suchacàpseofactionwithintlzissuit.

                                                    26
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 27 of 28
Case 9:24-cv-80787-DMM Document 72 Entered on FLSD Docket 01/10/2025 Page 28 of 28




         4) The Amended Complaint must be limited to the claims and defendants already
            identifed.Plaintiffsarenot,
                                      pçrm itted.
                                                tobroadenthescopeofthe Am ended Complaint

            withoutpribr'leavefroin thiqCourt.                '

          sldV m in ChamsersinW ejtPalm BeachxFloiida,tlli
                                                         '         -
                                                                       dayofJariuaty,2025.
                                                             ' .       r
                                                         .                         ..   >   .
                                                     .             .




                                                 D ALD M .M IDDLEBRQOKS
                                                 UNITED STATESDISTRICT JUDGE

          CC:CotmselofRecord
            .   T
                .
